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                        EXHIBIT A
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         INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES




                        In the annulment proceedings between

            VALORES MUNDIALES, SL AND CONSORCIO ANDINO, SL

                               Defendants in Annulment




                                           and


                     BOLIVARIAN REPUBLIC OF VENEZUELA

                                 Petitioner in Annulment



                              ICSID Case No. ARB/13/11




                             DECISION ON ANNULMENT




                             Members of the ad hoc Committee
                          Prof. Luca G. Radicati di Brozolo, President
           Prof. José Antonio Moreno Rodríguez, Member of the ad hoc Committee
                  Prof. Fausto de Quadros, Member of the ad hoc Committee


                           Secretary of the ad hoc Committee
                               Mrs. Marisa Planells-Valero

                           Assistant to the ad hoc Committee
                                   Dr. Emilio Bettoni




                    Date of delivery to the Parties: December 21, 2021
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[...]

[p. 101]


VIII.   DECISION

475. For the reasons set forth in this Decision, the Committee unanimously resolves to:

           a) Reject in its entirety the Request for Annulment of the Award filed by the
              Petitioner in Annulment; and
           b) Order the Petitioner in Annulment to pay the Defendants in Annulment
              US$ 2,348,033.79 as costs.
           c) Order the Petitioner in Annulment to pay US$ 660,031.57 as costs of the
              annulment proceeding.
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                                                                        SPANISH ORIGINAL
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                                              CENTRO INTERNACIONAL DE ARREGLO DE DIFERENCIAS RELATIVAS

 @CIADI                                                                                  A INVERSIONES
                                                           1818 H STREET, NW I WASHINGTON, DC 20433 I EE.UU.
                                                          TELEFONO +1 (202) 458 1534 [ FACS[MIL +1 (202) 522 2615
                                                                                   WWW.WORLDBANK.ORG/ICSID




                                          CERTIFICADO




                        VALORES MUNDIALES,       S.L. Y CONSORCIO ANDINO, S.L.

                                                     c.
                               REPUBLICA BOLIVARIANA DE VENEZUELA



                  (CASO CIADI NO.     ARB/13/11) - PROCEDIMIENTO DE ANULACI0N



        Por la presente certifico que lo adjunto es una copia fiel de la Decision sobre Anulacion del Comite
ad hoc de fecha 21 de diciembre de 2021.




Washington, D.C., 21 de diciembre de 2021
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  CENTRO INTERNACIONAL DE ARREGLO DE DIFERENCIAS RELATIVAS A INVERSIONES



                     En el procedimiento de anulación entre

                  VALORES MUNDIALES, S.L. Y CONSORCIO ANDINO, S.L.

                            Demandadas en Anulación


                                         y


                        REPÚBLICA BOLIVARIANA DE VENEZUELA

                            Demandante en Anulación


                            Caso CIADI No. ARB/13/11




                          DECISIÓN SOBRE ANULACIÓN




                             Miembros del Comité ad hoc
                     Prof. Luca G. Radicati di Brozolo, Presidente
         Prof. José Antonio Moreno Rodríguez, Miembro del Comité ad hoc
                Prof. Fausto de Quadros, Miembro del Comité ad hoc


                           Secretaria del Comité ad hoc
                            Sra. Marisa Planells-Valero

                          Assistente del Comité ad hoc
                                Dr. Emilio Bettoni



               Fecha de envío a las Partes: 21 de diciembre de 2021
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                                   REPRESENTACIÓN DE LAS PARTES

En representación de Valores Mundiales, S.L. y       En representación de la República Bolivariana
Consorcio Andino, S.L.:                              de Venezuela:

Sr. Miguel López Forastier                           Dr. Reinaldo Enrique Muñoz Pedroza
Sr. José E. Arvelo                                   Dr. Henry Rodríguez Facchinetti
Sra. Clovis Trevino                                  PROCURADURÍA GENERAL DE LA REPÚBLICA
Sr. Santiago M. Zalazar                              Av. Los Ilustres, c/c calle Francisco Lazo
COVINGTON & BURLING LLP                              Martí
One CityCenter                                       Urb. Santa Mónica, Caracas
850 Tenth Street, NW                                 Venezuela
Washington, DC, 20001-4956                            y
Estados Unidos de América                            Dr. Osvaldo C. Guglielmino
 y                                                   Sr. Guillermo Moro
Lic. Rodrigo Martínez Villarreal                     Sr. Alejandro Vulejser
GRUMA S.A.B. DE C.V.                                 GUGLIELMINO Y ASOCIADOS
Calzada del Valle 407 Ote,                           Cerrito 1320 - Piso 9
San Pedro Garza García, NL                           Buenos Aires, C1010ABB
CP 66230                                             Argentina
México
 y
Sr. Duane H. Zobrist
ZOBRIST LAW GROUP
Virginia National Bank Building
1900 Arlington Boulevard
Suite B, Second Floor
Charlottesville, VA, 22903-1520
Estados Unidos de América




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                              ÍNDICE DE TÉRMINOS DEFINIDOS


APPRI o Tratado                         Acuerdo para la Promoción y Protección Recíproca de
                                        Inversiones entre el Reino de España y la República de
                                        Venezuela suscrito el 2 de noviembre de 1995 (C-3)

Arbitraje Subyacente                    Procedimiento de arbitraje subyacente a este
                                        procedimiento de anulación entre Valores Mundiales,
                                        S.L. y Consorcio Andino, S.L. (en calidad de
                                        demandantes) y la República Bolivariana de
                                        Venezuela (en calidad de demandada), Caso CIADI No.
                                        ARB/13/11

Audiencia de Anulación                  Audiencia de Anulación celebrada los días 20 y 21 de
                                        octubre de 2020 por videoconferencia

CIADI                                   Centro Internacional de Arreglo de Diferencias
                                        Relativas a Inversiones

Comisión de Enlace                      Comisión Oficial de Transición, conocida luego como
                                        la Comisión Nacional de Enlace Monaca Bolivariana

Comité                                  Comité de anulación ad hoc en el Caso CIADI No.
                                        ARB/13/11 integrado por los Profs. Luca G. Radicati di
                                        Brozolo (Presidente), José Antonio Moreno Rodríguez
                                        y Fausto de Quadros

Compañías                               Monaca y Demaseca

Consorcio                               Consorcio Andino, S.L.

Convención de Viena                     Convención sobre el Derecho de los Tratados
                                        concluida en Viena el 23 de mayo de 1969 (1155
                                        U.N.T.S. 331)

Convenio del CIADI                      Convenio sobre Arreglo de Diferencias Relativas a
                                        Inversiones entre Estados y Nacionales de Otros
                                        Estados

Decreto No. 7.394 o Decreto             Decreto No. 7.394 del Presidente de la República
                                        Bolivariana de Venezuela del 12 de mayo de 2010 (C-
                                        12)

Demandadas en Anulación                 Valores Mundiales, S.L. y Consorcio Andino, S.L

Demandante en Anulación o Venezuela o   República Bolivariana de Venezuela
República



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Demaseca                                   Derivados de Maíz Seleccionado, Demaseca, C.A.

Documento de antecedentes                  Documento actualizado de antecedentes sobre el
                                           mecanismo de anulación para el Consejo
                                           Administrativo del CIADI del 5 de mayo de 2016
                                           preparado por la Secretaría General del CIADI (CLA-
                                           245 y RLA-173)

Gruma                                      Gruma S.A.B. de C.V.

Laudo                                      Laudo dictado por el Tribunal en el Arbitraje
                                           Subyacente el 25 de julio de 2017

Monaca                                     Molinos Nacionales, S.C.

Notificación de Controversia               Notificación de la controversia realizada por Valores y
                                           Consorcio el día 7 de noviembre de 2011 al amparo del
                                           Artículo XI(1) del Tratado

Partes                                     Demandante en Anulación y Demandadas en Anulación

Providencia Administrativa o Providencia   Providencia Administrativa No. 004-13 del 21 de enero
                                           de 2013 del Ministerio del Poder Popular para
                                           Relaciones Interiores y Justicia (C-017)

Reglas de Arbitraje                        Reglas Procesales Aplicables a los Procedimientos de
                                           Arbitraje del CIADI

SAREN                                      Servicio Autónomo de Registros y Notarías de la
                                           República Bolivariana de Venezuela

SIEX                                       Superintendencia de Inversiones Extranjeras de la
                                           República Bolivariana de Venezuela

SUDEBAN                                    Superintendencia de Bancos y Otras Instituciones
                                           Financieras de la República Bolivariana de Venezuela

TJE                                        Trato justo y equitativo

Tribunal                                   Tribunal de Arbitraje en el Arbitraje Subyacente,
                                           integrado por los Dres. Eduardo Zuleta (Presidente),
                                           Yves Derains y Horacio A. Grigera Naón

US$                                        Dólares Estadounidenses

Valores                                    Valores Mundiales, S.L.




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                     ÍNDICE DE ABREVIACIONES DE DOCUMENTOS PROCESALES


C-[#]                                    Anexo Documental de las Demandadas en Anulación

CLA-[#]                                  Autoridad Legal de las Demandadas en Anulación

Declaración Costos de las Demandadas     Declaración sobre Costos de las Demandadas en
en Anulación                             Anulación del 5 de diciembre de 2020

Declaración Costos de la Demandante en   Declaración sobre Costos de la Demandante en
Anulación                                Anulación del 5 de diciembre de 2020

Dúplica de Anulación                     Dúplica de las Demandadas en Anulación del 15 de
                                         marzo de 2019

Dúplica de Venezuela                     Dúplica de la República del 19 de octubre de 2015 (R-
                                         222)

MdA                                      Memorial de Anulación de la Demandante en
                                         Anulación del 23 de agosto de 2018

MdC de Anulación                         Memorial de Contestación de las Demandadas en
                                         Anulación del 16 de noviembre de 2018

Memorial de Contestación de Venezuela    Memorial de Contestación de la República del 9 de
                                         marzo de 2015 (R-221)

Memorial de Demanda de Valores y         Memorial de Demanda de Valores y Consorcio del 28
Consorcio                                de julio de 2014 (R-219)

Primer Informe Credibility Consulting    Primer Informe Credibility Consulting de 5 de marzo
                                         de 2015 (R-228)

R-[#]                                    Anexo Documental de la Demandante en Anulación

Réplica de Anulación                     Memorial de Réplica de la Demandante en Anulación
                                         del 15 de enero de 2019

RLA-[#]                                  Autoridad Legal de la Demandante en Anulación

RP1                                      Resolución Procesal No. 1 del 21 de junio de 2018

Solicitud de Anulación                   Solicitud de Anulación del Laudo Presentada por la
                                         República Bolivariana de Venezuela del 22 de
                                         noviembre de 2017

Tr. Día [#], [página:línea]              Transcripción de la Audiencia de Anulación (versión
                                         corregida por las Partes el 20 de noviembre de 2020)




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                                  ÍNDICE DE JURISPRUDENCIA CITADA


AES c. Hungría                               AES Summit Generation Limited y AES-Tisza Erömü Kft. c.
                                             Republica de Hungría, Caso CIADI No. ARB/07/22,
                                             Decisión del Comité ad hoc sobre la Solicitud de
                                             Anulación, 29 de Junio de 2012 (RLA-192)

Alapli c. Turquía                            Alapli Elektrik B.V. c. República de Turquía, Caso CIADI
                                             No. ARB/08/13, Decisión sobre Anulación, 10 de julio de
                                             2014 (RLA-231)

Amco c. Indonesia (Anulación I)              Amco Asia Corporation y otros c. República de Indonesia,
                                             Caso CIADI No. ARB/81/1, Decisión sobre la Solicitud de
                                             Anulación, 16 de mayo de 1986 (RLA-245)

Amco c. Indonesia (Anulación II)             Amco Asia Corporation y otros c. República de Indonesia,
                                             Caso CIADI No. ARB/81/1, Decisión de Anulación del
                                             Laudo del 5 de junio de 1990 y del Laudo Suplementario
                                             del 17 de octubre de 1990, 3 de diciembre 1992 (RLA-
                                             220)

Azurix c. Argentina                          Azurix Corp. c. República Argentina, Caso CIADI No.
                                             ARB/01/12, Decisión sobre la Solicitud de Anulación
                                             de la República Argentina, 1 de septiembre de 2009
                                             (RLA-208)

Azurix c. Argentina (Laudo)                  Azurix Corp. c. República Argentina, Caso CIADI No.
                                             ARB/01/12, Laudo, 23 de junio de 2016 (CLA-058)

Barcelona Traction                           Barcelona Traction, Light and Power Company, Limited
                                             (Bélgica c. España), Corte Internacional de Justicia,
                                             Decisión, 5 de febrero de 1970 (CLA-120)

Capital Financial c. Camerún                 Capital Financial Holdings Luxembourg S.A. c.
                                             República de Camerún, Caso CIADI No. ARB/15/18,
                                             Decisión sobre la Solicitud de Anulación de Capital
                                             Financial Holdings Luxembourg S.A.,25 de octubre de
                                             2019

Caratube c. Kazajistán                       Caratube International Oil Company LLP c. República
                                             de Kazajistán, Caso CIADI No. ARB/08/12, Decisión
                                             sobre la Solicitud de Anulación de Caratube
                                             International Oil Company LLP, 21 de febrero de 2014
                                             (RLA-202)

CDC c. Seychelles                            CDC Group Plc c. República de Seychelles, Caso CIADI No.
                                             ARB/02/14, Decisión del Comité Ad Hoc sobre la Solicitud
                                             de Anulación de la República de Seychelles, 29 de junio
                                             de 2005 (RLA-198)

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CEAC c. Montenegro                  CEAC Holdings Limited c. Montenegro, Caso CIADI No.
                                    ARB/14/8, Decisión sobre Anulación, 1 de mayo de 2018

CMS c. Argentina                    CMS Gas Transmission Company c. República Argentina,
                                    Caso CIADI No. ARB/01/8, Decisión del Comité Ad Hoc
                                    sobre la Solicitud de Anulación de la República Argentina,
                                    25 de septiembre de 2007 (RLA-214)

Consortium R.F.C.C. c. Marruecos    Consortium R.F.C.C. c. Reino de Marruecos, Caso CIADI
                                    No. ARB/00/6, Decisión del Comité Ad Hoc sobre la
                                    Solitud de Anulación de Consortium R.F.C.C., 18 de enero
                                    de 2006 (CLA-247)

Continental Casualty c. Argentina   Continental Casualty Company c. la República Argentina,
                                    Caso CIADI No. ARB/03/9, Decisión sobre la Solicitud de
                                    Anulación Parcial presentada por Continental Casualty
                                    Company y la Solicitud de Anulación Parcial presentada
                                    por la República Argentina, 16 de septiembre de 2011
                                    (RLA-230)

Daimler c. Argentina                Daimler Financial Services A.G. c. República Argentina,
                                    Caso CIADI No. ARB/05/1, Decisión sobre Anulación, 7 de
                                    enero de 2015 (RLA-200)

Desert Line c. Yemen (Laudo)        Desert Line Projects LLC c. La República de Yemen, Caso
                                    CIADI No. ARB/05/17, Laudo, 6 de febrero de 2008 (RLA-
                                    078)

Dogan c. Turkmenistán               Adem Dogan c. Turkmenistán, Caso CIADI No. ARB/09/9,
                                    Decisión sobre Anulación, 15 de enero de 2016 (RLA-246)

Duke c. Perú                        Duke Energy International Peru Investments No. 1,
                                    Limited c. República de Perú, Caso CIADI No.
                                    ARB/03/28, Decisión del Comité Ad Hoc, 1 de marzo
                                    de 2011 (CLA-261)

EDF c. Argentina                    EDF International S.A., SAUR International S.A. y León
                                    Participaciones Argentinas S.A. c. República Argentina,
                                    Caso CIADI No. ARB/03/23, Decisión, 5 de febrero de
                                    2016 (RLA-195)

EDF c. Rumania                      EDF (Services) Limited c. Rumania, Caso CIADI No.
                                    ARB/05/13, Laudo, 8 de octubre de 2009 (RLA-089)

Eiser c. España                     Eiser Infrastructure Limited y Energía Solar
                                    Luxembourg S.à r.l. c. Reino de España, Caso CIADI No.
                                    ARB/13/36, Decisión sobre la Solicitud de Anulación
                                    del Reino de España, 11 de junio de 2020

El Paso c. Argentina                El Paso Energy International Company c. La República de
                                    Argentina, Caso CIADI No. ARB/03/15, Decisión del

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                                        Comité Ad Hoc sobre la Solicitud de Anulación de la
                                        República Argentina, 22 de septiembre de 2014 (RLA-
                                        203)

ELSI                                    Elettronica Sicula S.p.A. (ELSI) (Estados Unidos c. Italia),
                                        Corte Internacional de Justicia, Decisión, 20 de julio de
                                        1989 (RLA-252)

Enron c. Argentina (Anulación)          Enron Creditors Recovery Corporation (formerly Enron
                                        Corporation) y Ponderosa Assets, L.P. c. República
                                        Argentina, Caso CIADI No. ARB/01/3, Decisión sobre la
                                        Solicitud de Anulación de la República Argentina, 30 de
                                        julio de 2010 (RLA-216)

Enron c. Argentina (Rectificación)      Enron Corporation Ponderosa Assets, L.P. c. La
                                        República Argentina, Caso CIADI No. ARB/01/3,
                                        Decisión sobre la Solicitud de las Demandantes de
                                        Rectificación y/o Decisión Suplementaria del Laudo,
                                        25 de octubre de 2007 (RLA-239)

Fábrica de Chorzów                      Caso relativo a la Fábrica de Chorzów (Alemania c.
                                        Polonia), Corte Permanente de Justicia Internacional,
                                        Sentencia, 13 de septiembre de 1928 (CLA-077)

Fraport c. Filipinas (I)                Fraport AG Frankfurt Airport Services Worldwide c.
                                        República de Filipinas, Caso CIADI No. ARB/03/25,
                                        Decisión sobre la Solicitud de Anulación de Fraport AG
                                        Frankfurt Airport Services Worldwide, 23 de diciembre
                                        de 2010 (RLA-191)

Generation Ukraine c. Ucraina (Laudo)   Generation Ukraine, Inc. c. Ucrania, Caso CIADI No.
                                        ARB/00/9, Laudo, 16 de septiembre de 2003 (CLA-022)

Glencore c. Colombia                    Glencore International AG & CI Prodeco SA c. República
                                        de Colombia, Caso CIADI No. ARB/16/6, Decisión sobre
                                        Anulación, 22 de septiembre de 2021

Gold Reserve c. Venezuela (Laudo)       Gold Reserve Inc. c. República Bolivariana de
                                        Venezuela, Caso CIADI No. ARB(AF)/09/1, Laudo, 22 de
                                        septiembre de 2014 (CLA-103)

Hydro c. Albania                        Hydro S.r.l. y otros c. República de Albania, Caso CIADI
                                        No. ARB/15/28, Decisión sobre Anulación, 2 de abril de
                                        2021

Iberdrola c. Guatemala (I)              Iberdrola Energía, S.A. c. República de Guatemala,
                                        Caso CIADI No. ARB/09/5, Decisión sobre la Solicitud
                                        de Anulación del Laudo Presentada por Iberdrola
                                        Energía, S.A., 13 de enero de 2015 (RLA-223)



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Impregilo c. Argentina              Impregilo S.p.A. c. República Argentina, Caso CIADI No.
                                    ARB/07/17, Decisión del Comité Ad Hoc sobre la Solicitud
                                    de Anulación, 24 de enero de 2014 (RLA-226)

Kilic c. Turkmenistán               Kilic Insaat Ithalat Ihracat Sanayi ve Ticaret Anonim
                                    Sirketi c. Turkmenistán, Caso CIADI No. ARB/10/1,
                                    Decisión sobre Anulación, 14 de julio de 2015 (RLA-228)

Klöckner c. Camerún                 Klöckner Industrie-Anlagen GmbH y otros c. República
                                    Unida de Camerún y Société Camerounaise des
                                    Engrais, Caso CIADI No. ARB/81/2 (primer
                                    procedimiento de anulación), Decisión sobre la
                                    Solicitud de Anulación Presentada por Klöckner contra
                                    el Laudo Arbitral dictado el 21 de octubre de 1983, 3
                                    de mayo de 1985 (RLA-248)

Lahoud c. Congo                     Antoine Abou Lahoud y Leila Bounafeh-Abou Lahoud c.
                                    República Democrática del Congo, Caso CIADI No.
                                    ARB/10/4, Decisión sobre la Solicitud de Anulación de la
                                    República Democrática del Congo, 29 de marzo de 2016

Lauder c. República Checa (Laudo)   Ronald S. Lauder c. República Checa, CNUDMI, Laudo
                                    Final, 3 de septiembre de 2001 (CLA-040)
Lemire c. Ucrania                   Joseph C. Lemire c. Ucrania, Caso CIADI No. ARB/06/18,
                                    Decisión sobre la Solicitud de Anulación del Laudo de
                                    Ucrania, 8 de julio de 2013 (RLA-193)

Libananco c. Turquía                Libananco Holdings Co. Limited c. República de Turquía,
                                    Caso CIADI No. ARB/06/8, Decisión sobre Anulación, 22
                                    de mayo de 2013 (RLA-233)

Lucchetti c. Perú                   Industria Nacional de Alimentos, S.A. y Indalsa Perú, S.A.
                                    c. República del Perú, Caso CIADI No. ARB/03/4, Decisión
                                    sobre Solicitud de Anulación, 5 de septiembre de 2007
                                    (RLA-206)

M.C.I. c. Ecuador                   M.C.I. Power Group, L.C. y New Turbine, Inc. c. República
                                    del Ecuador, Caso CIADI No. ARB/03/6, Decisión sobre
                                    Anulación, 19 de octubre de 2009 (RLA-207)

Malicorp c. Egipto                  Malicorp Limited c. República Árabe de Egipto, Caso
                                    CIADI No. ARB/08/18, Decisión sobre la Solicitud de
                                    Anulación de Malicorp Limited, 3 de julio de 2013 (RLA-
                                    227)

Micula c. Rumania                   Ioan Micula, Viorel Micual y otros c. Rumania, Caso CIADI
                                    No. ARB/05/20, Decisión sobre Anulación, 26 de febrero
                                    de 2016 (RLA-235)



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MINE c. Guinea                       Maritime International Nominees Establishment (MINE)
                                     c. República de Guinea, Caso CIADI No. ARB/84/4,
                                     Decisión sobre la Solicitud de Guinea de Anulación
                                     Parcial del Laudo Arbitral de fecha 6 de enero de 1988,
                                     14 de diciembre de 1989 (RLA-213)

MTD c. Chile                         MTD Equity Sdn. Bhd. y MTD Chile S.A. c. República de
                                     Chile, Caso CIADI No. ARB/01/7, Decisión sobre
                                     Anulación, 21 de marzo de 2007 (RLA-215)

Occidental c. Ecuador                Occidental Petroleum Corporation y Occidental
                                     Exploration and Production Company c. La República del
                                     Ecuador, Caso CIADI No. ARB/06/11, Decisión sobre
                                     Anulación del Laudo, 2 de noviembre de 2015 (RLA-194)

OI European c. Venezuela             OI European Group B.V. c. República Bolivariana de
                                     Venezuela, Caso CIADI No. ARB/11/25, Decisión sobre la
                                     Solicitud de Anulación de la República Bolivariana de
                                     Venezuela, 6 de diciembre de 2018 (CLA-267)

Perenco c. Ecuador                   Perenco Ecuador Limited c. República del Ecuador, Caso
                                     CIADI No. ARB/08/6, Decisión sobre Anulación, 28 de
                                     mayo de 2021

Pey Casado c. Chile (Anulación I)    Víctor Pey Casado y Fundación “Presidente Allende” c.
                                     República de Chile, Caso CIADI No. ARB/98/2 (primer
                                     procedimiento de anulación), Decisión sobre la Solicitud
                                     de Anulación de la República de Chile, 18 de diciembre
                                     de 2012 (RLA-201)

Pey Casado c. Chile (Anulación II)   Víctor Pey Casado y Fundación Presidente Allende c.
                                     República de Chile, Caso CIADI No. ARB/98/2 (segundo
                                     procedimiento de anulación), Decisión sobre Anulación,
                                     8 de enero de 2020

Quiborax c. Bolivia                  Quiborax S.A. y Non-Metallic Minerals S.A. c. Estado
                                     Plurinacional de Bolivia, Caso CIADI No. ARB/06/2,
                                     Decisión sobre la Solicitud de Anulación del Estado
                                     Plurinacional de Bolivia, 18 de mayo de 2018 (CLA-252)

Repsol c. Ecuador                    Repsol YPF Ecuador, S.A. c. Empresa Estatal Petróleos del
                                     Ecuador (Petroecuador), Caso CIADI No. ARB/01/10,
                                     Decisión sobre la Solicitud de Anulación, 8 de enero de
                                     2007 (RLA-222)

Rumeli c. Kazajistán                 Rumeli Telekom A.S. y Telsim Mobil Telekomunikasyon
                                     Hizmetleri A.S. c. República de Kazajistán, Caso CIADI No.
                                     ARB/05/16, Decisión del Comité Ad Hoc, 25 de marzo de
                                     2010 (RLA-237)


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SAUR c. Argentina                       SAUR International S.A. c. República Argentina, Caso
                                        CIADI No. ARB/04/4, Decisión sobre la Solicitud de
                                        Anulación de la República Argentina, 19 de diciembre de
                                        2016 (RLA-212)

Sempra c. Argentina                     Sempra Energy International c. República Argentina,
                                        Caso CIADI No. ARB/02/16, Decisión sobre la Solicitud de
                                        Anulación del Laudo Presentada por la República
                                        Argentina, 29 de junio de 2010 (RLA-190)

SGS c. Paraguay                         SGS Société Générale de Surveillance S.A. c. República del
                                        Paraguay, Caso CIADI No. ARB/07/29, Decisión sobre
                                        Anulación, 19 de mayo de 2014

Soufraki c. EAU                         Hussein Nuaman Soufraki c. Emiratos Árabes Unidos,
                                        Caso CIADI No. ARB/02/7, Decisión del Comité Ad Hoc
                                        sobre la Solicitud de Anulación del Sr. Soufraki, 5 de junio
                                        de 2007 (RLA-205)

Standard Chartered c. Tanzania          Standard Chartered Bank (Hong Kong) Limited c.
                                        Tanzania Electric Supply Company Limited, Caso CIADI
                                        No. ARB/10/20, Decisión sobre la Solicitud de Anulación,
                                        22 de agosto de 2018 (CLA-254)

TECO c. Guatemala                       TEC Guatemala Holdings LLC c. República de Guatemala,
                                        Caso CIADI No. ARB/10/23, Decisión sobre Anulación, 5
                                        de abril de 2016 (RLA-197)

Teinver c. Argentina                    Teinver S.A., Transportes de Cercanías S.A. y Autobuses
                                        Urbanos del Sur S.A. c. República Argentina, Caso CIADI
                                        No. ARB/09/1, Decisión sobre la Solicitud de Anulación
                                        de Argentina, 29 de mayo de 2019

Tenaris c. Venezuela (II)               Tenaris S.A. & Talta – Trading e Marketing Sociedade
                                        Unipessoal Lda. c. República Bolivariana de Venezuela,
                                        Caso CIADI No. ARB/12/23, Decisión sobre Anulación, 28
                                        de diciembre de 2018 (CMTLA-1)

Tidewater c. Venezuela                  Tidewater Investment SRL y Tidewater Caribe, C.A. c.
                                        República Bolivariana de Venezuela, Caso CIADI No.
                                        ARB/10/5, Decisión sobre Anulación, 27 de diciembre de
                                        2016 (RLA-232)

Tidewater c. Venezuela (Jurisdicción)   Tidewater Investment SRL y Tidewater Caribe, C.A. c.
                                        República Bolivariana de Venezuela, Caso CIADI No.
                                        ARB/10/5, Decisión sobre Jurisdicción, 8 de febrero de
                                        2013 (CLA-011)




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Togo Electricité c. Togo          Togo Electricité y GDF-Suez Energie Services c. República
                                  Togolesa, Caso CAIDI No. ARB/06/7, Decisión sobre
                                  Anulación, 6 de septiembre de 2011

Total c. Argentina                Total S.A. c. República Argentina, Caso CIADI No.
                                  ARB/04/01, Decisión sobre Anulación, 1 de febrero de
                                  2016 (RLA-196)

Tulip c. Turquía                  Tulip Real Estate y Development Netherlands B.V. c.
                                  República de Turquía, Caso CIADI No. ARB/11/28,
                                  Decisión sobre Anulación, 30 de diciembre de 2015 (RLA-
                                  229)

Venezuela Holdings c. Venezuela   Venezuela Holdings, B.V., Mobil Cerro Negro Holding,
                                  Ltd., Mobil Venezolana De Petróleos Holdings, Inc., Mobil
                                  Cerro Negro, Ltd. y Mobil Venezolana De Petróleos, Inc.
                                  c. República Bolivariana de Venezuela, Caso CIADI No.
                                  ARB/07/27, Decisión sobre Anulación, 9 de marzo de
                                  2017 (RLA-218)

Venoklim c. Venezuela (I)         Venoklim Holding B.V. c. República Bolivariana de
                                  Venezuela, Caso CIADI No. ARB/12/22, Decisión sobre la
                                  Solicitud de Anulación, 2 de febrero de 2018 (RLA-217)

Vivendi c. Argentina (I)          Compañía de Aguas del Aconquija S.A. y Vivendi
                                  Universal (antes Compagnie Générale des Eaux) c.
                                  República Argentina, Caso CIADI No. ARB/97/3, Decisión
                                  sobre la Anulación, 3 de julio de 2002 (RLA-204)

Vivendi c. Argentina (II)         Suez, Sociedad General de Aguas de Barcelona S.A. y
                                  Vivendi Universal S.A c. la República Argentina, Caso
                                  CIADI No. ARB/03/19, Decisión sobre la Solicitud de
                                  Anulación de Argentina, 5 de mayo de 2017 (RLA-247)

Wena c. Egipto                    Wena Hotels Limited c. República Árabe de Egipto, Caso
                                  CIADI No. ARB/98/4, Decisión sobre la Solicitud de la
                                  República Árabe de Egipto para la Anulación del Laudo
                                  Arbitral de fecha 8 de diciembre de 2000, 5 de febrero
                                  de 2002 (CLA-109)




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I.         INTRODUCCIÓN Y PARTES

1.         Esta es la decisión final del presente procedimiento de anulación originado por una solicitud de la
           República Bolivariana de Venezuela (“Venezuela”, “República” o “Demandante en Anulación”)
           de fecha 22 de noviembre de 2017. Mediante la misma, Venezuela solicita la anulación del Laudo
           dictado el 25 de julio de 2017 (“Laudo”) por el Tribunal de Arbitraje constituido por los Dres.
           Eduardo Zuleta (Presidente), Yves Derains y Horacio Grigera Naón (“Tribunal”) en el
           procedimiento arbitral subyacente Valores Mundiales, S.L. y Consorcio Andino, S.L. c. la República
           Bolivariana de Venezuela, Caso CIADI No. ARB/13/11 (“Arbitraje Subyacente”).
2.         El Laudo resolvió una controversia presentada ante el Centro Internacional de Arreglo de
           Diferencias Relativas a Inversiones (“CIADI”) sobre la base del Acuerdo entre el Reino de España
           y la República de Venezuela para la Promoción y Protección Recíproca de Inversiones, firmado el
           2 de noviembre de 1995, y en vigencia desde el 10 de septiembre de 1997 (“APPRI” o “Tratado”),
           y el Convenio sobre Arreglo de Diferencias Relativas a Inversiones entre Estados y Nacionales de
           Otros Estados, que entró en vigor el 14 de octubre de 1966 (“Convenio del CIADI”).
3.         El Arbitraje Subyacente fue iniciado por las empresas españolas Valores Mundiales, S.L.
           (“Valores”) y Consorcio Andino, S.L. (“Consorcio”), que son las demandadas en este
           procedimiento de anulación (en conjunto, “Demandadas en Anulación”) 1 y que controlaban dos
           compañías venezolanas dedicadas a la producción y comercialización de harina de maíz y de trigo
           y otros productos alimenticios: Molinos Nacionales, C.A. (“Monaca”) y Derivados de Maíz
           Seleccionado, Demaseca, C.A. (“Demaseca”) (en conjunto, “Compañías”) 2. Valores y Consorcio
           plantearon que Venezuela había violado el Tratado a través de la imposición de ciertas medidas
           en relación con las Compañías. Específicamente, alegaron la expropiación de sus inversiones, la
           violación por parte de Venezuela del estándar de trato justo y equitativo (“TJE”), la aplicación de
           medidas arbitrarias y discriminatorias, y la imposición de restricciones a la transferencia de pagos
           en contra de lo dispuesto por el APPRI.
4.         En el Laudo, el Tribunal resolvió de manera unánime rechazar las cuatro objeciones
           jurisdiccionales presentadas por Venezuela y decidió que tenía jurisdicción para determinar todas
           las reclamaciones planteadas por Valores y Consorcio 3. En cuanto al fondo, el Tribunal desestimó
           el reclamo por expropiación de las inversiones de Valores y Consorcio bajo el Artículo V del APPRI,
           pero concluyó que Venezuela había violado el Tratado y específicamente:

             (i)       el Artículo IV del APPRI, por no haber otorgado un TJE a las inversiones de las
                       Demandadas en Anulación;


1
 En adelante, se hará referencia a la Demandante en Anulación y a las Demandadas en Anulación, en conjunto,
como “Partes”. Los nombres de los representantes de las Partes y sus direcciones se encuentran detallados en la
página (i) supra.
2
 En particular, Valores se convirtió en propietaria del 100% de las acciones de Monaca el 10 de mayo de 2006,
mientras que Consorcio adquirió todas las acciones de Demaseca el 24 de julio del mismo año (Laudo, ¶¶ 83-84).
3
    Laudo, ¶ 834(i).

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             (ii)       el Artículo III del APPRI, por haber tomado medidas arbitrarias que obstaculizaron la
                        gestión y desarrollo de las inversiones de las Demandadas en Anulación; y

             (iii)      el Artículo VII del APPRI, por haber impedido la libre transferencia de fondos
                        relacionados con las inversiones de las Demandadas en Anulación 4.
5.          Como consecuencia de lo anterior, el Tribunal condenó a Venezuela a pagar 430,4 millones de
            Dólares Estadounidenses (“US$”) a Valores y Consorcio a título de indemnización por daños y
            perjuicios, más un interés compuesto a la tasa Libor + 2%, desde el 22 de enero de 2013 hasta la
            fecha de pago, con la orden de no imponer sobre esta indemnización gravámenes o impuestos
            adicionales a los tomados en cuenta en los cálculos de los peritos de las Demandadas en
            Anulación. La República fue también condenada a pagar US$ 5.925.705,14 como contribución al
            pago de los costos del arbitraje de Valores y Consorcio 5.
6.          En este procedimiento, Venezuela solicita la anulación del Laudo con base en el Artículo 52 del
            Convenio del CIADI, invocando – como se discutirá en detalle más adelante – tres causales de
            anulación:

             (i)        la extralimitación manifiesta en las facultades del Tribunal (Artículo 52(1)(b));

             (ii)       el quebrantamiento grave de una norma de procedimiento (Artículo 52(1)(d)); y

             (iii)      la falta de expresión en el Laudo de los motivos en los que se funda (Artículo 52(1)(e)).


II.         ANTECEDENTES PROCESALES

7.          El 22 de noviembre de 2017 Venezuela presentó ante la Secretaria General del CIADI la Solicitud
            de Anulación del Laudo Presentada por la República Bolivariana de Venezuela (“Solicitud de
            Anulación”). Esta incluía un pedido de suspensión de la ejecución del Laudo hasta que el comité
            ad hoc emitiera su Decisión conforme al Artículo 52 del Convenio del CIADI y la Regla 54(2) de las
            Reglas Procesales Aplicables a los Procedimiento de Arbitraje del CIADI (“Reglas de Arbitraje”).
8.          El 7 de diciembre de 2017 la Secretaria General del CIADI registró la Solicitud de Anulación y
            notificó a las Partes la suspensión provisional de la ejecución del Laudo.
9.          El 5 de marzo de 2018 la Secretaria General notificó a las Partes la constitución del Comité ad hoc
            (“Comité”) de conformidad con la Regla de Arbitraje 52(2). El Comité quedó compuesto por el
            profesor Luca G. Radicati di Brozolo, nacional de Italia y del Reino Unido, Presidente del Comité,
            la Sra. Dyalá Jiménez Figueres, nacional de Costa Rica, y el profesor Fausto de Quadros, nacional
            de Portugal, designados a la Lista de Árbitros del CIADI, respectivamente, por la República de
            Italia, la República de Costa Rica y la República de Portugal.
10.         En esa misma fecha se informó a las Partes de que el procedimiento de anulación se consideraba
            iniciado de conformidad con las Reglas de Arbitraje 6 y 53, y de que la Sra. Marisa Planells-Valero,


4
    Laudo, ¶ 834(ii).
5
    Laudo, ¶ 834(iv)-(vii).

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         Consejera Jurídica del CIADI, se desempeñaría como Secretaria del Comité.
11.      El 7 de marzo de 2018 el CIADI solicitó a Venezuela el pago de un primer anticipo para sufragar
         los gastos del procedimiento.
12.      El 9 de abril de 2018, ante el acuerdo de las Partes para que la continuación de la suspensión del
         Laudo se discutiera en una ronda de escritos y sin audiencia, el Comité fijó un calendario procesal
         a tal fin.
13.      En esa misma fecha el Comité informó a las Partes de la falta de pago del primer anticipo solicitado
         a Venezuela y de que, si el anticipo no se recibía por alguna de las Partes antes del 16 de abril de
         2018, la primera sesión programada para el 20 de abril de 2018 quedaría suspendida. El 17 de
         abril de 2018, no habiéndose recibido el pago, y de acuerdo con la Regla 14 del Reglamento
         Administrativo y Financiero del CIADI, se suspendió la celebración de la primera sesión.
14.      El 25 de abril de 2018 la Sra. Dyalá Jiménez Figueres presentó su renuncia como miembro del
         Comité y el procedimiento quedó suspendido en esa fecha de conformidad con la Regla de
         Arbitraje 10.
15.      El 21 de mayo de 2018, luego de consultar a las Partes y sin que mediase objeción de estas, el
         Presidente del Consejo Administrativo del CIADI designó al profesor José Antonio Moreno
         Rodríguez, nacional de Paraguay y designado a la Lista de Árbitros del CIADI por la República de
         Paraguay, para reemplazar a la Sra. Jiménez como miembro del Comité.
16.      El 23 de mayo de 2018 el CIADI confirmó el pago del primer anticipo para cubrir los gastos del
         procedimiento por parte de Venezuela.
17.      El 25 de mayo de 2018 el Comité estableció un calendario procesal revisado para las
         presentaciones de las Partes sobre la suspensión de la ejecución del Laudo y propuso a las Partes
         que la primera sesión se celebrara el 30 de mayo de 2018, lo que fue aceptado por estas.
18.      El 30 de mayo de 2018, el Comité celebró la primera sesión con las Partes y la Secretaria del
         Comité mediante conferencia telefónica.
19.      Las siguientes personas asistieron a la primera sesión:
           Miembros del Comité ad hoc:
           Prof. Luca G. Radicati di Brozolo, Presidente del Comité
           Prof. José Antonio Moreno Rodríguez, Miembro del Comité
           Prof. Fausto de Quadros, Miembro del Comité

           Secretariado del CIADI:
           Sra. Marisa Planells-Valero, Secretaria del Comité

          Asistente del Comité ad hoc:
           Dr. Emilio Bettoni, Asistente del Comité
           (participante con el consentimiento de las Partes)


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           Demandante en Anulación:
           Sra. Verónica Lavista                          Guglielmino & Asociados
           Sr. Guillermo Moro                             Guglielmino & Asociados
           Sr. Alejandro Vulejser                         Guglielmino & Asociados
           Sr. Henry Rodríguez Facchinetti                Procuraduría General de la República
           Sra. Patricia Díaz                             Procuraduría General de la República

           Demandadas en Anulación:
           Sr. Miguel López Forastier                     Covington & Burling LLP
           Sr. José E. Arvelo                             Covington & Burling LLP
           Sr. Duane H. Zobrist                           Zobrist Law Group
           Lic. Salvador Vargas                           Gruma, S.A.B. de C.V.
           Lic. Guillermo Elizondo                        Gruma, S.A.B. de C.V.


20.      El 4 de junio de 2018 Venezuela presentó su Escrito de Mantenimiento de la Suspensión de la
         Ejecución del Laudo de la República Bolivariana de Venezuela.
21.      El 21 de junio de 2018 el Comité emitió la Resolución Procesal No. 1 (“RP1”), que dispuso, inter
         alia, que el idioma del procedimiento sería el español y que el lugar del procedimiento sería
         Washington, D.C. Asimismo, confirmó el nombramiento del Dr. Emilio Bettoni como Asistente del
         Comité con el acuerdo de las Partes. El Anexo A de la RP1 estableció el calendario procesal.
22.      El 25 de junio de 2018 Valores y Consorcio presentaron su Escrito de Oposición de las Demandadas
         en Anulación al Escrito de la Demandante en Anulación Solicitando la Suspensión de la Ejecución
         del Laudo en el que solicitaron que la suspensión se condicionara al otorgamiento de una garantía
         financiera por parte de Venezuela, a lo que esta contestó el 5 de julio de 2018 mediante su Escrito
         sobre la Solicitud de una Garantía.
23.      El 23 de agosto de 2018 Venezuela presentó su Memorial de Anulación (“MdA”).
24.      El 6 de septiembre de 2018 el Comité emitió su Decisión sobre la Solicitud de Continuación de la
         Suspensión de la Ejecución del Laudo, en la que rechazó el pedido de Venezuela y levantó la
         suspensión provisional de la ejecución del Laudo.
25.      El 16 de noviembre de 2018 Valores y Consorcio presentaron su Memorial de Contestación (“MdC
         de Anulación”).
26.      El 15 de enero de 2019 Venezuela presentó su Memorial de Réplica (“Réplica de Anulación”).
27.      El 18 de marzo de 2019 Valores y Consorcio presentaron su Dúplica (“Dúplica de Anulación”).
28.      El 26 de marzo de 2019 el CIADI solicitó a Venezuela el pago de un segundo anticipo para cubrir
         los gastos del procedimiento.
29.      El 27 de marzo de 2019 la Secretaria General del CIADI recibió una carta del Sr. José Ignacio
         Hernández G., quien invocaba la calidad de Procurador Especial de la República Bolivariana de
         Venezuela designado por el Sr. Juan Guaidó, presidente encargado de la República bajo el control
         de la Asamblea Nacional. El objeto de la misiva era informar que la facultad de representar al

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           Estado venezolano correspondía exclusivamente al Sr. Hernández y, por lo tanto, pedir que toda
           comunicación del CIADI a Venezuela fuera dirigida a su persona. Además, el Sr. Hernández solicitó
           al CIADI que no tramitara ninguna solicitud realizada por personas que actuaran en nombre del
           Sr. Nicolás Maduro ni de la Procuraduría General de la República, y que se tuviera por inválida
           toda instrucción o comunicación presentada a partir del 5 de febrero de 2019 por persona diversa
           de él.
30.        Tras haber suspendido la audiencia programada para el 20 de mayo de 2019 y haber invitado a
           los comparecientes por las Demandadas en Anulación, a los comparecientes por Venezuela y al
           Sr. Hernández a presentar observaciones y réplicas sobre la carta de este último del 27 de marzo
           de 2019, el 29 de agosto de 2019 el Comité emitió la Resolución Procesal No. 2, en la que resolvió
           (i) rechazar la solicitud del Sr. José Ignacio Hernández G. de asumir la representación de la
           República Bolivariana de Venezuela; (ii) confirmar la prosecución del procedimiento con la
           representación ya constituida de la República Bolivariana de Venezuela; (iii) distribuir las costas
           del incidente entre las Partes según el orden causado; y (iv) reanudar el curso del procedimiento.
31.        El 18 de septiembre de 2019, el Comité informó a las Partes de la falta de pago del segundo
           anticipo solicitado a Venezuela 6 e invitó a cualquiera de ellas a pagar el monto pendiente a más
           tardar el 3 de octubre de 2019.
32.        Ante la falta de pago, de conformidad con las Reglas 14(3)(d) y (e) del Reglamento Administrativo
           y Financiero del CIADI, el Comité suspendió el procedimiento el 11 de noviembre de 2019. El 27
           de marzo de 2020, luego de que la Secretaria del Comité informara de que el segundo anticipo
           había sido pagado, el Comité levantó la suspensión.
33.        El 6 de abril de 2020 el Comité y las Partes discutieron las posibles fechas y la modalidad de la
           audiencia (“Audiencia de Anulación”).
34.        El 8 de abril de 2020, a la luz de la incertidumbre causada por el COVID‐19, el Comité consultó a
           las Partes acerca de la posibilidad de celebrar la Audiencia de Anulación (i) mediante
           videoconferencia el 21 de septiembre de 2020 (con el 22 de septiembre de 2020 en reserva), o
           (ii) de forma presencial en Washington D.C. el 20 de octubre de 2020 (con el 21 de octubre de
           2020 en reserva).
35.        Las Demandadas en Anulación y la Demandante en Anulación confirmaron su disponibilidad en
           las fechas propuestas por el Comité, respectivamente, el 8 y el 15 de abril de 2020. La República
           solicitó además que, de ser presencial, la Audiencia de Anulación se celebrara fuera de los Estados
           Unidos de América, y propuso que tuviera lugar en París (Francia).
36.        El 17 de abril de 2020 las Demandadas en Anulación objetaron esta solicitud de Venezuela. El 23
           de abril de 2020, el Comité rechazó la solicitud.
37.        El 22 de junio de 2020 el CIADI solicitó a Venezuela el pago de un tercer anticipo.
38.        El 10 de julio de 2020 el Comité propuso a las Partes que, debido a la crisis del COVID-19, la
           Audiencia de Anulación se celebrarse virtualmente preferentemente el 20 de octubre de 2020

6
    Véase ¶ 28 supra.

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         (con el 21 de octubre de 2020 en reserva), lo que fue aceptado por estas. De conformidad con el
         ¶ 18.1 de la RP1, el 28 de septiembre de 2020 el Comité y las Partes celebraron la Reunión de
         Coordinación Preliminar a la Audiencia.
39.      El 1 de octubre de 2020 el Comité emitió la Resolución Procesal No. 3, en la que se plasmaron los
         acuerdos de las Partes en relación con la organización de la Audiencia de Anulación.
40.      Los días 20 y 21 de octubre de 2020 se celebró la Audiencia de Anulación mediante
         videoconferencia, en la cual participaron las siguientes personas:
           Comité ad hoc:
           Prof. Luca G. Radicati di Brozolo            Presidente del Comité
           Prof. José Antonio Moreno Rodríguez          Miembro del Comité
           Prof. Fausto de Quadros                      Miembro Comité

           Asistentes del Comité:
           Dr. Emilio Bettoni                           Asistente del Comité
           Sra. Caterina Coroneo                        Asistente del Presidente del Comité

           Secretariado del CIADI:
           Sra. Marisa Planells-Valero                  Secretaria del Comité

           Por la Demandante en Anulación:
          Asesores Legales
          Sr. Osvaldo César Guglielmino                 Guglielmino Derecho Internacional
          Sr. Guillermo Moro                            Guglielmino Derecho Internacional
          Sr. Alejandro Vulejser                        Guglielmino Derecho Internacional
          Sra. Camila Guglielmino                       Guglielmino Derecho Internacional


          Parte
          Dr. Reinaldo Muñoz Pedroza                    Procuraduría General de la República
          Sr. Henry Rodríguez Facchinetti               Procuraduría General de la República

           Por las Demandadas en Anulación:
          Asesores Legales
          Sr. Miguel López Forastier                    Covington & Burling LLP
          Sr. José E. Arvelo                            Covington & Burling LLP
          Sra. Mary T. Hernández                        Covington & Burling LLP
          Sra. Clovis Trevino                           Covington & Burling LLP
          Sr. Duane Zobrist                             Zōblaw




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             Parte
             Sr. Rodrigo Martínez Villarreal                Valores Mundiales, S.L., Consorcio Andino, S.L.,
                                                            Gruma, S.A.B. de C.V.
             Sr. Ing. Homero Huerta                         Valores Mundiales, S.L., Consorcio Andino, S.L.,
                                                            Gruma, S.A.B. de C.V.

             Estenógrafos:
             Sra. María Eliana Da Silva                     D-R Esteno
             Sr. Virgilio Dante Rinaldi                     D-R Esteno


41.        El 20 de noviembre de 2020 las Partes presentaron las correcciones acordadas a las
           transcripciones de la Audiencia de Anulación.
42.        El 5 de diciembre de 2020 las Partes presentaron sus declaraciones sobre costos
           (respectivamente, “Declaración Costos de la Demandante en Anulación” y “Declaración Costos
           de las Demandadas en Anulación”).
43.        El 11 de diciembre de 2020 la República formuló ciertas consideraciones acerca de la Declaración
           Costos de las Demandadas en Anulación, a las cuales Valores y Consorcio contestaron el 14 de
           diciembre de 2020.
44.        El mismo día, el Secretariado remitió a las Partes y al Comité las versiones finales de las
           transcripciones de la Audiencia que incorporaban las correcciones acordadas por las Partes.
45.        El 17 de diciembre de 2020 Venezuela remitió a la Secretaria del Comité el comprobante de pago
           del tercer anticipo 7. No obstante, el 9 de febrero de 2021, la Secretaria del Comité informó a las
           Partes de que el CIADI no había recibido los fondos solicitados ni había podido localizarlos. Por
           consiguiente, solicitó a la República que proporcionara cualquier información adicional al
           respecto.
46.        En febrero y marzo de 2021 Venezuela informó de que la demora en el pago se debía a las
           restricciones financieras y bancarias impuestas unilateralmente por los Estados Unidos de
           América y que estaba comprometida a realizar el pago a la mayor brevedad.
47.        El pago del tercer anticipo fue recibido el 31 de marzo de 2021.
48.        A pedido del Comité, el 8 de octubre de 2021 la Secretaria del Comité solicitó a Valores y Consorcio
           que aclararan si el monto de los honorarios indicado en la Declaración Costos Demandadas en
           Anulación incluía sus costos de representación ocasionados a raíz de la presentación del Sr.
           Hernández, lo cual fue confirmado por Valores y Consorcio el 11 de octubre de 2021.
49.        El 19 de octubre de 2021, la República informó al Comité que la Declaración Costos de la
           Demandante en Anulación no incluía el monto de US$ 199.958 correspondiente al tercer anticipo,
           ya que este pago de este anticipo se había realizado después de presentar dicha Declaración.
           Venezuela solicitó al Comité considerar este dato a la hora de dictar la presente Decisión.

7
    Véase ¶ 37 supra.

                                                        7
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50.        El Comité declaró cerrado el procedimiento el 7 de diciembre de 2021, conforme a las Reglas de
           Arbitraje 38(1) y 53.


III.       LOS PETITORIOS DE LAS PARTES

           A.        PETITORIO DE VENEZUELA

51.        En la Réplica de Anulación, Venezuela solicitó al Comité lo siguiente:
                     (a)      que anule el Laudo emitido en el presente caso, de conformidad con el Artículo 52 del
                              Convenio CIADI y la Regla de Arbitraje 50; y
                     (b)      que condene a las Demandadas en Anulación al pago de todas las costas y costos del
                              procedimiento 8.

52.        El petitum de la Demandante en Anulación fue ratificado durante la Audiencia 9.

           B.        PETITORIO DE VALORES Y CONSORCIO

53.        En la Dúplica de Anulación, las Demandadas en Anulación solicitaron al Comité que:
                     [R]echace en su totalidad la Solicitud de Anulación planteada por la República y la condene a pagar
                     todos los costos y honorarios legales relacionados con este procedimiento, incluido el incidente de
                     levantamiento de la suspensión de la ejecución del Laudo 10.


IV.        EL LAUDO IMPUGNADO Y LAS CUESTIONES SOMETIDAS A LA DECISIÓN DEL COMITÉ

           A.        BREVE RESUMEN DEL LAUDO

54.        El Laudo resolvió la controversia suscitada por la imposición de parte de Venezuela de una serie
           de medidas sobre las Compañías que, como fue dicho anteriormente, son empresas venezolanas
           enteramente controladas por las Demandadas en Anulación, las cuales son a su vez controladas
           por la sociedad mexicana Gruma S.A.B. de C.V. (“Gruma”).
55.        Al presentar los hechos del caso en la § III del Laudo, el Tribunal distinguió dos grupos de medidas.
56.        El primer grupo está compuesto por ciertas medidas de aseguramiento y administración especial,
           que fueron impuestas a partir de noviembre de 2009 en el contexto de un proceso penal contra
           el empresario venezolano Ricardo Fernández Barrueco sobre las empresas vinculadas con este,
           incluyendo entre ellas a Monaca, Demaseca, Valores y Consorcio. Las medidas adoptadas eran (i)
           la Circular del Servicio Autónomo de Registros y Notarías (“SAREN”) del 10 de diciembre de 2009,
           que prohibió la protocolización o autenticación de negocios jurídicos; (ii) las Resoluciones del




8
    Réplica de Anulación, ¶ 277.
9
    Tr. Día 1, 122:4-12; Tr. Día 2, 305:14-20.
10
     Dúplica de Anulación, ¶ 215.

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           Ministerio de Finanzas No. 2.549 del 22 de diciembre de 2009 11 y No. 2.628 del 1 de marzo de
           2010 12 en las que se designaron a ciertos administradores especiales y representantes en nombre
           de la República en Monaca y Demaseca, respectivamente; (iii) la inmovilización de productos
           financieros dispuesta por la Superintendencia de Bancos y Otras Instituciones Financieras
           (“SUDEBAN”); (iv) la Resolución No. 3.268 del Ministerio del Poder Popular de Planificación y
           Finanzas del 10 de diciembre de 2012 13, por la que se designaron nuevos administradores
           especiales de Monaca; (v) la Providencia Administrativa del Ministerio del Poder Popular para
           Relaciones Interiores y Justicia del 21 de enero de 2013 14, a través de la cual la República designó
           a cuatro administradores especiales en Monaca y Demaseca (“Providencia Administrativa” o
           “Providencia”) 15.
57.        El 1 de febrero de 2010 Valores, Consorcio, Monaca y Demaseca iniciaron un incidente de
           tercerías ante las cortes venezolanas para solicitar el levantamiento de las medidas descritas en
           (i)-(iii) del párrafo anterior, alegando que las Compañías no eran bienes del Sr. Fernández
           Barrueco. La solicitud fue denegada y contra esta denegación dichas entidades presentaron una
           apelación que, a la fecha del Laudo, no había sido resuelta 16.
58.        El segundo grupo de medidas incluye el Decreto No. 7.394 de 27 de abril de 2010 expedido por el
           entonces Presidente de la República Hugo Chávez Frías (“Decreto No. 7.394” o “Decreto”), en el
           que se decretó la adquisición forzosa de los bienes de Monaca, para la cual se creó una Comisión
           Oficial de Transición (“Comisión de Enlace”) 17.
59.        El 7 de noviembre de 2011 Valores y Consorcio presentaron la notificación de controversia
           (“Notificación de Controversia”) al amparo del Artículo XI(1) del Tratado, que fue recibida por la
           República el 9 de noviembre del mismo año. Tras el fracaso de las negociaciones amistosas
           durante un periodo de 6 meses, el 10 de mayo de 2013 Valores y Consorcio presentaron la
           Solicitud de Arbitraje contra Venezuela por reclamaciones al amparo de los Artículos IV (TJE), III
           (medidas arbitrarias y discriminatorias) y VII (libre transferencia de fondos) del APPRI. El 28 de
           julio de 2014, Valores y Consorcio presentaron su Memorial de Demanda en el que incluyeron
           además una reclamación por violación del Artículo V (expropiación) 18.


11
   Resolución 2.549 del 4 de diciembre de 2009 del Ministerio del Poder Popular para la Economía y Finanzas,
publicada en la Gaceta Oficial No. 39.333 del 22 de diciembre de 2009 (C-10).
12
  Resolución 2.628 del 1 de marzo de 2010 del Ministerio del Poder Popular para la Economía y Finanzas, publicada
en la Gaceta Oficial No. 39.377 del 2 de marzo de 2010 (C-11).
13
  Resolución 3.268 del 10 de diciembre de 2012 del Ministerio del Poder Popular de Planificación y Finanzas
publicada en la Gaceta Oficial No. 40.069 del 11 de diciembre de 2012 (C-64).
14
     Providencia Administrativa No. 004-13 del 21 de enero de 2013 del Ministerio del Poder Popular para Relaciones
Interiores y Justicia, publicada en la Gaceta Oficial No. 40.095 del 22 de enero de 2013 (C-017).
15
  Laudo, ¶¶ 88-93, 96-97. En el ¶ 101 del Laudo, el Tribunal afirmó que el 30 de julio de 2014 se decidió el
sobreseimiento de la causa seguida contra el Sr. Fernández Barrueco y el levantamiento de las medidas cautelares
impuestas sobre sus bienes, aunque tal decisión había sido apelada.
16
     Laudo, ¶¶ 94-95.
17
     Laudo, ¶¶ 102-103.
18
     Laudo, ¶¶ 8, 37, 99, 142, 195.

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60.        En cuanto a la reclamación bajo el Artículo V del APPRI, Valores y Consorcio sostuvieron que las
           referidas medidas de aseguramiento y administración especial, el Decreto No. 7.394 y la
           Providencia Administrativa (que Valores y Consorcio definieron como el “punto culminante” de
           todas las medidas) tuvieron carácter permanente e irreversible, y su imposición cumulativa causó
           la pérdida tanto del control de las Compañías como del valor de sus acciones, dando todo ello
           lugar a una expropiación progresiva de sus inversiones 19. Además, alegaron que las medidas
           expropiatorias eran ilícitas, pues no cumplían con los requisitos establecidos en el APPRI 20.
61.        En cuanto a la violación del TJE, Valores y Consorcio alegaron que las referidas medidas les
           privaron del uso, goce y disfrute de las Compañías por más de cuatro años sin compensación
           alguna, les impidieron recibir los beneficios básicos de sus inversiones, incluyendo la facultad de
           distribuir dividendos y disponer de su participación accionaria en las Compañías, y que además
           estas medidas eran discriminatorias, arbitrarias y contrarias al debido proceso y al principio de
           buena fe 21.
62.        Respecto a la reclamación bajo el Artículo III, Valores y Consorcio sostuvieron que el
           mantenimiento de una administración especial sobre las Compañías, la adopción y ejecución del
           Decreto No. 7.394 y las otras medidas de interferencia puestas al servicio de los fines
           expropiatorios proclamados en ese Decreto constituían medidas arbitrarias o discriminatorias 22.
           Valores y Consorcio estimaban que todas estas medidas carecían de fundamento fáctico o jurídico
           legítimo, habían sido aplicadas exclusivamente a las Compañías y no a empresas similares, y
           habían obstaculizado o impedido la gestión, el mantenimiento, el desarrollo, la utilización, el
           disfrute, la extensión, la venta y la liquidación de sus inversiones 23.
63.        Con relación al Artículo VII, Valores y Consorcio consideraron que Venezuela había violado el
           Tratado al impedirles la repatriación de capitales, el pago de dividendos, los pagos relacionados
           con la adquisición de materias primas y otros productos necesarios para la inversión, y la
           obtención de divisas necesarias para efectuar transferencias, así como la realización de estas
           transferencias sin demoras ni restricciones 24.
64.        Venezuela presentó cuatro objeciones jurisdiccionales, tres de ellas relacionadas con su denuncia
           del Convenio CIADI que, según ella, privaban al Tribunal de jurisdicción para decidir sobre el fondo
           de la controversia 25.
65.        En cuanto a la primera objeción jurisdiccional, Venezuela argumentó que la recepción de la
           Notificación de Controversia no perfeccionó el consentimiento al arbitraje CIADI, ya que este
           solamente se perfecciona una vez cumplidos todos los requisitos del Artículo XI del APPRI,
           incluyendo el agotamiento del plazo de seis meses para buscar un acuerdo amistoso. Ello no

19
     Laudo, ¶¶ 285-314.
20
     Laudo, ¶¶ 315-323.
21
     Laudo, ¶¶ 489-500.
22
     Laudo, ¶¶ 592-599.
23
     Laudo, ¶ 592.
24
     Laudo, ¶¶ 620-626.
25
     Laudo, ¶ 138.

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           habría ocurrido en este caso porque este periodo de negociación venció el 8 de mayo de 2012,
           tres meses y medio después de la denuncia del Convenio del CIADI por parte de Venezuela del 24
           de enero de 2012 26.
66.        El Tribunal rechazó esta objeción jurisdiccional porque entendió que Venezuela dio su
           consentimiento a la jurisdicción del CIADI en el Artículo XI del APPRI, el cual entró en vigor el 10
           de septiembre de 1997, y las Demandadas en Anulación dieron su consentimiento válidamente
           en la Notificación de Controversia. Así, entendió que el consentimiento se perfeccionó con
           anterioridad a la denuncia del Convenio y que, por lo tanto, la denuncia no afectaba a la
           jurisdicción del Tribunal 27.
67.        Respecto a la segunda objeción, Venezuela sostuvo que el Tribunal carecía de jurisdicción con
           relación a la reclamación por expropiación indirecta por dos razones que calificó como
           independientes 28.
68.        En primer lugar, la República alegó que la Notificación de Controversia fue prematura y, en
           consecuencia, inválida respecto del reclamo de expropiación dado que, según las propias Valores
           y Consorcio, la expropiación indirecta se había cristalizado con la Providencia Administrativa, es
           decir, después de la recepción de la Notificación de Controversia y de la denuncia del Convenio
           del CIADI por parte de Venezuela. En segundo lugar, Venezuela afirmó que la controversia sobre
           la supuesta pérdida total de control de Gruma sobre las Compañías — que Valores y Consorcio
           calificaban como expropiación indirecta — no había sido notificada a la República como lo exige
           el Artículo XI(1) del Tratado y, por lo tanto, el periodo de negociaciones de seis meses previsto en
           el Tratado no se había iniciado 29.
69.        Esta objeción fue rechazada, ya que el Tribunal consideró que Valores y Consorcio notificaron
           válidamente la disputa sobre el incumplimiento del Artículo V del Tratado en la Notificación de
           Controversia y perfeccionaron su consentimiento con anterioridad a la denuncia del Convenio del
           CIADI por parte de Venezuela. En particular, el Tribunal razonó que “de facto ha existido una
           relación entre el Decreto No. 7.394 y las medidas de aseguramiento y administración especial,
           incluida la Providencia Administrativa, y que todas forman parte de la misma controversia
           notificada por las Demandantes en su Notificación de Controversia” 30. Por lo tanto, el Tribunal
           consideró que tenía jurisdicción para conocer sobre la reclamación de expropiación en los
           términos planteados por Valores y Consorcio 31.
70.        En relación con la tercera objeción, Venezuela sostuvo que, independientemente del Artículo 72




26
     Laudo, ¶¶ 141-150, 194, 208.
27
     Laudo, ¶¶ 210-224.
28
     Laudo, ¶ 225.
29
     Laudo, ¶¶ 153-157, 225-226.
30
     Laudo, ¶ 241.
31
     Laudo, ¶ 243.

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           del Convenio del CIADI 32, el Artículo XI(2)(b) del APPRI 33 exige que ambos Estados — España y
           Venezuela — sean Estados contratantes del Convenio del CIADI al momento en que el inversor
           somete la controversia a arbitraje. Según la República, tal requisito no se cumplió en este caso,
           pues a la fecha de la presentación de la Solicitud de Arbitraje ya habían transcurrido seis meses
           desde la notificación de denuncia y, por lo tanto, Venezuela había dejado de ser Estado
           contratante del Convenio del CIADI 34.
71.        El Tribunal rechazó esta objeción hallando que el consentimiento a la jurisdicción del CIADI se
           perfeccionó antes de que Venezuela denunciara el Convenio del CIADI, ya que el Artículo XI(2)(b)
           del APPRI no puede interpretarse en el sentido de exigir que ambos Estados sean parte del dicho
           Convenio al momento de someter la controversia a arbitraje porque tal interpretación sería
           contraria al sentido corriente de los términos del Tratado e ignoraría su contexto y las
           circunstancias de su negociación y celebración 35.
72.        La cuarta objeción jurisdiccional se basó en el argumento de que el verdadero inversor en
           Venezuela era Gruma, sociedad mexicana, que no tiene derecho a beneficiarse del Convenio del
           CIADI por no ser nacional de un Estado contratante 36. Para fundamentar esta objeción Venezuela
           señaló que Valores y Consorcio eran empresas de papel que fungían como tenedoras de las
           acciones de Gruma en las Compañías para dar apariencia española a las inversiones y
           simplemente heredaron la inversión extranjera directa de Gruma mediante un traspaso de
           acciones “en papel” 37. Venezuela sostuvo que los órganos de administración de Valores y
           Consorcio no tenían actividad en España y solamente suscribían actas como si hubieran sido
           celebradas en ese país y que las supuestas inversiones de Valores y Consorcio en las Compañías
           no se habían realizado con capital del exterior 38. La República agregó que, incluso si Valores y
           Consorcio calificaran como inversores bajo el Artículo I(1)(b) del APPRI, no podrían considerarse
           nacionales de otro Estado contratante a efectos del Convenio del CIADI porque ser “inversor”
           español bajo el APPRI no es automáticamente equivalente a ser nacional español para cumplir

32
  Artículo 72 del Convenio CIADI: “Las notificaciones de un Estado Contratante hechas al amparo de los Artículos 70
y 71 [i.e. las notificaciones de denuncia del Convenio CIADI] no afectarán a los derechos y obligaciones, conforme a
este Convenio, de dicho Estado, sus subdivisiones políticas u organismos públicos, o de los nacionales de dicho Estado
nacidos del consentimiento a la jurisdicción del Centro dado por alguno de ellos con anterioridad al recibo de dicha
notificación por el depositario”.
33
   Artículo XI (2)(b) del APPRI: “Si la controversia no pudiera ser resuelta de esta forma en un plazo de seis meses, a
contar desde la fecha de notificación escrita mencionada en el párrafo 1, será sometida a la elección del inversor: Al
Centro Internacional para el Arreglo de Diferencias Relativas a Inversiones (CIADI) creado por el Convenio para
Arreglo de Diferencias Relativas a Inversiones entre Estados y Nacionales de otros Estados, abierto a la firma en
Washington el 18 de marzo de 1965, cuando cada Estado parte en el presente Acuerdo se haya adherido a aquél. En
caso de que una de las Partes Contratantes no se haya adherido al citado Convenio, se recurrirá al Mecanismo
Complementario para la Administración de Procedimientos de Conciliación, Arbitraje y Comprobación de Hechos por
la Secretaría de CIADI”.
34
     Laudo, ¶¶ 158-160, 245.
35
     Laudo, ¶¶ 260-261.
36
     Laudo, ¶¶ 161-162, 165-166, 263.
37
     Laudo, ¶¶ 163, 166, 264.
38
     Laudo, ¶ 164.

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           con el requisito de ser “nacional de otro Estado Contratante” del Artículo 25 del Convenio del
           CIADI. La República añadió que Valores y Consorcio no cumplen con los requisitos para hacerlo
           porque no califican como nacionales españoles bajo el derecho español 39.
73.        El Tribunal rechazó también esta última objeción. Una vez determinado que el Artículo 25 del
           Convenio del CIADI no contiene ningún criterio para determinar la nacionalidad de los inversores
           que sean personas jurídicas, el Tribunal razonó que les corresponde a los Estados establecer los
           requisitos de nacionalidad, por lo que concluyó que la definición de inversor del APPRI era
           determinante para establecer su jurisdicción tanto bajo el propio APPRI como bajo el Convenio
           del CIADI 40. Al apreciar que la definición de inversor del APPRI solo requiere que Valores y
           Consorcio estén constituidas de conformidad con las leyes de España, y que este asunto no estaba
           controvertido entre las Partes, el Tribunal determinó que ellas cumplían con dicho requisito 41. El
           Tribunal también añadió que la única excepción al criterio de la constitución establecido en el
           Tratado es la existencia de alguna forma de abuso, pero indicó que Venezuela no había invocado
           ningún argumento a estos efectos 42.
74.        En cuanto al fondo de la disputa, el Tribunal desestimó la reclamación por expropiación, pero
           concluyó que Venezuela había violado el Tratado en relación con los Artículos IV, III y VII.
75.        El Tribunal consideró, primero, que el Decreto No. 7.394 no constituyó por sí mismo una
           expropiación indirecta 43. Luego, desestimó el argumento de Valores y Consorcio según el cual
           hubo expropiación progresiva culminada con la Providencia Administrativa 44. Además, y a mayor
           abundamiento, estimó que no estaba probado que Valores y Consorcio hubieran perdido el
           control total o sustancial sobre las Compañías como consecuencia de las medidas de
           aseguramiento y administración especial y del Decreto 45. Tampoco consideró probado que el
           valor de sus inversiones hubiera sido “aniquilado o destruido” 46. Así, concluyó que no hubo una
           expropiación indirecta en violación del Artículo V. Con base en lo anterior, el Tribunal no estimó
           necesario pronunciarse sobre la alegada ilicitud de la expropiación 47.
76.        En cuanto a la reclamación por violación de la obligación de brindar un TJE a las inversiones de
           Valores y Consorcio, el Tribunal observó preliminarmente que no existía objeción alguna a su
           jurisdicción que se refiriera de manera específica a dicha reclamación 48. El Tribunal indicó que,
           aunque las medidas y conductas de Venezuela no generaron la pérdida total o sustancial del
           control de las Compañías por parte de Valores y Consorcio, sí violaron el estándar de TJE. Según

39
     Laudo, ¶¶ 166, 265.
40
     Laudo, ¶¶ 266-275.
41
     Laudo, ¶¶ 273-284.
42
     Laudo, ¶¶ 280, 282-283.
43
     Laudo, ¶¶ 401-405.
44
     Laudo, ¶¶ 406-420.
45
     Laudo, ¶¶ 421-458.
46
     Laudo, ¶¶ 459-479.
47
     Laudo, ¶ 480.
48
     Laudo, ¶ 521.

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           el Tribunal, la República violó el Artículo IV del Tratado a través de: (i) las medidas de
           aseguramiento y administración especial, en la forma en que habían sido ejecutadas por los
           poderes ejecutivo y judicial 49, (ii) la imposición sobre las Compañías de restricciones derivadas del
           Decreto No. 7.394, mientras el proceso de adquisición forzosa continuaba suspendido por casi
           diez años sin avanzar en las negociaciones 50 y (iii) la confusión en cuanto al origen y el efecto de
           las facultades de los administradores especiales y las de la Comisión de Enlace 51.
77.        Con relación a la prohibición de imposición de medidas arbitrarias y discriminatorias, el Tribunal
           halló que Venezuela había violado el Artículo III(1) del APPRI. En concreto, el Tribunal concluyó
           que las siguientes conductas carecían de fundamento fáctico o jurídico, y por ende eran arbitrarias
           y obstaculizaban la gestión y desarrollo de las inversiones de Valores y Consorcio: (i) la denegación
           de la Superintendencia de Inversiones Extranjeras de la República Bolivariana de Venezuela
           (“SIEX”) de dar trámite a las solicitudes de actualización del registro de inversión extranjera de las
           Compañías y de Valores y Consorcio 52, (ii) la imposición de la Comisión de Enlace 53, (iii) la
           suspensión indefinida del procedimiento de expropiación y la simultánea aplicación de algunas
           restricciones del Decreto No. 7.394 54 y (iv) el redireccionamiento de materias primas por parte de
           Venezuela 55.
78.        Respecto al Artículo VII, el Tribunal consideró que la República lo incumplió al restringir la
           repatriación sin demoras de capitales y pagos relacionados con la inversión en la moneda
           convertible elegida por las Demandantes 56, y decidió que la conducta de Venezuela respecto a la
           actualización del registro de inversión extranjera era arbitraria 57. Por otro lado, el Tribunal decidió
           que Valores y Consorcio no habían probado que se hubieran dejado de decretar dividendos o
           celebrar actos societarios como consecuencia de las conductas de Venezuela 58.
79.        Como resultado de lo anterior, el Tribunal determinó que las violaciones a los Artículos IV, III y VII
           del Tratado ocasionaron daños y perjuicios a Valores y Consorcio, y ordenó a Venezuela el pago
           de una indemnización en la suma de US$ 430,4 millones, más intereses a la tasa Libor + 2% a partir
           del 22 de enero de 2013 y hasta la fecha de pago del Laudo 59.
80.        Por último, el Tribunal condenó la República a pagar US$ 5.925.705,14 como contribución al pago
           de los costos del arbitraje de Valores y Consorcio 60.

49
     Laudo, ¶¶ 550-563, 587.
50
     Laudo, ¶¶ 564-583, 587.
51
     Laudo, ¶¶ 584-586, 587.
52
     Laudo, ¶¶ 612-613.
53
     Laudo, ¶ 614.
54
     Laudo, ¶ 615.
55
     Laudo, ¶ 616.
56
     Laudo, ¶ 636.
57
     Laudo, ¶ 639.
58
     Laudo, ¶ 640.
59
     Laudo, ¶ 834.
60
     Laudo, ¶ 834.

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            B.       LAS CUESTIONES SOMETIDAS A LA DECISIÓN DEL COMITÉ

81.         La República solicita la anulación del Laudo invocando tres de las cinco causales de anulación
            previstas en el Artículo 52(1) del Convenio del CIADI, en concreto, la extralimitación manifiesta en
            las facultades del Tribunal (literal (b)), el quebrantamiento grave de una norma fundamental de
            procedimiento (literal (d)) y la falta de expresión de motivos (literal (e)).
82.         Con base en su postura acerca del alcance de estas tres causales 61, Venezuela sostiene que el
            Tribunal incurrió en ellas con relación a siete cuestiones decididas en el Laudo. La República
            postula que el Tribunal:

             (i)     se extralimitó manifiestamente en sus facultades al decidir ultra petita en relación con el
                     estándar de TJE y la Providencia Administrativa 62;

             (ii)    se extralimitó manifiestamente en sus facultades y quebrantó una norma fundamental de
                     procedimiento al asumir jurisdicción sobre el reclamo por expropiación bajo el Artículo V
                     del Tratado 63;

             (iii)   no expresó motivos y quebrantó una norma de procedimiento respecto a las alegaciones
                     fácticas sobre el test de nacionalidad 64;

             (iv)    expresó razones contradictorias en relación con los efectos del Decreto No. 7.394 65;

             (v)     no expresó razones y quebrantó una norma de procedimiento en cuanto al tratamiento
                     de la prueba con relación a la Comisión de Enlace 66;

             (vi)    no expresó motivos y quebrantó una norma de procedimiento en su decisión sobre los
                     daños 67; y

             (vii)   no expresó motivos y quebrantó una norma de procedimiento en su determinación sobre
                     la atribución de costos en el Arbitraje Subyacente 68.
83.         Por su parte, las Demandadas en Anulación sostienen que Venezuela no ha demostrado que el
            Laudo deba ser anulado, pues el procedimiento de anulación no es un procedimiento de apelación
            y las causales invocadas por la República tienen un alcance más limitado de lo que esta sugiere 69.
            Además, Valores y Consorcio niegan que el Laudo incurra en los vicios imputados 70.


61
     MdA, § IV; Réplica de Anulación, § III
62
     MdA, § V.A; Réplica de Anulación, § IV.A.
63
     MdA, § V.B; Réplica de Anulación, § IV.B.
64
     MdA, § V.C; Réplica de Anulación, § IV.C.
65
     MdA, § V.E; Réplica de Anulación, § IV.D.
66
     MdA, § V.D; Réplica de Anulación, § IV.E.
67
     MdA, § V.F; Réplica de Anulación, § IV.F.
68
     MdA, § V.G; Réplica de Anulación, § IV.G.
69
     MdC de Anulación, §§ III.A y III.B; Dúplica de Anulación, § II.A.
70
     MdC de Anulación, §§ III.C a III.I; Dúplica de Anulación, §§ II.B a II.H.

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84.         A la luz de los términos en los que las Partes han desarrollado sus posiciones, el Comité
            determinará en la Sección V el alcance de cada una de las tres causales de anulación invocadas
            por Venezuela. Una vez aclarado este aspecto, el Comité abordará, en la Sección VI, los vicios que
            la República atribuye al Laudo, a fin de establecer si en el caso concreto se han verificado la
            existencia de esas causales de anulación.
85.         Al tratar cada una de las cuestiones antes mencionadas, el Comité ha considerado todas las
            alegaciones y los argumentos presentados por las Partes por escrito y oralmente. El hecho de que
            una alegación o un argumento no haya sido citado o resumido en esta decisión no significa que
            no haya sido considerado por el Comité para llegar a su conclusión.
86.         Para llegar a sus conclusiones, el Comité ha considerado, entre otras fuentes, las decisiones de
            anulación de varios comités ad hoc CIADI. Dada la importancia de las cuestiones discutidas en este
            procedimiento respecto a las tres causales de anulación invocadas, el Comité ha analizado
            también decisiones de comités ad hoc que no forman parte del expediente (incluso algunas
            emitidas después de la Audiencia de Anulación), que han sido utilizadas para respaldar posiciones
            ya consolidadas en la jurisprudencia. Estas últimas decisiones guardan relación con argumentos
            que han sido extensamente debatidos por las Partes en este proceso, y se encuentran además en
            línea con otras decisiones que forman parte de este expediente 71. A fin de simplificar la lectura
            de este documento, las decisiones de anulación consideradas han sido definidas en una lista al
            comienzo de la presente decisión.


V.          EL ALCANCE DE LAS CAUSALES DE ANULACIÓN INVOCADAS POR VENEZUELA

            A.       INTRODUCCIÓN

87.         La República ha identificado los estándares legales aplicables a cada una de las tres causales de
            anulación que invoca. A su juicio, no existe una controversia real entre las Partes respecto de
            estos estándares, pues Valores y Consorcio solamente se limitaron a “forzar interpretaciones
            restrictivas” de sus verdaderos alcances 72. En general, la República sostiene que el propósito del
            remedio de la anulación es proteger la integridad de los laudos CIADI. Venezuela también destaca
            que el procedimiento de anulación es distinto de un procedimiento de apelación, pero señala que
            esto no significa que las causales de anulación deban ser interpretadas de manera
            extremadamente restrictiva 73.
88.         Las Demandadas en Anulación alegan que las tres causales de anulación invocadas por Venezuela
            no tienen al alcance amplio que ella pretende indebidamente atribuirles para intentar volver a
            litigar la controversia decidida en el Laudo. Por el contrario, sostienen que el margen de aplicación
            de esas causales de anulación es “muy limitado” y la función de los comités ad hoc no es

71
  El Comité nota que varias de estas decisiones se encuentran referenciadas en el Documento actualizado de
antecedentes sobre el mecanismo de anulación par el Consejo Administrativo del CIADI de 5 de mayo de 2016
(“Documento de antecedentes”) (RLA-173).
72
     Réplica de Anulación, ¶¶ 18-20.
73
     Tr. Día 1, 41:1-42:7; Tr. Día 2, 257:19-258:9.

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           reexaminar la conclusiones fácticas y legales de los árbitros, ya que el procedimiento de anulación
           de los laudos CIADI no es un proceso de apelación y que este fue diseñado simplemente para
           resguardar la integridad de los laudos. En todo caso, Valores y Consorcio destacan que le
           corresponde a la República probar que se verificaron las causales que invoca 74.
89.        El Comité comenzará su análisis determinando en la presente Sección los principios para definir
           el alcance de las tres causales de anulación invocadas por Venezuela. El Comité aplicará estos
           principios al analizar, en la Sección siguiente, los vicios que la República atribuye al Laudo.

           B.       LA EXTRALIMITACIÓN MANIFIESTA DE FACULTADES (ARTÍCULO 52(1)(B) DEL CONVENIO DEL CIADI)

90.        Venezuela invoca la extralimitación manifiesta de facultades conforme al Artículo 52(1)(b) del
           Convenio del CIADI en relación con la decisión del Tribunal sobre (i) el estándar de TJE y la
           Providencia Administrativa y (ii) la jurisdicción respecto del reclamo por expropiación.

                    1.       Argumentos de Venezuela

91.        La República afirma que, para determinar si se ha producido una extralimitación manifiesta de las
           facultades del Tribunal, las decisiones de anulación más representativas han utilizado un enfoque
           de “dos pasos” que consiste en determinar, primero, si existió un exceso de poder por parte del
           tribunal de arbitraje y, segundo, si ese exceso fue manifiesto 75.
92.        En cuanto al adjetivo “manifiesto”, Venezuela sostiene que este significa “obvio” o “evidente”.
           Basándose en un artículo de Philippe Pinsolle 76, la República sostiene que “manifiesto” se refiere
           exclusivamente al grado de extralimitación y no a que el exceso de poder deba ser evidente prima
           facie, ya que, de ser así, una redacción competente y cuidadosa del laudo lo tornaría inmune a
           anulación. Por ende, los comités deben realizar un análisis del exceso de poder invocado, lo que
           puede incluir examinar el laudo y las argumentaciones de las partes. Para Venezuela, las
           Demandadas en Anulación tratan de desnaturalizar esta causal de anulación argumentando que
           la extralimitación de facultades tiene que surgir de una simple lectura del laudo. Esta
           interpretación vacía de contenido práctico al Artículo 52(1)(b) del Convenio del CIADI. Además, la
           necesidad de un análisis in extenso ha sido reconocida por las decisiones de anulación en los casos
           Pey Casado c. Chile, Caratube c. Kazajistán y Occidental c. Ecuador 77. Al contestar en su alegato
           de cierre a una pregunta del Comité, la República indicó que, si bien las decisiones de anulación
           en Venoklim c. Venezuela (I) y Tenaris c. Venezuela (II) describen el significado del término
           “manifiesto” de manera distinta a los tres precedentes antes citados, en realidad, las cinco
           decisiones coinciden en su aplicación, pues todas demuestran que hubo una lectura atenta del

74
     MdC de Anulación, ¶ 38; Dúplica de Anulación, ¶¶ 6-7; Tr. Día 1, 140:5-141:16, 146:12-17.
75
  MdA, ¶ 35; Réplica de Anulación, ¶¶ 26-27, citando varias decisiones de anulación de comités ad hoc del CIADI.
Véase también Tr. Día 1, 44:3-9.
 P. PINSOLLE, Manifest Excess of Power and Jurisdictional Review of ICSID Awards, en 2 Transnational Dispute
76

Management (2005) (RLA-199).
77
   MdA, ¶¶ 36-38; Réplica de Anulación, ¶¶ 22, 24-25, 28-32; Tr. Día 1, 44:10-45:20, 50:9-51:3; Tr. Día 2, 259:18-
260:16, citando Pey Casado c. Chile (Anulación I), ¶ 70 (RLA-201); Caratube c. Kazajistán, ¶ 84 (RLA-202); Occidental
c. Ecuador, ¶¶ 57-59 (RLA-194).

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           laudo tomando en cuenta los argumentos de las partes y la documentación de soporte
           relevante 78.
93.        Venezuela expone que, como lo reconocen las Demandadas en Anulación, existen dos tipos de
           extralimitación manifiesta de facultades por parte de los tribunales 79.
94.        El primero es la extralimitación de facultades por falta de jurisdicción, que ocurre tanto cuando
           un tribunal decide una controversia fuera del alcance de su jurisdicción, como cuando no ejerce
           plenamente su jurisdicción, independientemente de que la falta de jurisdicción sea parcial o total.
           Para determinar si hubo un exceso de facultades relativo a cuestiones jurisdiccionales es
           necesario analizar conjuntamente los hechos del caso y el marco jurídico que determina la
           jurisdicción invocada. Esto requiere interpretar los tratados de inversión y el Convenio del CIADI,
           incluso – de ser necesario – a través de un análisis de precedentes, jurisprudencia, doctrina y
           trabajos preparatorios del Convenio del CIADI, tal como ocurrió en los procedimientos de
           anulación de los casos Azurix c. Argentina y SAUR c. Argentina 80. Todo ello conlleva que el Comité
           debe realizar “un análisis completo de la jurisdicción erróneamente arrogada por el Tribunal,
           desde un punto inicial”, ya que, de no ser así, le sería imposible comprobar la existencia de la
           causal de anulación en cuestión y el Artículo 52(1)(b) “no sería más que un derecho ‘virtual’” 81. En
           su Réplica de Anulación, Venezuela agrega que Valores y Consorcio se equivocan al argumentar
           que el Comité no puede analizar las pruebas y los hechos del Arbitraje Subyacente, dado que este
           análisis es necesario para determinar si el Tribunal asumió su jurisdicción erróneamente. La
           República aclara que el Comité no está llamado a revisar todos los hechos y las pruebas del caso
           como si fuera un juez de apelación, sino que debe solamente analizar los hechos y las pruebas
           relacionados con el ejercicio de la jurisdicción del Tribunal 82. En todo caso, para Venezuela, la
           lectura propuesta por las Demandadas en Anulación es irrelevante en este caso, puesto que la
           extralimitación de facultades por parte del Tribunal fue clara 83.
95.        El segundo tipo de extralimitación de facultades ocurre cuando los árbitros no aplican el derecho
           aplicable. Esto puede ocurrir cuando el derecho aplicable es ignorado completamente o cuando
           el laudo se funda en un derecho distinto al derecho aplicable. En ambas circunstancias la
           consecuencia es la anulación del laudo en su totalidad. Para darle efecto útil a esta causal de
           anulación, el Comité “no puede limitarse al registro formal de ciertas normas aplicables”, sino que
           tiene que analizar si el Tribunal les dio aplicación efectiva y la interpretación que hizo de las
           mismas. En este caso concreto, el Comité debe analizar el APPRI y el derecho local, así como el
           Convenio del CIADI y sus Reglas de Arbitraje, y cualquier otro derecho aplicable convenido por las
           Partes 84.


78
     Tr. Día 2, 258:10-262:19.
79
     MdA, ¶ 39; Réplica de Anulación, ¶ 22.
80
     Azurix c. Argentina, ¶ 82 (RLA-208); SAUR c. Argentina, ¶ 172 (RLA-212).
81
     MdA, ¶¶ 41-48; Tr. Día 1, 42:13-43:6, 46:1-7.
82
     Réplica de Anulación, ¶¶ 34-37.
83
     Réplica de Anulación, ¶ 38; Tr. Día 2, 262:20-263:16.
84
     MdA, ¶¶ 49-56, 59; Réplica de Anulación, ¶¶ 39, 46.

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96.        Según Venezuela, las Demandadas en Anulación buscan restringir forzadamente esta causal de
           anulación argumentando que no existe un requisito de “aplicación efectiva” del derecho aplicable
           y que, de ser así, el procedimiento de anulación se convertiría en una apelación. Si bien Venezuela
           acepta que una aplicación razonable del derecho aplicable a la disputa o un error “simple” en su
           interpretación no alcanzan el umbral para anular el Laudo, advierte de que un error de derecho
           puede ser tan grave que equivalga a una omisión en la aplicación del derecho aplicable,
           conllevando así la anulación del Laudo. A este respecto, cita como respaldo las decisiones de los
           comités en Dogan c. Turkmenistán y Micula c. Rumania 85. A criterio de Venezuela, la evaluación
           de la aplicación efectiva del derecho no “borra la frontera entre ‘anulación’ y ‘apelación’”, pues
           no requiere el intercambio del juicio interpretativo de los árbitros con el del comité, sino
           solamente un control para verificar si las normas fueron en efecto aplicadas o si, aunque
           mencionadas, fueron construidas de tal manera que “carecieron de un efecto normativo real para
           el caso en concreto” 86.
97.        La República añade que, de todos modos, en el presente caso ella invoca una “no aplicación lisa
           y llana” del derecho aplicable, por lo que la discrepancia entre las Partes sobre si el Comité debería
           determinar si el Tribunal realizó una aplicación efectiva del derecho aplicable es puramente
           académica 87.
98.        Finalmente, Venezuela señala que, como destacó el comité en el caso EDF c. Argentina 88, la
           extralimitación de facultades por no aplicación del derecho aplicable permite también anular la
           estimación de daños realizada por los árbitros. Esto ocurrió, por ejemplo, en el caso Venezuela
           Holdings c. Venezuela 89, en el que el comité concluyó que el tribunal se había extralimitado
           manifiestamente en sus facultades al calcular los daños con base en el derecho general
           internacional en lugar de aplicar las disposiciones específicas del tratado bilateral de inversión 90.

                    2.       Argumentos de Valores y Consorcio

99.        De entrada, Valores y Consorcio coinciden con la Demandante en Anulación en que la parte que
           solicita la anulación de un laudo bajo el Artículo 52(1)(b) del Convenio del CIADI debe probar dos
           requisitos: (i) que el tribunal se extralimitó en sus facultades y (ii) que dicha extralimitación fue
           manifiesta. Además, coinciden en que el término “manifiesto” significa “obvio” o “evidente” 91.
100.       No obstante, las Demandadas en Anulación discrepan de la postura de Venezuela en lo que hace
           al análisis que los comités deben conducir para determinar si los árbitros se extralimitaron
           manifiestamente de sus facultades. En particular, Valores y Consorcio afirman que una
           extralimitación de facultades es manifiesta cuando es “‘evidente por sí sola’ de la simple lectura

85
     Dogan c. Turkmenistán, ¶ 105 (RLA- 246); Micula c. Rumania, ¶ 130 (RLA-235).
86
     Réplica de Anulación, ¶¶ 40, 42-45, 47.
87
     MdA, ¶ 59; Réplica de Anulación, ¶ 41.
88
     EDF c. Argentina, ¶ 368 (RLA-195).
89
     Venezuela Holdings c. Venezuela, ¶ 188(a) (RLA-218).
90
     MdA, ¶¶ 57-58.
91
     MdC de Anulación, ¶¶ 39, 45; Tr. Día 1, 141:21-142:1; Tr. Día 2, 309:14-310:6.

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           del laudo”, tal y como lo reconocieron distintos comités 92. Para respaldar esta lectura, Valores y
           Consorcio hacen hincapié en el significado ordinario del adjetivo “manifiesto”, así como en el
           hecho de que este término debe ser interpretado de forma congruente con el adverbio
           “manifiestamente” que se halla en el Artículo 36(3) del Convenio del CIADI 93 y que, según el
           Profesor Schreuer, significa “so obvious that the request does not deserve consideration by a
           tribunal” 94. Por ende, concluyen que, contrariamente a lo que sostiene la República, el Comité no
           puede examinar en detalle el contenido del Laudo y ni siquiera tiene la facultad de hacerlo, pues
           la extralimitación de facultades del Tribunal debería ser clara a primera vista 95. Contestando a una
           pregunta del Comité durante la Audiencia de Anulación, Valores y Consorcio indicaron que
           compartían el análisis de los comités en Venoklim c. Venezuela (I) y Tenaris c. Venezuela (II),
           criticando, en cambio, el planteamiento de los comités en Caratube c. Kazajistán y Occidental c.
           Ecuador, pues es contrario al significado ordinario del término “manifiesto” y cruza la línea que
           separa la anulación de una apelación 96.
101.       En cuanto a las posibles formas de extralimitación de facultades, Valores y Consorcio aceptan que
           el Artículo 52(1)(b) abarca tanto la falta de ejercicio de jurisdicción por parte de los árbitros como
           la no aplicación del derecho aplicable 97. Sin embargo, controvierten la descripción que Venezuela
           hace de estas dos hipótesis.
102.       En lo que hace a la extralimitación de facultades relativa a la jurisdicción del tribunal, Valores y
           Consorcio sostienen que un comité se excedería en sus facultades si examinara de novo la
           jurisdicción del tribunal y evaluara la prueba o la interpretación de los hechos adoptada por los
           árbitros. Si los comités actuasen como propone la República, los procedimientos de anulación se
           convertirían en procesos de apelación. Las Demandadas en Anulación destacan que el intento de
           la República de convertir esta causal de anulación en un revisión de novo de los laudos ha sido ya
           rechazado en OI European c. Venezuela 98, así como por otros comités 99.
103.       Por otro lado, en lo que concierne a la extralimitación de facultades por inaplicación del derecho
           aplicable, Valores y Consorcio sostienen que no existe un requisito de “aplicación efectiva” del
           derecho aplicable. Así, cuando un tribunal realiza los esfuerzos necesarios para aplicar
           correctamente el derecho aplicable no existe fundamento de anulación. Citando las decisiones de


92
  MdC de Anulación, ¶ 41. Las Demandadas en Anulación hacen referencia, inter alia, a Repsol c. Ecuador, ¶ 36 (RLA-
222); CDC c. Seychelles, ¶ 41 (RLA-198); Wena c. Egipto, ¶ 25 (CLA-109). Véanse también Occidental c. Ecuador, ¶ 57
(RLA-194); Malicorp c. Egipto, ¶ 53 (RLA-227).
93
  El Artículo 36(3) del Convenio del CIADI prevé lo siguiente: “El Secretario General registrará la solicitud salvo que,
de la información contenida en dicha solicitud, encuentre que la diferencia se halla manifiestamente fuera de la
jurisdicción del Centro. Notificará inmediatamente a las partes el acto de registro de la solicitud, o su denegación”.
94
  C. SCHREUER, L. MALINTOPPI, A. REINISCH Y A. SINCLAIR, The ICSID Convention: A Commentary, 2da Ed., 2009, pág. 939,
¶ 141 (CLA-250).
95
     MdC de Anulación, ¶¶ 40-41; Dúplica de Anulación, ¶¶ 10-13.
96
     Tr. Día 2, 308:18-313:18.
97
     MdC de Anulación, ¶¶ 39, 42.
98
     OI European c. Venezuela, ¶¶ 160, 183 (CLA-267).
99
     MdC de Anulación, ¶ 42; Dúplica de Anulación, ¶¶ 14-17; Tr. Día 1, 142:3-143:6.

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           anulación en los casos CMS c. Argentina y MINE c. Guinea 100, Valores y Consorcio alegan que debe
           distinguirse entre la no aplicación de las reglas del derecho aplicable y su errónea aplicación que,
           aun si fuera manifiestamente injustificada, no configuraría una causal de anulación. A este
           respecto, destacan que los redactores del Convenio del CIADI consideraron la posibilidad de
           incluir entre las causales de anulación de los laudos los errores de derecho, pero la rechazaron.
           Finalmente, las Demandadas en Anulación señalan que el comité en OI European c. Venezuela 101
           ya rechazó el intento de la República de introducir un requisito de “aplicación efectiva” del
           derecho aplicable 102.

                    3.      Análisis del Comité

104.       La primera causal de anulación invocada por Venezuela está prevista en el Artículo 52(1)(b) del
           Convenio del CIADI, el cual establece:
                    (1) Cualquiera de las partes podrá solicitar la anulación del laudo mediante escrito dirigido al
                    Secretario General fundado en una o más de las siguientes causas: […]
                    (b) que el Tribunal se hubiere extralimitado manifiestamente en sus facultades.

105.       El Comité toma nota de que las Partes concuerdan en un punto, a saber, que, para que se dé esta
           causal de anulación, Venezuela debe demostrar que hubo una extralimitación de facultades por
           parte del Tribunal y que esta fue manifiesta 103. Sin embargo, discrepan sobre la interpretación del
           término “manifiestamente” y el alcance de las dos formas de extralimitación de facultades
           posibles: la falta de ejercicio de jurisdicción por parte de los árbitros y la no aplicación del derecho
           aplicable.
106.       El Comité abordará a continuación estos tres puntos.

                                     El doble requisito y el enfoque metodológico para determinar la
                                     existencia de una extralimitación manifiesta de facultades

107.       En lo que concierne al punto de concordancia entre las Partes, es indiscutible que el Artículo
           52(1)(b) del Convenio del CIADI impone dos requisitos: (i) una extralimitación del tribunal en sus
           facultades y (ii) el carácter manifiesto de dicha extralimitación 104.
108.       Es cierto que algunos comités ad hoc han aplicado un método enfocado principalmente en el
           segundo requisito, que consiste en examinar sumariamente (prima facie) el laudo para
           determinar si alguna de las extralimitaciones alegadas por la parte solicitante tiene carácter
           manifiesto, lo que, en caso de respuesta negativa, permitiría rechazar la solicitud de anulación sin




100
      CMS c. Argentina, ¶¶ 50-51 (RLA-214); MINE c. Guinea, ¶ 5.04 (RLA-213).
101
      OI European c. Venezuela, ¶¶ 184-185 (CLA-267).
102
      MdC de Anulación, ¶¶ 43-44; Dúplica de Anulación, ¶¶ 18-21.
103
      Véanse ¶¶ 91, 99 supra.
104
      Véanse, entre otros, Micula c. Rumania, ¶ 123 (RLA-235); TECO c. Guatemala, ¶ 76 (RLA-197).

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           siquiera determinar si hubo extralimitación 105. Sin embargo, este Comité estima que el método
           de análisis más adecuado es el “de dos pasos” en que concuerdan las Partes, que consiste en
           determinar, primero, la presencia de una extralimitación de los árbitros en sus facultades y, luego,
           el carácter manifiesto o no del exceso de poder. Este método no solamente es aceptado por la
           mayoría de los comités 106, sino que se ajusta mejor al texto del Artículo 52(1)(b) 107.

                                      El significado del adverbio “manifiestamente” y el análisis para
                                      determinar si la alegada extralimitación es manifiesta

109.       En cuanto a la interpretación del adverbio “manifiestamente”, si bien las Partes coinciden en que
           significa que la extralimitación debe ser obvia o evidente, estas discrepan en cómo se debe
           identificar el carácter manifiesto. Para Venezuela, no es necesario que este surja prima facie y
           puede requerir un análisis extenso del Laudo y de las argumentaciones de las Partes en el Arbitraje
           Subyacente. En cambio, Valores y Consorcio sostienen que una extralimitación manifiesta debe
           surgir “‘[…] por sí sola’ de la simple lectura del laudo” 108.
110.       De manera preliminar, el Comité señala que el término “manifiestamente” indica que el umbral
           para anular – total o parcialmente – un laudo CIADI con base en el Artículo 52(1)(b) es elevado.
           Ello está en línea con la naturaleza excepcional del procedimiento de anulación bajo el Convenio
           del CIADI y el rol limitado que tienen los comités ad hoc, tal y como ha sido reconocido por la
           jurisprudencia 109.
111.       Dicho esto, el Comité estima que, a fin de interpretar correctamente el término
           “manifiestamente” y de resolver la diferencia entre las Partes sobre este punto, debe determinar
           dos cuestiones, que, aunque entrelazadas, tienen matices distintos. La primera consiste en
           determinar el significado de ese adverbio. La segunda atañe al tipo de análisis que el Comité debe
           conducir para establecer si hubo una extralimitación manifiesta.
112.       Empezando por la primera cuestión, el adverbio “manifiestamente” significa, tal y como ambas
           Partes destacan, “evidente” u “obvio”, y también “patente” o “claro” 110. Así las cosas, una
           interpretación puramente literal del Artículo 52(1)(b) y tal y como ha sido destacado por cierta




  AES c. Hungría, ¶ 32 (RLA-192), aunque el comité en AES aplicó esta metodología en conjunto con el análisis “de
105

dos pasos”. Véase también Documento de antecedentes, ¶ 82 (RLA-173).
106
   Véanse, entre otros, CDC c. Seychelles, ¶ 39 (RLA-198); Lemire c. Ucrania, ¶ 240 (RLA-193); Occidental c. Ecuador,
¶ 57 (RLA-194); Venoklim c. Venezuela (I), ¶ 197 (RLA-217); OI European c. Venezuela, ¶ 180 (CLA-267).
107
   Sempra c. Argentina, ¶ 212 (RLA-190) (“la extralimitación de facultades es un requisito sine qua non para la
necesidad de medir el carácter manifiesto de la extralimitación, y permite un análisis más contundente de lo que
constituye una violación, por un lado, y lo que la hace manifiesta, por el otro”).
108
      Véanse ¶¶ 92, 100 supra.
109
    Para la jurisprudencia hasta el año 2016, véase Documento de antecedentes, ¶ 74(2) (págs. 42-45) (RLA-173).
Para casos más recientes, véanse Venoklim c. Venezuela (I), ¶ 189 (RLA-217); Tenaris c. Venezuela (II), ¶ 73 (CMTLA-
1).
110
      Real Academia Española, Diccionario de la lengua española (https://dle.rae.es/manifiesto).

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           jurisprudencia 111, parecería sugerir que “manifiestamente” no hace referencia al nivel de
           gravedad de la extralimitación, sino exclusivamente a la facilidad e inmediatez con la cual la
           extralimitación es percibida durante el proceso cognitivo del comité de anulación 112.
113.       El Comité observa que existe también otra interpretación del término “manifiestamente”, según
           la cual una extralimitación por parte de los árbitros no podría conducir a la anulación de un laudo
           si, incluso siendo patente, no afectase sustancialmente al resultado del caso. Esta interpretación
           fue inicialmente enunciada en el caso Soufraki c. EAU 113 y ha sido aceptada luego por varios
           comités ad hoc 114.
114.       A juicio del Comité, esta lectura – además de ser coherente con el adjetivo “grave” del literal (d)
           del Artículo 52(1) del Convenio del CIADI – parece razonable a la luz del carácter excepcional del
           recurso de anulación de los laudos en los arbitrajes CIADI 115, como se desprende del Artículo
           52(1), que contiene un listado exhaustivo de causales de anulación 116, y del Artículo 53(1) 117, que
           establece el principio de la finalidad de los laudos, limitando su impugnación a los recursos
           expresamente previstos en el Convenio 118.
115.       En efecto, la interpretación del comité en Soufraki no conduciría a la anulación si la
           extralimitación, aunque patente, no fuera grave. Esto ocurriría, por ejemplo, si un tribunal
           aceptara ejercer la jurisdicción sobre un caso considerando al inversor como nacional del estado
           A, frente a prueba contundente de que es nacional del estado B, cuando ambos estados son
           miembros del Convenio del CIADI y del tratado de protección de las inversiones invocado por el
           inversor. Bajo esta hipótesis la extralimitación sería patente, pero no grave, porque el resultado
           del caso no se vería afectado de manera sustancial.
116.       Pasando a la segunda de las dos cuestiones antes mencionadas (a saber, el tipo de análisis que
           debe conducirse para establecer si una extralimitación ha sido manifiesta), es oportuno distinguir



111
    Véanse, entre otros, Wena c. Egipto, ¶ 25 (CLA-109) (“The excess of power must be self-evident rather than the
product of elaborate interpretations one way or the other. When the latter happens the excess of power is no longer
manifest”); Standard Chartered c. Tanzania, ¶ 181 (CLA-254) (“The excess is ‘manifest’ in nature if it is obvious, clear,
self-evident, and discernible without the need for an elaborate analysis of the award”).
112
   C. SCHREUER, L. MALINTOPPI, A. REINISCH Y A. SINCLAIR, The ICSID Convention: A Commentary, 2da Ed., 2009, pág. 939,
¶ 135 (CLA-250). Véase también Documento de antecedentes, ¶ 83 (RLA-173).
113
   Soufraki c. EAU, ¶ 40 (RLA-205) (“the Committee believes that a strict opposition between two different meanings
of ‘manifest’ – either ‘obvious’ or ‘serious’ – is an unnecessary debate. It seems to this Committee that a manifest
excess of power implies that the excess of power should at once be textually obvious and substantively serious”).
114
   Fraport c. Filipinas (I), ¶ 44 (RLA-191); Pey Casado c. Chile (Anulación I), ¶ 70 (RLA-201); Libananco c. Turquía,
¶ 102 (RLA-233); Malicorp c. Egipto, ¶¶ 53-56 (RLA-227); Impregilo c. Argentina, ¶ 128 (RLA-226); SGS c. Paraguay,
¶ 122; El Paso c. Argentina, ¶ 142 (RLA-203); Kilic c. Turkmenistán, ¶ 53 (RLA-228); Lahoud c. Congo, ¶¶ 122-128;
Tenaris c. Venezuela (II), ¶ 74 (CMTLA-1); Pey Casado c. Chile (Anulación II), ¶ 198.
115
      Véase ¶ 110 supra.
116
      Documento de antecedentes, ¶ 74(1) (págs. 39-42) (RLA-173).
117
   El Artículo 53(1) del Convenio del CIADI dispone: “[e]l laudo será obligatorio para las partes y no podrá ser objeto
de apelación ni de cualquier otro recurso, excepto en los casos previstos en este Convenio”.
118
      En este sentido, véase Repsol c. Ecuador, ¶ 81 (RLA-222).

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           entre dos tipos de análisis, tal y como aclaró el comité en Tenaris c. Venezuela (II) 119. Por un lado,
           el comité debe entender el razonamiento de los árbitros. A este fin, una simple lectura del laudo
           no siempre es suficiente y el comité podría necesitar un análisis profundizado del laudo
           dependiendo del nivel de complejidad de la cuestión y del grado de detalle y extensión del
           razonamiento del tribunal 120. Por otro lado, una vez entendido el razonamiento del tribunal, el
           comité debe preguntarse si hubo una extralimitación manifiesta. Es en este segundo tipo de
           análisis en el que el comité debe percibir la extralimitación como patente, evidente, obvia o clara
           (además de grave) 121. Así las cosas, incluso los razonamientos detallados y extensos de los árbitros
           pueden dar lugar a una extralimitación al amparo del Artículo 52(1)(b) del Convenio del CIADI, si
           la extralimitación es, al mismo tiempo, patente y grave 122.

                                      Las posibles formas de extralimitación y su alcance

117.       Otro punto en el que las Partes discrepan es el relativo al contenido de las dos formas de
           extralimitación de facultades, o sea, el error en la asunción o en la denegación de jurisdicción y la
           no aplicación del derecho aplicable.

                                      (1)    Error en la asunción o en la denegación de jurisdicción

118.       En cuanto a la extralimitación de facultades que atañe a la jurisdicción, no está en disputa que
           puede configurarse tanto cuando el tribunal se arroga jurisdicción sin tenerla realmente (o
           teniéndola solo de manera limitada) como cuando declina el ejercicio de la jurisdicción en casos
           en los que correspondería ejercerla 123. Sin embargo, las Partes difieren en la manera en que se
           debería determinar esta forma de extralimitación. Venezuela sostiene que el Comité debería
           hacer un análisis completo de la jurisdicción, valorando los hechos, las pruebas y el marco jurídico
           del caso subyacente para determinar si el Tribunal asumió la jurisdicción erróneamente, sin que
           esto implique actuar como corte de apelación 124. En cambio, Valores y Consorcio aseveran que el



119
      Tenaris c. Venezuela (II), ¶¶ 75-79 (CMTLA-1).
120
   Véase también EDF c. Argentina, ¶ 193 (RLA-195) (“Si bien el Comité concuerda con que la extralimitación en las
facultades solo será manifiesta si se puede identificar con facilidad, considera que esto no significa que la
extralimitación deba saltar a la vista en la primera lectura del Laudo. El razonamiento que subyace a un caso puede
ser tan complejo que se requiere cierto grado de análisis y estudio para determinar con claridad exactamente qué
decidió el tribunal. En tal caso, la necesidad de análisis y estudio no privarán a la extralimitación de su carácter de
‘manifiesta’”).
121
   A juicio del Comité, la distinción que se acaba de ilustrar entre los dos análisis permite obviar el problema,
destacado por la doctrina en la que se basa Venezuela, de que una redacción competente del laudo lo tornaría
inmune de una anulación (P. PINSOLLE, Manifest Excess of Power and Jurisdictional Review of ICSID Awards, en 2
Transnational Dispute Management (2005), pág. 8 (RLA-199)). Dado que para entender el razonamiento del tribunal
puede recurrirse a un análisis profundizado, una redacción atenta y cuidadosa del laudo no podría ocultar una
extralimitación manifiesta por parte de los árbitros.
122
      Véase Pey Casado c. Chile (Anulación I), ¶ 70 (RLA-201).
123
      Véase Documento de antecedentes, ¶ 87 (RLA-173).
124
      Véase ¶ 94 supra.

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           planteamiento sugerido por la República convertiría esta causal de anulación en una apelación 125.
119.       De entrada, el Comité nota que ambas Partes parecen coincidir en que los comités de anulación
           no pueden actuar como jueces de apelación, tal y como ha sido reconocido unánimemente en la
           jurisprudencia CIADI 126 y surge claramente del Artículo 53(1) del Convenio del CIADI. En concreto,
           esto significa que el Comité no puede pronunciarse sobre el carácter supuestamente incorrecto o
           injusto del Laudo, ni reemplazar la visión de los hechos y del derecho del Tribunal por la suya. Al
           contrario, el papel del Comité está limitado a evaluar la legitimidad e integridad del Arbitraje
           Subyacente con base en las causales de anulación previstas en el Artículo 52(1) del Convenio del
           CIADI que invoca la parte solicitante 127.
120.       En lo que hace específicamente a la causal en cuestión, el inciso (b) del Artículo 52(1) dispone que
           la extralimitación en las facultades de los árbitros debe ser manifiesta, lo que, como se ha dicho,
           eleva el umbral para anular un laudo. Si bien el Comité es consciente de que se ha considerado
           que las extralimitaciones en el ámbito jurisdiccional deben analizarse con más rigor 128, este
           Comité considera que, como ha destacado la jurisprudencia mayoritaria, no existe en el Artículo
           52(1)(b) ni en otra disposición del Convenio del CIADI ningún indicio que apunte a que las
           cuestiones de jurisdicción deban ser abordadas diferentemente de otras cuestiones 129. Por ende,
           como se ha indicado anteriormente, el Comité podría anular el Laudo solo si comprobara que el
           Tribunal se ha extralimitado en su jurisdicción de manera, al mismo tiempo, patente y grave.
121.       Con base en lo anterior, el Comité concluye que no le compete efectuar un análisis de novo de los
           hechos, las pruebas y el marco jurídico presentados en el Arbitraje Subyacente con relación a la
           jurisdicción del Tribunal 130. Sin embargo, esto no significa que el Comité no pueda valorar esos
           elementos de ninguna forma, pues, de ser así, no podría ejercer su función de determinar si hubo
           una violación del Artículo 52(1)(b) del Convenio del CIADI. El Comité deberá entonces considerar
           el marco jurídico que determina la competencia del Tribunal (en este caso el Convenio del CIADI
           y el APPRI) y los elementos fácticos y probatorios relevantes que, a tal fin, formaban parte del
           expediente del Arbitraje Subyacente. Por lo tanto, sin reabrir el debate sobre cuestiones de hecho,


125
      Véase ¶ 102 supra.
126
   Para la jurisprudencia hasta el año 2016, véase el Documento de antecedentes, ¶ 74(3) (págs. 45-54) (RLA-173).
Para casos más recientes, véanse Capital Financial c. Camerún, ¶ 116; Tenaris c. Venezuela (II), ¶ 64 (CMTLA-1).
127
     Véanse, entre otros, CDC c. Seychelles, ¶ 34 (RLA-198); M.C.I. c. Ecuador, ¶ 24 (RLA-207); Iberdrola c. Guatemala
(I), ¶ 74 (RLA-223); Dogan c. Turkmenistán, ¶ 29 (RLA-246); Micula c. Rumania, ¶ 122 (RLA-235); TECO c. Guatemala,
¶ 73 (RLA-197).
128
   Véase P. PINSOLLE, Manifest Excess of Power and Jurisdictional Review of ICSID Awards, en 2 Transnational Dispute
Management (2005), págs. 9-10 (RLA-199). En Venezuela Holdings el comité afirmó que “tiene cierta solidez” el
argumento según el cual el análisis de la extralimitación respecto a la jurisdicción requiere un enfoque más riguroso
que otras cuestiones, sin embargo, no se pronunció sobre este aspecto (Venezuela Holdings c. Venezuela, ¶¶ 110-
111 (RLA-218)).
129
   Véanse, entre otros, Soufraki c. EAU, ¶¶ 118-119 (RLA-205); MTD c. Chile, ¶ 54 (RLA-215); Azurix c. Argentina,
¶¶ 66-67 (RLA-208); Lucchetti c. Perú, ¶ 101 (RLA-206); M.C.I. c. Ecuador, ¶ 55 (RLA-207); SAUR c. Argentina, ¶ 173
(RLA-212); Vivendi c. Argentina (II), ¶ 117 (RLA-247).
130
    Azurix c. Argentina, ¶ 68 (RLA-208); Enron c. Argentina (Anulación), ¶ 69 (RLA-216); SGS c. Paraguay, ¶ 114; Total
c. Argentina, ¶ 242 (RLA-196); OI European c. Venezuela, ¶ 183 (CLA-267).

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           el Comité tendrá que establecer si la decisión del Tribunal de aceptar o rechazar la jurisdicción
           constituye una extralimitación manifiesta 131. Todo ello, en el marco del análisis ilustrado en el
           ¶ 116 supra.
122.       A este respecto cabe precisar que, en aquellos casos en los que la determinación de la jurisdicción
           del Tribunal sea una cuestión sobre la que se puede debatir o diferir, no le compete al Comité
           reemplazar su evaluación por la efectuada por el Tribunal, aun si no estuviera de acuerdo con
           ella 132. De ser así, el Comité actuaría como juez de apelación ignorando el adverbio
           “manifiestamente”.

                                     (2)    La no aplicación del derecho aplicable

123.       La segunda forma de extralimitación de facultades, sobre cuyo alcance las Partes también
           discrepan, consiste en la no aplicación del derecho aplicable. Para la República, un laudo es
           anulable si el tribunal no aplica el derecho acordado por las partes o funda el laudo en un derecho
           distinto al derecho aplicable. Esto requiere que el comité determine si hubo una aplicación
           efectiva de las normas aplicables, no siendo suficiente una evaluación formal, ya que un error de
           derecho grave puede equivaler a una no aplicación del derecho aplicable 133. En cambio, Valores y
           Consorcio niegan que exista un requisito de “aplicación efectiva” y sostienen que es suficiente
           que el tribunal haya realizado los esfuerzos necesarios para aplicar correctamente el derecho
           aplicable, pues su errónea aplicación no constituye causal de anulación 134.
124.       De entrada, el Comité señala que, tal y como lo recuerdan las Demandadas en Anulación, durante
           la redacción del Convenio del CIADI se debatió la posibilidad de que un error de derecho,
           incluyendo la aplicación “manifiestamente incorrecta de la ley” constituyera una causal de
           anulación, pero esta propuesta fue expresamente excluida 135.
125.       Así, la jurisprudencia de los comités de anulación ha sido unánime en afirmar que existe una
           distinción entre la no aplicación del derecho aplicable, que es una causal de anulación de los
           laudos, y su incorrecta o errónea aplicación (error in judicando), que no justifica la anulación,
           sujeto a los casos excepcionales contemplados en el ¶ 127 infra 136. De hecho, la evaluación de la
           correcta aplicación del derecho aplicable es un papel típico de los jueces de apelación, mientras,




131
      Duke c. Perú, ¶ 99 (CLA-261); SAUR c. Argentina, ¶¶ 171-173 (RLA-212).
132
   Azurix c. Argentina, ¶ 67 (RLA-208); Rumeli c. Kazajistán, ¶ 96 (RLA-237); Enron c. Argentina (Anulación), ¶ 69
(RLA-216); Duke c. Perú, ¶ 99 (CLA-261); SGS c. Paraguay, ¶¶ 118-119.
133
      Véanse ¶¶ 95-96 supra.
134
      Véase ¶ 103 supra.
135
   Documento de antecedentes, ¶¶ 15, 21 (RLA-173); Centro Internacional de Arreglo de Diferencias Relativas a
Inversiones, History of the ICSID Convention, Volumen II-1, 1968, pág. 518 (CLA-270); Centro Internacional de Arreglo
de Diferencias Relativas a Inversiones, History of the ICSID Convention, Volumen IV, 1969, págs. 482, 485.
136
   Véanse, entre otros, Amco c. Indonesia (Anulación I), ¶ 23 (RLA-245); MINE c. Guinea, ¶ 5.04 (RLA-213); OI
European c. Venezuela, ¶ 231 (CLA-267); Tenaris c. Venezuela (II), ¶ 69 (CMTLA-1).

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           como se ha visto 137, el rol de los comités ad hoc bajo el Convenio del CIADI es más limitado 138.
126.       Así las cosas, el Comité se ceñirá a determinar si el Tribunal aplicó el derecho acordado por las
           Partes según lo establecido en el Artículo 42(1) del Convenio del CIADI 139, pero no anulará el Laudo
           “cuando más de una interpretación o enfoque para concluir cuál debería ser el derecho aplicable
           sea posible” 140 o si, una vez identificado el derecho aplicable, tiene una opinión distinta acerca de
           su interpretación y aplicación 141.
127.       Dicho esto, el Comité coincide con la jurisprudencia citada por la Demandante en Anulación, en
           que, en casos excepcionales, la aplicación errónea del derecho aplicable puede conllevar la
           anulación de un laudo si es de tal gravedad o magnitud que equivale a una no aplicación del
           derecho acordado por las partes 142. Sin embargo, el umbral para que se dé una circunstancia de
           esta naturaleza es muy elevado, pues, de no ser así, se desdibujaría la distinción entre el proceso
           de anulación, previsto por el Convenio del CIADI, y un proceso de apelación, que está
           expresamente prohibido por el Artículo 53(1) del Convenio del CIADI 143.

           C.       EL QUEBRANTAMIENTO GRAVE DE UNA           NORMA FUNDAMENTAL DE PROCEDIMIENTO          (ARTÍCULO
                    52(1)(D) DEL CONVENIO DEL CIADI)

128.       Venezuela invoca el quebrantamiento grave de una norma fundamental de procedimiento
           conforme al Artículo 52(1)(d) del Convenio del CIADI en relación con la decisión del Tribunal sobre:
           (i) la jurisdicción respecto del reclamo por expropiación; (ii) el test de nacionalidad respecto a la
           cuarta objeción jurisdiccional; (iii) el tratamiento de la prueba con relación a la Comisión de
           Enlace; (iv) los daños; y (v) la atribución de costos.

                    1.       Argumentos de Venezuela

129.       La Demandante en Anulación aduce que la causal de anulación prevista por el Artículo 52(1)(d)
           del Convenio del CIADI se da cuando se cumplen dos requisitos: (i) existe un quebrantamiento de
           una norma de procedimiento y (ii) ese quebrantamiento califica como grave. Además, si bien la

137
      Véase ¶ 119 supra.
138
   Documento de antecedentes, ¶ 90 (RLA-173). En particular, véanse, entre otros antecedentes, Amco c. Indonesia
(Anulación I), ¶ 23 (RLA-245); Soufraki c. EAU, ¶ 85 (RLA-205); Total c. Argentina, ¶ 180 (RLA-196).
139
    El Artículo 42(1) del Convenio del CIADI prevé: “El Tribunal decidirá la diferencia de acuerdo con las normas de
derecho acordadas por las partes. A falta de acuerdo, el Tribunal aplicará la legislación del Estado que sea parte en
la diferencia, incluyendo sus normas de derecho internacional privado, y aquellas normas de derecho internacional
que pudieren ser aplicables”.
140
      Total c. Argentina, ¶ 184 (RLA-196).
141
      TECO c. Guatemala, ¶ 78 (RLA-197).
142
   Amco c. Indonesia (Anulación II), ¶¶ 7.19, 7.28 (RLA-220); Soufraki c. EAU, ¶ 86 (RLA-205); AES c. Hungría, ¶ 33
(RLA-192); Libananco c. Turquía, ¶ 97 (RLA-233); Malicorp c. Egipto, ¶ 49 (RLA-227); Impregilo c. Argentina, ¶ 132
(RLA-226); Caratube c. Kazajistán, ¶ 81 (RLA-202); Iberdrola c. Guatemala (I), ¶ 97 (RLA-223); Occidental c. Ecuador,
¶ 56 (RLA-194); Dogan c. Turkmenistán, ¶¶ 105-108 (RLA-246); Micula c. Rumania, ¶ 130 (RLA-235); Teinver c.
Argentina, ¶ 60. Ver también, Documento de antecedentes, ¶ 94 (RLA-173).
  AES c. Hungría, ¶ 33 (RLA-192); Caratube c. Kazajistán, ¶ 81 (RLA-202); Occidental c. Ecuador, ¶ 56 (RLA-194);
143

Micula c. Rumania, ¶ 130 (RLA-235).

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           versión en castellano del Convenio del CIADI no lo indica, las versiones francesa e inglesa del
           Convenio requieren que la norma de procedimiento infringida sea “fundamental”; este requisito
           adicional ha sido adoptado por la jurisprudencia de los comités de anulación del CIADI 144.
130.       Según la República, los trabajos preparatorios del Convenio del CIADI sugieren que el adjetivo
           “fundamental” se refiere al carácter de las normas de procedimiento violadas. Además, la
           jurisprudencia del CIADI califica como normas fundamentales del proceso a los principios
           generales del derecho y a los estándares mínimos que deben respetarse en los procedimientos
           internacionales 145.
131.       Por otro lado, el requisito de la gravedad se relaciona con el quebrantamiento de una norma de
           procedimiento fundamental. Para Venezuela, la evaluación de la gravedad del quebrantamiento
           debe llevarse a cabo caso por caso, tal y como lo destaca la Secretaría General del CIADI en el
           Documento de antecedentes 146. Ahora bien, el adjetivo “grave” no debe ser interpretado en el
           sentido de que la parte que solicita la anulación debe probar que el quebrantamiento ha
           conducido a un resultado distinto del que hubiera correspondido en ausencia del vicio, ni que fue
           decisivo en el resultado de la disputa, sino que es suficiente que se pruebe que el
           quebrantamiento tiene un “potencial efecto material” sobre el Laudo y que el resultado podría
           haber sido diferente 147.
132.       En su Réplica de Anulación, Venezuela destacó que este último aspecto es esencialmente el único
           desacuerdo entre las Partes acerca del estándar aplicable a esta causal de anulación. En concreto,
           la República alega que, al argumentar que el quebrantamiento debe tener un “impacto material”
           sobre el resultado del laudo, Valores y Consorcio tratan de restringir sumamente el alcance de la
           causal de anulación en cuestión. Para Venezuela, además de no desarrollar su argumentación y
           no citar autoridades legales, la lectura abogada por las Demandadas en Anulación obligaría al
           solicitante a efectuar un ejercicio especulativo, vaciando de contenido la causal de anulación bajo
           examen y privándola de effet utile 148.
133.       Venezuela añade que, en cualquier caso, incluso si el Comité considerara que el solicitante en
           anulación debe acreditar una afectación material del Laudo, este requisito habría sido cumplido
           en este caso pues es evidente que, si el Tribunal no hubiese infringido la normas de procedimiento
           fundamentales que quebrantó, sus conclusiones habrían sido distintas 149.
134.       Si resultan probados los requisitos antes analizados, los comités tienen la obligación de anular el
           laudo que quebranta gravemente una norma fundamental de procedimiento, sin gozar de


144
      MdA, ¶ 62.
145
      MdA, ¶¶ 63-66; Réplica de Anulación, ¶ 48; Tr. Día 1, 46:11-19.
146
      Documento de antecedentes, ¶ 99 (RLA-173).
147
    MdA, ¶¶ 67-73; Réplica de Anulación, ¶¶ 53-55; Tr. Día 1, 47:1-22, 51:4-15, citando Continental Casualty c.
Argentina, ¶ 268 (RLA-230); Pey Casado c. Chile (Anulación I), ¶ 80 (RLA-201); Malicorp c. Egipto, ¶ 37 (RLA-227);
Kilic c. Turkmenistán, ¶ 70 (RLA-228); Occidental c. Ecuador, ¶ 62 (RLA-194); Tulip c. Turquía, ¶ 78 (RLA-229); TECO
c. Guatemala, ¶ 193 (RLA-197).
148
      Réplica de Anulación, ¶¶ 48-52. Véase también MdA, ¶ 71.
149
      Réplica de Anulación, ¶ 55.

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           discrecionalidad al respecto 150.

                    2.       Argumentos de Valores y Consorcio

135.       Valores y Consorcio coinciden con Venezuela en que esta causal de anulación requiere que los
           árbitros hayan quebrantado una norma fundamental de procedimiento y que el quebrantamiento
           haya sido grave. Tampoco cuestionan la interpretación de los conceptos de “quebrantamiento” y
           de “norma fundamental” que ofrece la República. No obstante, rechazan la descripción que hace
           Venezuela de lo que se entiende por quebrantamiento “grave” 151.
136.       Según Valores y Consorcio, no es suficiente que Venezuela pruebe que la violación de una norma
           fundamental de procedimiento por parte del Tribunal haya producido un impacto potencial sobre
           el Laudo, sino que se debe demostrar la existencia de un “impacto material actual” 152.
137.       Las Demandadas en Anulación alegan que no es su postura la que vacía de contenido al Artículo
           52(1)(d) del Convenio del CIADI, sino la de Venezuela. Para ellas, el término “grave” significa “de
           mucha entidad o importancia”, por lo que una violación de una norma de procedimiento alcanza
           el estándar de gravedad solo si tiene un “impacto material actual” en el Laudo. Como respaldo de
           esta tesis, Valores y Consorcio citan varias decisiones de comités ad hoc, entre ellas la del caso OI
           European c. Venezuela 153, en el que – afirman – la República planteó un argumento similar al del
           presente caso y este fue rechazado 154.
138.       Como conclusión, las Demandadas en Anulación afirman que Venezuela no ha probado el
           quebrantamiento de ninguna norma procedimental y, menos aún, un quebrantamiento grave que
           habría alterado el resultado plasmado en el Laudo 155.

                    3.       Análisis del Comité

139.       La segunda causal de anulación invocada por Venezuela está prevista por el Artículo 52(1)(d) del
           Convenio del CIADI, el cual establece:
                    (1) Cualquiera de las partes podrá solicitar la anulación del laudo mediante escrito dirigido al
                    Secretario General fundado en una o más de las siguientes causas: […]
                    (d) que hubiere quebrantamiento grave de una norma de procedimiento.

140.       De entrada, el Comité observa que hay acuerdo entre las Partes en que esta causal de anulación
           requiere la demostración de dos requisitos: el quebrantamiento de una norma fundamental de
           procedimiento y la gravedad del quebrantamiento 156. El Comité coincide con las Partes en este


150
      MdA, ¶ 74; Réplica de Anulación, ¶ 54; Tr. Día 1, 47:22-48:6.
151
      MdC de Anulación, ¶¶ 46-47; Dúplica de Anulación, ¶ 22.
152
      MdC de Anulación, ¶ 48; Dúplica de Anulación, ¶ 24; Tr. Día 1, 143:7-144:18.
153
      Dúplica de Anulación, ¶ 24; OI European c. Venezuela, ¶ 248 (CLA-267).
154
      MdC de Anulación, ¶ 48; Dúplica de Anulación, ¶¶ 23-25.
155
      Dúplica de Anulación, ¶ 26; Tr. Día 1, 144:18-145:1.
156
      Véanse ¶¶ 129, 135 supra.

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           punto 157.
141.       En cuanto al primer requisito, la República señala 158, sin que Valores y Consorcio lo cuestionen 159,
           que aunque en la versión en castellano del Convenio CIADI no aparece el término “fundamental”,
           este adjetivo debe considerarse implícito, puesto que aparece en las versiones francesa e inglesa
           (que hablan respectivamente de “règle fondamentale de procédure” y “fundamental rule of
           procedure”). Dado que los tres textos del Convenio del CIADI son igualmente auténticos 160, el
           Comité está de acuerdo en que – a la luz del Artículo 33(4) de la Convención de Viena 161 – el
           adjetivo “fundamental” debe considerarse incorporado en la versión castellana del Convenio 162,
           dado el carácter excepcional del procedimiento de anulación.
142.       Las Partes también coinciden en la identificación de las normas fundamentales de procedimiento,
           que son los principios generales del derecho y los estándares mínimos de procedimiento que
           deben ser respetados en los procesos internacionales 163. La jurisprudencia de los comités de
           anulación ha precisado que estas reglas fundamentales se relacionan con el debido proceso y la
           integridad de los procedimientos arbitrales, contándose entre ellas las siguientes: el trato
           equitativo de las partes, el derecho de cada parte a ser oída y a presentar sus demandas y
           defensas, la imparcialidad e independencia del tribunal, el correcto tratamiento de la evidencia y
           la correcta atribución de la carga de la prueba, y las deliberaciones entre los miembros del
           tribunal 164.
143.       La disputa entre las Partes se ciñe, por lo tanto, al requisito de la gravedad del quebrantamiento
           de la norma fundamental de procedimiento. Si bien no está debatido que el quebrantamiento
           depende de los hechos del caso concreto e impone al Comité examinar cómo el Tribunal condujo
           el Arbitraje Subyacente 165, las Partes discrepan sobre el significado del adjetivo “grave”. Mientras
           Venezuela afirma que es suficiente que el quebrantamiento haya tenido un “potencial efecto
           material” sobre el Laudo 166, Valores y Consorcio sostienen que solo puede anularse el Laudo si el


157
      Véase Documento de antecedentes, ¶ 99 (RLA-173).
158
      MdA, ¶¶ 62-63.
159
      MdC de Anulación, ¶ 47.
160
   Luego del articulado, el Convenio del CIADI reza lo siguiente: “HECHO en Washington, en los idiomas español,
francés e inglés, cuyos tres textos son igualmente auténticos […]”.
161
    El Artículo 33(4) de la Convención de Viena prevé: “Salvo en el caso en que prevalezca un texto determinado
conforme a lo previsto en el párrafo 1, cuando la comparación de los textos auténticos revele una diferencia de
sentido que no pueda resolverse con la aplicación de los artículos 31 y 39, se adoptará el sentido que mejor concilie
esos textos, habida cuenta del objeto y fin del tratado”. Como dicho, en el caso del Convenio del CIADI, ninguno de
los tres textos prevalece sobre los demás.
162
    En este sentido, véanse Repsol c. Ecuador, ¶ 81 (RLA-222); Iberdrola c. Guatemala (I), ¶ 103 (RLA-223); Venoklim
c. Venezuela (I), ¶ 211 (RLA-217).
163
      Véanse ¶¶ 130, 135 supra.
164
   Documento de antecedentes, ¶ 99 (RLA-173). Véanse también, entre otros, Pey Casado c. Chile (Anulación I), ¶
73 (RLA-201); Total c. Argentina, ¶¶ 309, 314 (RLA-196); Venoklim c. Venezuela (I), ¶ 213 (RLA-217).
165
      Documento de antecedentes, ¶ 100 (RLA-173).
166
      Véanse ¶¶ 131-132 supra.

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           quebrantamiento tuvo un “impacto material actual” sobre el resultado de la controversia 167.
144.       El Comité empieza observando que la jurisprudencia está dividida al respecto. Algunos comités
           han requerido la prueba de un impacto actual 168. Esta jurisprudencia suele basarse en la decisión
           de anulación del caso Wena c. Egipto, en la que se afirmó que el quebrantamiento de una norma
           fundamental de procedimiento “must have caused the Tribunal to reach a result substantially
           different from what it would have awarded had such a rule been observed” 169. Sin embargo, el
           Comité nota que, tal y como fue resaltado en Pey Casado c. Chile 170, a pesar de esta afirmación,
           Wena aplicó el estándar del impacto potencial, pues concluyó que la parte que había solicitado la
           anulación no había probado “the impact that this issue may have had on the Award” 171.
145.       El Comité considera que el planteamiento efectivamente adoptado en Wena, que valora la
           existencia de un efecto potencial sobre el laudo, es el correcto. De hecho, sería excesivo imponer
           a la parte que solicita la anulación de un laudo que demuestre que los árbitros habrían llegado a
           un resultado materialmente distinto en ausencia del alegado quebrantamiento. Aún más oneroso
           sería obligar a la parte solicitante a demostrar que, en dichas circunstancias, habría ganado el
           caso. Si este fuera el significado del adjetivo “grave”, la parte solicitante debería desarrollar un
           razonamiento no solo contrafáctico, sino – dependiendo de la norma de procedimiento violada y
           del tipo de violación – potencialmente muy especulativo, hasta llegar a ser de casi imposible
           demostración 172.
146.       Por ejemplo, si hubiese un quebrantamiento meramente parcial del derecho de la parte
           solicitante a ser oída sobre un hecho o un argumento potencialmente relevante, a esta le sería
           excesivamente difícil demostrar con cierto grado de certidumbre cómo el respeto pleno de tal
           derecho habría podido influir en la deliberación entre los árbitros y en el consiguiente
           razonamiento cristalizado en el laudo (que no necesariamente recoge todas las dinámicas y los
           matices de la deliberación). Esta dificultad incluso podría tornarse en imposibilidad si el supuesto
           quebrantamiento incumbiera a un aspecto de la decisión para llegar al cual los árbitros tuvieron
           que considerar y ponderar múltiples elementos o factores, circunstancia que no es infrecuente
           en las disputas de inversión complejas.
147.       Esta dificultad ha sido expresada claramente por el comité en el caso Tulip c. Turquía, que dijo:
                    To require an applicant to prove that the award would actually have been different, had the rule
                    of procedure been observed, may impose an unrealistically high burden of proof. Where a complex


167
      Véanse ¶¶ 136-137 supra.
  Véanse, entre otros, Impregilo c. Argentina, ¶ 164 (RLA-226); El Paso c. Argentina, ¶ 269 (RLA-203); Micula c.
168

Rumania, ¶ 134 (RLA-235).
169
   Wena c. Egipto, ¶ 58 (CLA-109), citado por CDC c. Seychelles, ¶ 49 (RLA-198); Repsol c. Ecuador, ¶ 81 (RLA-222);
Enron c. Argentina (Anulación), ¶ 71 (RLA-216); Azurix c. Argentina, ¶ 51 (RLA-208); Continental Casualty c.
Argentina, ¶ 96 (RLA-230); Dogan c. Turkmenistán, ¶ 208 (RLA-246); SAUR c. Argentina, ¶ 183 (RLA-212).
170
   Pey Casado c. Chile (Anulación I), ¶ 78 (RLA-201). Véanse también TECO c. Guatemala, ¶¶ 83-85 (RLA-197); Vivendi
c. Argentina (II), ¶ 129 (RLA-247); CEAC c. Montenegro, ¶ 93.
171
      Wena c. Egipto, ¶ 61 (CLA-109) (énfasis añadido).
  Tulip c. Turquía, ¶ 78 (RLA-229); TECO c. Guatemala, ¶ 85 (RLA-197); Vivendi c. Argentina (II), ¶ 131 (RLA-247);
172

CEAC c. Montenegro, ¶ 93; Perenco c. Ecuador, ¶ 133.

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                     decision depends on a number of factors, it is almost impossible to prove with certainty whether
                     the change of one parameter would have altered the outcome 173.

148.        La misma complejidad (o imposibilidad) de determinar el efecto concreto o el “impacto material
            actual” 174 sobre el laudo aplica si la norma fundamental de procedimiento violada no es el
            derecho a ser oído, como en el ejemplo anterior, sino cualquiera de las reglas indicadas en el
            ¶ 142 supra.
149.        Habiendo concluido que el término “grave” no requiere la demostración de que, en ausencia del
            alegado quebrantamiento, el tribunal hubiera llegado a un resultado materialmente distinto o
            que la parte solicitante hubiera ganado el caso, queda abierta la cuestión del significado de ese
            término.
150.        Preliminarmente, el Comité considera que, al igual que el adverbio “manifiestamente” del Artículo
            52(1)(b) del Convenio del CIADI, también el adjetivo “grave” eleva el umbral para anular un laudo
            CIADI con base en el Artículo 52(1)(d) 175. Esto sin perjuicio de que ese umbral no se eleva, como
            se ha dicho antes, hasta el deber de demostrar un impacto material actual sobre el resultado de
            la controversia.
151.        El Comité encuentra que el requisito de la gravedad tiene una doble implicación. Por un lado,
            requiere que la parte que solicita la anulación demuestre que la observancia de la regla
            quebrantada tenía el potencial de conducir al tribunal a un resultado sustancialmente distinto al
            que llegó en el laudo 176. Por otro lado, el adjetivo “grave” indica que, para justificar la anulación
            de un laudo, el quebrantamiento no debe ser de minimis o, en otras palabras, debe ser sustancial.
            Esto significa, según jurisprudencia consolidada, que la parte que invoca el quebrantamiento debe
            demostrar que ha sido privada “of the benefit or protection which the rule was intended to
            provide” 177.
152.        Finalmente, la República sostiene que, una vez comprobado el quebrantamiento grave de una
            norma fundamental de procedimiento, el Comité no goza de discrecionalidad alguna, sino que
            está obligado a anular el Laudo 178. Valores y Consorcio no parecen cuestionar este punto. El
            Comité coincide con la postura de Venezuela, sujeto a las consideraciones expuestas a
            continuación. A criterio del Comité, su discrecionalidad ya está englobada en la evaluación de los


173
      Tulip c. Turquía, ¶ 78 (RLA-229).
174
      Esta es la expresión utilizada por las Demandadas en Anulación (Dúplica de Anulación, ¶ 24).
175
      Véase ¶ 110 supra.
176
   Pey Casado c. Chile (Anulación I), ¶ 78 (RLA-201); Caratube c. Kazajistán, ¶ 99 (RLA-202); Iberdrola c.
Guatemala (I), ¶ 104 (RLA-223); Tulip c. Turquía, ¶ 78 (RLA-229); TECO c. Guatemala, ¶ 85 (RLA-197); Vivendi c.
Argentina (II), ¶¶ 129-131 (RLA-247); Venoklim c. Venezuela (I), ¶ 212 (RLA-217); CEAC c. Montenegro, ¶ 93; Eiser c.
España, ¶ 252; Perenco c. Ecuador, ¶ 133.
177
   Véanse, entre otros, MINE c. Guinea, ¶ 5.05 (RLA-213); Wena c. Egipto, ¶ 58 (CLA-109); Enron c. Argentina
(Anulación), ¶ 71 (RLA-216); Continental Casualty c. Argentina, ¶ 96 (RLA-230); Alapli c. Turquía, ¶ 131 (RLA-231);
Daimler c. Argentina, ¶ 263 (RLA-200); Iberdrola c. Guatemala (I), ¶ 104 (RLA-223); Tulip c. Turquía, ¶ 78 (RLA-229);
Micula c. Rumania, ¶ 132 (RLA-235); TECO c. Guatemala, ¶ 82 (RLA-197); SAUR c. Argentina, ¶ 183 (RLA-212);
Venoklim c. Venezuela (I), ¶ 212 (RLA-217); OI European c. Venezuela, ¶ 247 (CLA-267); Perenco c. Ecuador, ¶ 133.
178
      Véase ¶ 134 supra.

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            dos requisitos del carácter “fundamental” de la norma de procedimiento quebrantada y de que
            el quebrantamiento fue “grave” 179, según el significado atribuido a estos dos adjetivos en los
            párrafos anteriores 180. Así las cosas, el Laudo deberá ser anulado al amparo del Artículo 52(1)(d)
            si el Comité determina que (i) el Tribunal violó una regla relacionada con el debido proceso y la
            integridad de los procedimientos arbitrales, y, además, que (ii) esa violación privó en concreto a
            Venezuela del beneficio que la norma violada estaba destinada a proteger y, (iii) que ello tuvo el
            potencial de conducir el Tribunal a un resultado sustancialmente distinto al que llegó en el Laudo.

            D.       LA FALTA DE EXPRESIÓN DE MOTIVOS (ARTÍCULO 52(1)(E) DEL CONVENIO DEL CIADI)

153.        Venezuela invoca la falta de expresión de motivos conforme al Artículo 52(1)(e) del Convenio del
            CIADI en relación con la decisión del Tribunal sobre: (i) el test de nacionalidad respecto a la cuarta
            objeción jurisdiccional, (ii) la condena relativa al Decreto No. 7.394, (iii) el tratamiento de la
            prueba en relación a la Comisión de Enlace, (iv) los daños y (v) la atribución de costos.

                     1.       Argumentos de Venezuela

154.        Venezuela empieza su argumentación sobre la falta de expresión de motivos en el Laudo alegando
            que esta causal de anulación – contenida en el Artículo 52(1)(e) del Convenio del CIADI – no puede
            entenderse separadamente del Artículo 48(3) del mismo Convenio, que prevé: “[e]l laudo
            contendrá declaración sobre todas las pretensiones sometidas por las partes al Tribunal y será
            motivado”. De una lectura combinada de estas normas se desprende que la motivación es un
            requisito esencial de los laudos CIADI y que los tribunales tienen la obligación de motivar sus
            decisiones. Así las cosas, la ausencia de motivación, que, para la República, consiste en la
            “ausencia de ‘un razonamiento coherente y adecuado’”, invalida el laudo 181.
155.        Según Venezuela, la ratio de las normas mencionadas es permitir a las partes comprender las
            decisiones de los tribunales, asegurando así su derecho de defensa y el debido proceso, y
            protegiéndolas de decisiones arbitrarias. Además, como observó el comité de anulación en
            Tidewater c. Venezuela 182, la necesidad de motivar los laudos es una condición necesaria de su
            validez a la que ni siquiera las partes pueden renunciar. Esto se debe a que el papel de los
            tribunales CIADI es determinar la licitud o ilicitud de actos de Estados soberanos y a que entre los
            potenciales lectores de sus laudos se encuentra la población del Estado demandado 183.
156.        La República sostiene que la obligación de expresar motivos incumbe a todas las secciones de los
            laudos, independientemente de si incumben a cuestiones de jurisdicción, fondo, daños o costos.
            Además, asevera que – contrariamente a lo que alegan las Demandadas en Anulación – es
            irrelevante el grado de importancia de la “cuestión” acerca de la cual el tribunal no ha expresado

179
      Véase ¶ 140 supra.
180
   Véanse CDC c. Seychelles, ¶ 49, nota al pie 71 (RLA-198); Pey Casado c. Chile (Anulación I), ¶¶ 79-80 (RLA-201);
Eiser c. España, ¶ 254.
181
      MdA, ¶¶ 75-78.
182
      Tidewater c. Venezuela, ¶¶ 163-165 (RLA-232).
183
      MdA, ¶¶ 78-81; Tr. Día 1, 48:7-12; Tr. Día 2, 275:7-11.

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           los motivos. Esto se deprende del texto del Artículo 52(1)(e), que no restringe de ninguna forma
           la obligación de los árbitros de expresar motivos, pues – contrariamente a lo que ocurre con otras
           causales de anulación – no requiere que la falta de motivos sea ni “grave”, ni “manifiesta”. Esto
           significa que la interpretación restrictiva propuesta por Valores y Consorcio no puede prosperar
           y que los comités no tienen más opción que anular los laudos si estos carecen de motivación. En
           todo caso, Venezuela afirma que esta discusión no tiene relevancia práctica, dado que las
           instancias de falta de motivación invocadas en el presente procedimiento se relacionan con
           “cuestiones” sumamente centrales e importantes para la controversia bajo examen, que van
           desde la determinación de la jurisdicción y la violación del APPRI a los daños y costos del
           arbitraje 184.
157.       Venezuela también discrepa de lo sostenido por las Demandadas en Anulación en lo que se refiere
           a la extensión de la obligación de los árbitros de motivar sus decisiones. Para la República, esta
           obligación abarca todos los “argumentos” y las “pretensiones” de las partes, mientras que Valores
           y Consorcio no explican cuáles serían los argumentos sobre los que un tribunal debe indicar los
           motivos de su decisión y los que no necesitan motivación. Venezuela también sostiene que las
           Demandadas en Anulación descontextualizan la opinión del Profesor Schreuer, que solamente
           dice que los tribunales no están obligados a analizar los “argumentos irrelevantes” 185. Ahora bien,
           en el presente caso, los argumentos sobre los que el Tribunal no expresó motivos son
           trascendentes para la resolución de la disputa. Además, como destacaron los comités de TECO c.
           Guatemala y Vivendi c. Argentina (II) 186, los árbitros también tienen el deber de analizar las
           pruebas aportadas que son relevantes (tanto desde un punto de vista objetivo como subjetivo) y
           de explicar el razonamiento que les llevó a concluir que las demás pruebas no lo son 187.
158.       Venezuela añade que, si bien se puede dar una falta completa de expresión de motivos, este es
           un escenario muy improbable. Por ende, si ese escenario fuera el único capaz de llevar a la
           anulación de un laudo CIADI, se privaría a esta causal de anulación de efecto útil, tal y como lo
           reconoció el comité de Sempra c. Argentina 188. Por lo tanto, lo que debe probar la parte que
           solicita la anulación de un laudo es que el razonamiento, en algún punto esencial, (i) ha estado
           ausente, (ii) ha sido insuficiente o inadecuado, o (iii) ha sido contradictorio 189.
159.       En cuanto al razonamiento ausente, Venezuela sostiene que no es necesario probar una ausencia
           total del razonamiento 190.
160.       En lo que hace a las motivaciones insuficientes o inadecuadas, la República expone que son
           aquellas que no conducen lógicamente a la conclusión adoptada. Así, cuando no es posible


184
      MdA, ¶¶ 83-84; Réplica de Anulación, ¶¶ 57-60; Tr. Día 2, 270:2-271:9.
  Réplica de Anulación, ¶ 63, citando a C. SCHREUER, L. MALINTOPPI, A. REINISCH Y A. SINCLAIR, The ICSID Convention: A
185

Commentary, 2da Ed., 2009, págs. 1018-1019, ¶ 419 (CLA-250).
186
      TECO c. Guatemala, ¶ 131 (RLA-197); Vivendi c. Argentina (II), ¶ 163 (RLA-247).
187
      MdA, ¶ 82; Réplica de Anulación, ¶¶ 61-67; Tr. Día 1, 48:16-49:3, 51:16-21.
188
      Sempra c. Argentina, ¶ 167 (RLA-190).
189
      MdA, ¶¶ 86-88.
190
      MdA, ¶ 88.

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           entender la lógica que los árbitros adoptan para llegar de un punto A a un punto B (las premisas
           del razonamiento) y de allí al punto C (las conclusiones) se da un caso de ausencia de motivos
           tanto como si no se hubiera expresado ninguna razón. Esto significa que no es suficiente una mera
           expresión de los motivos por parte del tribunal, sino que es necesario que estos motivos estén
           expresados de manera coherente y adecuada. En concreto, para la República, el requisito de la
           adecuación debe entenderse en el sentido de que las razones proporcionadas deben ser
           “argumentativamente adecuadas”, aunque no sean “jurídicamente adecuadas” 191.
161.       Por último, Venezuela describe como motivos contradictorios los que se encuentran en oposición
           entre sí y se cancelan mutuamente. Dado que en esas circunstancias no sería posible entender el
           razonamiento del tribunal, el supuesto de motivación contradictoria equivale a un caso de
           ausencia de motivos. En otras palabras, el Convenio del CIADI debe leerse en el sentido de que no
           es suficiente expresar cualquier fundamentación de las decisiones, sino que se requieren
           razonamientos congruentes. Tal y como razonó el comité en Tidewater c. Venezuela 192, a falta de
           congruencia, el razonamiento de los árbitros no es comprensible y esto, a su vez, equivale a una
           falta de expresión de motivos 193.
162.       En su Réplica de Anulación, Venezuela añadió que la postura de Valores y Consorcio – según las
           cuales sería suficiente que la motivación se pudiera “seguir de la mano del tribunal y entender
           cómo éste llegó a su conclusión” – es muy poco clara, pues no permite entender si lo que se critica
           es la necesidad de que las motivaciones sean adecuadas o de que no sean contradictorias. En todo
           caso, la República señala que la jurisprudencia y el Documento de antecedentes indican que tanto
           los razonamientos inadecuados como los contradictorios equivalen a una falta de expresión de
           motivos. Con base en esto y en la decisión de anulación del caso Venoklim c. Venezuela (I) 194, la
           República insiste en que no es posible validar laudos con motivaciones frívolas y tergiversadas o
           que contienen una “antinomia de razonamientos” 195.
163.       Finalmente, Venezuela señala que la mera mención de los elementos en debate no es suficiente
           para cumplir con el deber de motivación de los laudos, sino que se debe investigar si ha habido
           un uso efectivo y lógicamente consistente de esos elementos por parte del tribunal. No es tarea
           de los comités de anulación suplir la ausencia de motivos o los motivos expresados de manera
           contradictoria o insuficiente. Por consiguiente, en estas circunstancias, el Comité solo puede
           anular el Laudo 196.

                    2.       Argumentos de Valores y Consorcio

164.       Las Demandadas en Anulación califican la causal de anulación del Artículo 52(1)(e) del Convenio

191
   MdA, ¶¶ 92-99; Réplica de Anulación, ¶¶ 69, 72; Tr. Día 1, 49:4-21; Tr. Día 2, 271:4-275:21, citando, entre otros
casos, MINE c. Guinea, ¶ 5.09 (RLA-213).
192
      Tidewater c. Venezuela, ¶ 195 (RLA-232).
193
      MdA, ¶¶ 89-91, 100; Tr. Día 1, 49:21-50:8, 51:16-52:4; Tr. Día 2, 271:4-275:21.
194
      Venoklim c. Venezuela (I), ¶ 225 (RLA-217).
195
      Réplica de Anulación, ¶¶ 68-70, 75-76.
196
      MdA, ¶¶ 101-103.

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           del CIADI como un “estándar […] alto”, que no permite a un comité cuestionar los razonamientos
           del tribunal, sino que impone al solicitante la carga de probar que el razonamiento “estaba
           ausente, era incomprensible, contradictorio o frívolo” en una “cuestión que es esencial” 197.
165.       Valores y Consorcio aceptan que la ausencia total de expresión de motivos es causa de anulación
           de un laudo CIADI y que la obligación de motivación aplica a todas las partes operativas de los
           laudos, incluyendo jurisdicción, fondo, daños y costos. Sin embargo, afirman que Venezuela se
           equivoca en tres aspectos 198.
166.       Primero, en cuanto al grado de importancia de las “cuestiones” no motivadas por los árbitros, los
           comités ad hoc han sido casi unánimes en afirmar que la cuestión no motivada debe ser
           “necesaria” y “esencial para el resultado del caso” 199.
167.       Segundo, las Demandadas en Anulación sostienen que es falso que la obligación de los tribunales
           de expresar motivos abarca tanto los argumentos como las pretensiones de las partes. En cambio,
           se debe distinguir entre las “pretensiones”, cuyo tratamiento es obligatorio, y los “argumentos”
           desarrollados por las partes para respaldar sus pretensiones, sobre los que no existe obligación
           de motivar o comentar 200.
168.       Para sustentar esta tesis, Valores y Consorcio hacen referencia al Artículo 48(3) del Convenio del
           CIADI, que prevé que los laudos deben contener una declaración sobre “todas las pretensiones
           sometidas por las partes”. El significado ordinario de “pretensiones” – término al que
           corresponden en las versiones inglesa y francesa del Convenio, respectivamente, “question” y
           “chefs de conclusions” – no es equiparable a todos los argumentos planteados por las partes. Esta
           postura ha sido adoptada también por varios comités y por el Profesor Schreuer 201. Así las cosas,
           el Comité debería concluir que el Tribunal solo tenía la obligación de resolver cada una de las
           pretensiones de las Partes, y que esto es lo que hizo 202.
169.       Tercero, Valores y Consorcio rechazan el argumento de Venezuela según el cual la inadecuación
           de los motivos equivaldría a una falta de motivación. Según ellas, no les compete a los comités
           determinar si las razones expresadas por los árbitros son convincentes o correctas, sino que, en
           palabras del comité del caso Quiborax c. Bolivia, “es suficiente que se pueda seguir de la mano del
           tribunal y cómo éste llegó a su conclusión, ‘aunque cometiera un error de hecho o derecho’” 203.
170.       En su Dúplica de Anulación, Valores y Consorcio añadieron que analizar si el razonamiento del
           tribunal es convincente o correcto permitiría la revisión de la sustancia de los laudos, en violación
           del Artículo 53 del Convenio del CIADI que establece que “[e]l laudo […] no podrá ser objeto de

197
      MdC de Anulación, ¶ 49, citando Total c. Argentina, ¶ 269 (RLA-196).
198
      MdC de Anulación, ¶ 50; Tr. Día 2, 324:11-20.
199
      MdC de Anulación, ¶ 51.
200
      MdC de Anulación, ¶ 52; Dúplica de Anulación, ¶ 27; Tr. Día 1, 145:2-13.
201
   MdC de Anulación, ¶ 52; Dúplica de Anulación, ¶¶ 28-31, citando, entre otros, Enron c. Argentina (Anulación),
¶ 72 (RLA-216); Iberdrola c. Guatemala (I), ¶ 114 (RLA-223); C. SCHREUER, L. MALINTOPPI, A. REINISCH Y A. SINCLAIR, The
ICSID Convention: A Commentary, 2da Ed., 2009, pág. 1018, ¶ 419 (CLA-250).
202
      Dúplica de Anulación, ¶ 32; Tr. Día 2, 327:16-328:8.
203
      MdC de Anulación, ¶ 53, citando Quiborax c. Bolivia, ¶ 117 (CLA-252); Tr. Día 1, 146:1-11.

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           apelación”. Así, la causal de anulación en cuestión sirve para asegurar que un lector
           razonablemente informado entienda el razonamiento del tribunal y, como reconoció el comité en
           OI European c. Venezuela, el objeto de revisión bajo este estándar es limitado y el umbral para la
           anulación, elevado 204. Esto significa que Venezuela debe probar que (i) algún punto específico del
           Laudo carece de motivación y que (ii) esto no permite comprender la decisión del Tribunal 205.
171.       De manera similar, en lo que concierne a los razonamientos contradictorios, la jurisprudencia de
           los comités de anulación ha destacado que estos constituyen circunstancias muy inusuales y que
           la carga de probar una contradicción, que corresponde al solicitante, es onerosa y consiste en
           demostrar que los motivos expresados por los árbitros se cancelan entre sí 206.
172.       Las Demandadas en Anulación concluyen afirmando que la República ha incumplido con su carga
           de probar que el Laudo está inmotivado y que la falta de motivación atañe a un punto específico
           y esencial para la resolución del caso 207.

                    3.       Análisis del Comité

173.       La tercera causal de anulación invocada por Venezuela está prevista en el Artículo 52(1)(e) del
           Convenio del CIADI, el cual establece:
                    (1) Cualquiera de las partes podrá solicitar la anulación del laudo mediante escrito dirigido al
                    Secretario General fundado en una o más de las siguientes causas: […]
                    (e) que no se hubieren expresado en el laudo los motivos en que se funde.

                                        La obligación de motivar los laudos: ratio y requisito mínimo

174.       Preliminarmente, el Comité coincide con las Partes en que la causal de anulación de la falta de
           motivación debe interpretarse conjuntamente con el Artículo 48(3) del Convenio del CIADI, el cual
           establece que un laudo CIADI debe contener una declaración “sobre todas las pretensiones
           sometidas por las partes al Tribunal” y debe ser “motivado” 208. El Comité también está de acuerdo
           con las Partes en que la obligación de expresar motivos incumbe a todas las secciones de un laudo,
           a saber, tanto a cuestiones de jurisdicción y fondo como de daños y costos 209.
175.       La ratio del requisito de la expresión de motivos es que las partes entiendan la decisión de los
           árbitros y sus premisas fácticas y jurídicas, así como su apreciación de la prueba, lo que constituye
           una garantía de transparencia e inteligibilidad para evitar decisiones arbitrarias 210. La obligación
           de motivar los laudos es tan central en el sistema del CIADI que ni siquiera las partes pueden

204
      Dúplica de Anulación, ¶ 33; OI European c. Venezuela, ¶ 320 (CLA-267).
205
      Dúplica de Anulación, ¶¶ 33-34.
206
      Dúplica de Anulación, ¶ 35.
207
      MdC de Anulación, ¶ 54; Dúplica de Anulación, ¶ 36.
  Véanse ¶¶ 154, 168 supra. Véanse también Wena c. Egipto, ¶ 75 (CLA-109); Fraport c. Filipinas (I), ¶ 249 (RLA-
208

191).
209
      Véanse ¶¶ 156, 165 supra. Véase también Tenaris c. Venezuela (II), ¶ 114 (CMTLA-1).
210
     Véanse, entre otros, MINE c. Guinea, ¶ 5.08 (RLA-213); Wena c. Egipto, ¶¶ 79, 81 (CLA-109); Fraport c. Filipinas
(I), ¶¶ 249-250 (RLA-191); Tidewater c. Venezuela, ¶ 163 (RLA-232).

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           renunciar a la misma 211. Esto se debe a que, como destacó el comité en Tidewater c. Venezuela,
           las controversias sometidas a la jurisdicción del CIADI versan sobre actuaciones de los distintos
           poderes estatales (legislativo, ejecutivo y judicial) e implican una renuncia por parte de los Estados
           a sus prerrogativas soberanas a efectos de permitir que los árbitros determinen la legalidad o
           ilegalidad de sus actuaciones. Así las cosas, entender la decisión de los tribunales de arbitraje del
           CIADI es un interés de todos los que forman parte del Estado involucrado en la controversia,
           incluida su población 212.
176.       Por esto, el Comité estima que, tal y como lo destaca la jurisprudencia, la obligación de motivar
           los laudos es un requisito mínimo (“minimum requirement”, según la expresión inglesa que se
           suele utilizar). Esto significa que la función de los comités de anulación debe ceñirse a investigar
           si el laudo permite seguir el razonamiento del tribunal, que, partiendo de premisas fácticas y
           jurídicas, y pasando por eventuales puntos intermedios, llega a una conclusión 213. Para llevar a
           cabo esta investigación, el Comité considera que es necesario adoptar la perspectiva de un lector
           informado, lo que significa que no es necesario para el tribunal detallar todos los argumentos
           planteados por las partes y contextualizar toda la prueba en la que se basa para su decisión 214.
177.       Por lo tanto, no le compete al Comité considerar ni pronunciarse al respecto de si las motivaciones
           proporcionadas por el Tribunal son correctas o persuasivas ni si el razonamiento del Tribunal es
           superficial, deficiente o de otro modo incorrecto. De hacerlo, el Comité se estaría inmiscuyendo
           en el fondo de la controversia y actuaría como un juez de apelación, lo que está prohibido por el
           Artículo 53(1) del Convenio del CIADI 215. Esto ha sido destacado esencialmente por todos los
           comités de anulación 216.


211
      Documento de antecedentes, ¶ 102 (RLA-173).
212
      Tidewater c. Venezuela, ¶¶ 164-165 (RLA-232).
213
    En un pasaje frecuentemente citado de la decisión de anulación en MINE c. Guinea, el comité dijo: “[…] the
requirement that an award has to be motivated implies that it must enable the reader to follow the reasoning of the
Tribunal on points of fact and law. It implies that, and only that. The adequacy of the reasoning is not an appropriate
standard of review under paragraph (l)(e), because it almost inevitably draws an ad hoc Committee into an
examination of the substance of the tribunal's decision, in disregard of the exclusion of the remedy of appeal by
Article 53 of the Convention. A Committee might be tempted to annul an award because that examination disclosed
a manifestly incorrect application of the law, which, however, is not a ground for annulment. In the Committee's
view, the requirement to state reasons is satisfied as long as the award enables one to follow how the tribunal
proceeded from Point A. to Point B. and eventually to its conclusion, even if it made an error of fact or of law. This
minimum requirement is in particular not satisfied by either contradictory or frivolous reasons” (MINE c. Guinea, ¶¶
5.08-5.09 (RLA-213)).
214
    Véanse Amco c. Indonesia (Anulación II), ¶ 7.57 (RLA-220); Impregilo c. Argentina, ¶ 180 (RLA-226); Tulip c.
Turquía, ¶ 98 (RLA-229); SAUR c. Argentina, ¶ 188 (RLA-212); Tidewater c. Venezuela, ¶ 172 (RLA-232); Venoklim c.
Venezuela (I), ¶ 224 (RLA-217); OI European c. Venezuela, ¶ 315 (CLA-267).
215
      Véanse ¶¶ 119, 122, 125, 127 supra.
216
   MINE c. Guinea, ¶ 5.08 (RLA-213); Wena c. Egipto, ¶ 79 (CLA-109); Vivendi c. Argentina (I), ¶ 64 (RLA-204); CDC c.
Seychelles, ¶¶ 70, 72 (RLA-198); Azurix c. Argentina, ¶ 53 (RLA-208); Fraport c. Filipinas (I), ¶ 277 (RLA-191); Duke c.
Perú, ¶ 162 (CLA-261); Lemire c. Ucrania, ¶ 278 (RLA-193); Impregilo c. Argentina, ¶ 181 (RLA-226); SGS c. Paraguay,
¶¶ 138, 142; Alapli c. Turquía, ¶¶ 197, 210 (RLA-231); El Paso c. Argentina, ¶ 217 (RLA-203); Daimler c. Argentina,




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178.       Teniendo en cuenta estas consideraciones, el Comité abordará a continuación los aspectos
           relativos a la interpretación del Artículo 52(1)(e) sobre los que las Partes discrepan.

                                        El alcance de la obligación de motivación y la necesidad de que la
                                        falta de motivación incumba a una cuestión necesaria o esencial
                                        para el resultado del caso

179.       La primera discordancia entre las Partes concierne al alcance de la obligación de los árbitros de
           motivar el laudo. Venezuela alega que la obligación se extiende tanto a las “pretensiones” de las
           partes como a los “argumentos” que ellas realizaron ante el tribunal y sostiene que, a efecto de
           la anulación de un laudo, es irrelevante el grado de importancia de las “cuestiones” no
           motivadas 217. Por su parte, las Demandadas en Anulación aseveran que los árbitros tienen el
           deber de pronunciarse solo sobre las “pretensiones”, pero no sobre los “argumentos” que las
           respaldan, y que únicamente la falta de motivación sobre una “cuestión” necesaria y esencial para
           el resultado del caso puede justificar la anulación 218.
180.       Para comenzar, el Comité hará algunas observaciones acerca de los términos empleados por las
           Partes (“cuestiones”, “argumentos” y “pretensiones”). Aunque ninguno de estos aparece en el
           Artículo 52 del Convenio del CIADI, el Artículo 48 utiliza tanto “cuestiones”, como “pretensiones”.
           En concreto, el Artículo 48(1) establece que “[e]l Tribunal decidirá todas las cuestiones por
           mayoría de votos de todos sus miembros” 219, mientras el Artículo 48(3) prevé que “[e]l laudo
           contendrá declaración sobre todas las pretensiones sometidas por las partes al Tribunal y será
           motivado” 220. En cambio, no aparece la palabra “argumentos”.
181.       Para atribuir un significado a estos términos, el Comité considera oportuno, sobre todo a la luz
           del Artículo 33(4) de la Convención de Viena 221, considerar las versiones inglesa y francesa del
           Convenio del CIADI. Mientras el texto inglés utiliza el término “question” tanto en el párrafo 1
           como en el párrafo 3 del Artículo 48, el texto francés adopta, respectivamente, “question” y “chefs
           de conclusions”. A juicio del Comité, una lectura conjunta de los textos oficiales del Convenio del
           CIADI apunta a que el término “pretensiones” se refiere a los reclamos planteados por las partes 222
           y es distinto y más restringido que “cuestiones”, pese a que la versión inglesa utiliza la misma
           palabra en los Artículos 48(1) y 48(3).


¶ 76 (RLA-200); Kilic c. Turkmenistán, ¶¶ 64, 137 (RLA-228); Occidental c. Ecuador, ¶¶ 64, 66 (RLA-194); Tulip c.
Turquía, ¶¶ 102-104 (RLA-229); Total c. Argentina, ¶¶ 265-267, 271 (RLA-196); EDF c. Argentina, ¶¶ 195-196, 198
(RLA-195); Micula c. Rumania, ¶¶ 135-136 (RLA-235); SAUR c. Argentina, ¶ 190 (RLA-212); Tidewater c. Venezuela,
¶¶ 166-172 (RLA-232); Vivendi c. Argentina (II), ¶ 154 (RLA-247); Quiborax c. Bolivia, ¶ 117 (CLA-252); OI European
c. Venezuela, ¶ 321 (CLA-267); Tenaris c. Venezuela (II), ¶ 110 (CMTLA-1).
217
      Véanse ¶¶ 156-157 supra.
218
      Véanse ¶¶ 166-168 supra.
219
   Énfasis añadido. El mismo término aparece también en la Regla de Arbitraje 47(1)(i): “la decisión del Tribunal
sobre cada cuestión que le haya sido sometida, junto con las razones en que funda su decisión”.
220
      Énfasis añadido.
221
      Véase la nota al pie 161 supra.
222
      Daimler c. Argentina, ¶ 87 (RLA-200).

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182.       Ahora bien, el Comité considera que la referencia a “pretensiones” en el Artículo 48(3) se une a la
           expresión “contendrá declaración”, lo que significa que, en la parte dispositiva del laudo, los
           árbitros deben pronunciarse sobre todos los reclamos de las partes. En cambio, las palabras “y
           será motivado” en la última parte del Artículo 48(3) no se refieren a las pretensiones, sino a la
           necesidad para el tribunal de resolver – y, por ende, motivar – las cuestiones que surgen de los
           argumentos de las partes y que son los puntos lógicamente intermedios que conducen a una
           conclusión sobre la pretensión. Le compete al tribunal distinguir entre aquellas cuestiones
           relevantes e indispensables para poder decidir sobre las pretensiones de la partes y aquellas otras
           que son irrelevantes.
183.       Tal y como han destacado de manera prácticamente unánime los comités de anulación, para que
           la falta de motivación pueda acarrear la anulación de un laudo, debe incumbir a una cuestión
           “necesaria para la decisión del tribunal” 223 o “esencial para el resultado del caso” 224. En cambio,
           no se exige a los tribunales que aborden aquellas cuestiones que surgen de los argumentos de las
           partes que no son necesarias para llegar a la conclusión sobre una pretensión 225.
184.       En opinión del Comité, esta conclusión no se ve afectada por el hecho, destacado por la
           República 226, de que el inciso (e) del Artículo 52(1) no prevé – contrariamente a lo que ocurre con
           los incisos (b) y (d) del mismo Artículo – que la falta de expresión de motivos haya ocurrido
           “manifiestamente” o que sea “grave”. Si bien la presencia de términos calificadores de este tipo
           para las demás causales de anulación denota la voluntad de elevar el umbral para anular los
           laudos 227, este Comité considera que sería excesivo interpretar la ausencia de estos términos en
           el inciso (e) del Artículo 52(1) en el sentido de que cualquier falta de expresión de motivos traería
           aparejada la anulación del Laudo 228.
185.       En resumidas cuentas, el Comité reitera que, para dar lugar a la anulación del Laudo, la alegada
           falta de motivación del Tribunal debe incumbir una cuestión que surja de los argumentos de las
           Partes y resulte necesaria o esencial para decidir sobre las pretensiones.

                                      Las formas de falta de motivación

186.       Otro punto sobre el que discrepan las Partes concierne a dos de las tipologías de falta de


223
   Vivendi c. Argentina (I), ¶ 65 (RLA-204); Lucchetti c. Perú, ¶ 128 (RLA-206); Azurix c. Argentina, ¶ 55 (RLA-208);
Enron c. Argentina (Anulación), ¶ 76 (RLA-216); Pey Casado c. Chile (Anulación I), ¶¶ 83-85 (RLA-201); Libananco c.
Turquía, ¶ 192 (RLA-233); Lemire c. Ucrania, ¶ 279 (RLA-193); Daimler c. Argentina, ¶ 77 (RLA-200); Standard
Chartered c. Tanzania, ¶¶ 606, 611 (CLA-254).
224
   Pey Casado c. Chile (Anulación I), ¶ 86 (RLA-201); Alapli c. Turquía, ¶ 202 (RLA-231); Daimler c. Argentina, ¶ 79
(RLA-200); Dogan c. Turkmenistán, ¶ 263 (RLA-246); Micula c. Rumania, ¶ 139 (RLA-235); SAUR c. Argentina, ¶ 189
(RLA-212); OI European c. Venezuela, ¶ 321 (CLA-267).
225
    Vivendi c. Argentina (I), ¶ 87 (RLA-204); Azurix c. Argentina, ¶ 240 (RLA-208); M.C.I. c. Ecuador, ¶ 67 (RLA-207);
Enron c. Argentina (Anulación), ¶ 72 (RLA-216); Continental Casualty c. Argentina, ¶¶ 98, 229 (RLA-230); Occidental
c. Ecuador, ¶ 67 (RLA-194); EDF c. Argentina, ¶¶ 197-198 (RLA-195); SAUR c. Argentina, ¶ 191 (RLA-212).
226
      Véase ¶ 156 supra.
227
      Véanse ¶¶ 110, 150 supra.
228
      Véase también Tenaris c. Venezuela (II), ¶ 112 (CMTLA-1).

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           motivación que pueden dar lugar a una anulación, a saber, la motivación insuficiente o
           inadecuada y la motivación contradictoria, mientras que no cuestionan el alcance de la ausencia
           completa de motivos. En concreto, en lo que hace a la motivación insuficiente o inadecuada, la
           República sostiene que las motivaciones ofrecidas por el Tribunal deben permitir entender la
           lógica de los árbitros y ser “argumentativamente adecuadas”. En cuanto a la motivación
           contradictoria, para Venezuela esta hipótesis ocurre cuando las motivaciones se cancelan entre
           sí 229. En cambio, Valores y Consorcio sostienen que la inadecuación de los motivos no equivale a
           una falta de motivación y que no le compete al Comité investigar si el razonamiento del Tribunal
           es correcto o convincente, pues de esta forma estaría actuando como juez de apelación. Afirman,
           asimismo, que las hipótesis de motivos contradictorios son muy inusuales y su carga probatoria
           es onerosa 230.

                                      (1)       Ausencia completa de motivación

187.       Venezuela alega que la falta completa de motivación conduciría a la anulación del Laudo y las
           Demandadas en Anulación lo aceptan. El Comité coincide con esta postura. Si bien la falta
           absoluta de motivos es una circunstancia improbable 231, como se ha indicado en la decisión de
           anulación del caso Soufraki c. EAU, ella podría dar lugar a anulación no solo si incumbiera a la
           totalidad de la decisión, sino también a una cuestión particular de la disputa que es necesaria o
           esencial 232.

                                      (2)       Motivaciones contradictorias

188.       También hay concierto entre las Partes en que los motivos contradictorios pueden dar lugar a la
           anulación del Laudo con base en el Artículo 52(1)(e). Sin embargo, parece haber discrepancia
           acerca de cuándo una contradicción conlleva anulación.
189.       A juicio del Comité, existen motivos contradictorios cuando los árbitros ofrecen motivaciones
           antinómicas para su decisión. Tal y como ha sido destacado por amplia jurisprudencia, no todas
           las instancias de contradicción conllevan la anulación del Laudo, sino que ello solo ocurriría
           cuando las motivaciones “completely cancel each other out” 233. De hecho, en ese caso no le sería
           posible al lector entender por qué y cómo el Tribunal llegó a su conclusión, y esto equivale a una

229
      Véanse ¶¶ 158-162 supra.
230
      Véanse ¶¶ 169-171 supra.
231
      Véanse, entre otros, Soufraki c. EAU, ¶ 122 (RLA-205); Tidewater c. Venezuela, ¶ 169 (RLA-232).
232
      Soufraki c. EAU, ¶¶ 122, 126 (RLA-205).
233
   Klöckner c. Camerún, ¶ 116 (RLA-248); Vivendi c. Argentina (I), ¶ 65 (RLA-204); Consortium R.F.C.C. c. Marruecos,
¶ 243; Soufraki c. EAU, ¶ 125 (RLA-205); Azurix c. Argentina, ¶ 364 (RLA-208); Rumeli c. Kazajistán, ¶ 82 (RLA-237);
Togo Electricité c. Togo, ¶ 63; Continental Casualty c. Argentina, ¶ 103 (RLA-230); Malicorp c. Egipto, ¶ 119 (RLA-
227); Lemire c. Ucrania, ¶ 279 (RLA-193); Caratube c. Kazajistán, ¶ 102 (RLA-202); Alapli c. Turquía, ¶ 200 (RLA-231);
El Paso c. Argentina, ¶ 221 (RLA-203); Daimler c. Argentina, ¶ 77 (RLA-200); Occidental c. Ecuador, ¶ 65 (RLA-194);
Total c. Argentina, ¶ 268 (RLA-196); TECO c. Guatemala, ¶¶ 90, 275 (RLA-197); SAUR c. Argentina, ¶¶ 192-193 (RLA-
212); Tidewater c. Venezuela, ¶ 170 (RLA-232); Standard Chartered c. Tanzania, ¶ 610 (CLA-254). Ver también, más
recientemente, Perenco v. Ecuador, donde el comité aclaró que existen motivos contradictorios “when two (or more)
contradictory premises supporting a conclusion cannot stand together and cannot both be true”.

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            falta de motivación. Sin embargo, cabe aclarar que, como para cualquier forma de falta de
            motivos, a fin de que la contradicción pueda conducir a la anulación del Laudo, esa debe atañer a
            una cuestión necesaria o esencial para resolver una pretensión 234. Además, debe preferirse, en la
            medida de lo posible, una interpretación del Laudo que confirme la coherencia de los
            razonamientos del Tribunal, en lugar de una lectura que resalte sus incoherencias 235.
190.        El Comité añade que, a efectos de identificar una contradicción en los términos antes ilustrados,
            es necesario analizar el Laudo en su totalidad, no siendo suficiente un análisis aislado de los
            motivos que la parte solicitante alega se cancelan entre sí 236. Además, no puede soslayarse que,
            como ha destacado el comité en Vivendi c. Argentina (I), las motivaciones pueden ser el resultado
            de “compensar consideraciones conflictivas una con otras” 237, que pueden originarse o bien de la
            necesidad de abordar distintos argumentos planteados por las partes, o bien de las posturas
            mantenidas por los miembros del tribunal en sus deliberaciones que, aunque estén alineadas
            sobre la necesidad de aceptar o rechazar un argumento, tienen matices distintos.
191.        En particular, no puede dar lugar a anulación la contradicción entre la motivación principal y una
            motivación adicional (obiter dictum), puesto que estas están en diferentes niveles de
            razonamiento, lo que hace que se sumen entre sí, sin cancelarse recíprocamente. Esto ocurre
            cuando los árbitros, tras haber aceptado o rechazado una pretensión con base en un
            razonamiento, y aunque no sea indispensable a efectos de cumplir con la obligación de motivar
            un laudo al amparo del Artículo 48(3) del Convenio del CIADI, entablan un razonamiento adicional
            que llega a la misma conclusión que el razonamiento principal 238. Un ejemplo emblemático son
            aquellos razonamientos que empiezan con expresiones tales como “incluso si”, “aun si” o “a
            mayor abundamiento”, que, aunque parecen contradecir el argumento principal, conducen a la
            misma conclusión, tomando generalmente como punto de partida una premisa fáctica o jurídica
            distinta de la que subyace al razonamiento principal 239.

                                       (3)   Motivaciones insuficientes o inadecuadas

192.        La discrepancia más acentuada entre las Partes es si las motivaciones insuficientes o inadecuadas
            pueden dar lugar a anulación: Venezuela sostiene que sí, mientras Valores y Consorcio lo niegan.

234
      Véase ¶ 183 supra.
235
      CDC c. Seychelles, ¶ 81 (RLA-198); TECO c. Guatemala, ¶ 275 (RLA-197); Hydro c. Albania, ¶ 114.
236
      Daimler c. Argentina, ¶ 135 (RLA-200); SAUR c. Argentina, ¶ 216 (RLA-212).
237
   Vivendi c. Argentina (I), ¶ 65 (RLA-204), citado, entre otros, por MTD c. Chile, ¶ 50 (RLA-215); Azurix c. Argentina,
¶¶ 55, 178 (RLA-208); M.C.I. c. Ecuador, ¶ 85 (RLA-207); Rumeli c. Kazajistán, ¶¶ 82, 137 (RLA-237); Enron c.
Argentina (Anulación), ¶ 76 (RLA-216); Fraport c. Filipinas (I), ¶ 274 (RLA-191); Duke c. Perú, ¶ 204 (CLA-261);
Continental Casualty c. Argentina, ¶ 102 (RLA-230); Pey Casado c. Chile (Anulación I), ¶ 83 (RLA-201); Malicorp c.
Egipto, ¶ 43 (RLA-227); Alapli c. Turquía, ¶ 200 (RLA-231); Daimler c. Argentina, ¶ 77 (RLA-200); Iberdrola c.
Guatemala (I), ¶ 122 (RLA-223); Tulip c. Turquía, ¶ 109 (RLA-229); EDF c. Argentina, ¶ 195 (RLA-195); TECO c.
Guatemala, ¶ 90 (RLA-197); SAUR c. Argentina, ¶ 193 (RLA-212); CEAC c. Montenegro, ¶ 95; Quiborax c. Bolivia, ¶
120 (CLA-252).
238
   Daimler c. Argentina, ¶ 135 (RLA-200), citado también en Tulip c. Turquía, ¶ 112 (RLA-229); SAUR c. Argentina,
¶ 216 (RLA-212).
239
      Tulip c. Turquía, ¶ 111 (RLA-229).

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193.       La jurisprudencia está dividida sobre este punto. Algunos comités han sugerido que las
           motivaciones insuficientes o inadecuadas pueden conducir a una anulación 240; otros adoptan la
           solución opuesta 241.
194.       El Comité estima necesario distinguir entre la insuficiencia y la inadecuación de la motivación. En
           el caso de motivos insuficientes – esto es cuando los motivos no permiten “to bring about the
           solution” 242 o justificar la conclusión de los árbitros “desde el punto de vista lógico” 243 – el Comité
           estima que se da una vulneración del requisito mínimo de motivación descrito en el ¶ 176 supra,
           lo que justifica la anulación con base en el Artículo 52(1)(e) si la insuficiencia de motivación
           incumbe a una cuestión necesaria o esencial para el caso.
195.       La situación es distinta en el caso de motivos inadecuados, es decir, aquellos que no son
           “sufficiently pertinent” 244 o que son “inadequate to explain the result arrived at by the Tribunal” 245
           o “frívolos, […] incorrectos o poco convincentes” 246. El Comité está de acuerdo con la línea
           jurisprudencial que sostiene que a los comités no solo no les compete cuestionar la corrección y
           persuasión de las motivaciones del laudo (pues de ser así actuarían como juez de apelación) 247,

240
   Véanse Klöckner c. Camerún, ¶ 120 (RLA-248) (“A middle and reasonable path is to be satisfied with reasons that
are ‘sufficiently relevant,’ that is, reasonably capable of justifying the result reached by the Tribunal”); Amco c.
Indonesia (Anulación I), ¶¶ 41-43 (RLA-245) (que concuerda con Klockner (I): “there must be a reasonable connection
between the bases invoked by a tribunal and the conclusions reached by it. The phrase ‘sufficiently pertinent reasons’
appears to this ad hoc Committee to be a simple and useful clarification of the term ‘reasons’ used in the
Convention”); Soufraki c. EAU, ¶¶ 123-124, 126 (RLA-205) (que describe los motivos insuficientes e inadecuados
como “insufficient to bring about the solution or inadequate to explain the result arrived at by the Tribunal”); TECO
c. Guatemala, ¶¶ 248-250 (RLA-197) (que describe los motivos insuficientes como “insuficientes desde el punto de
vista lógico para justificar la conclusión de dicho tribunal” y aquellos inadecuados como “frívolos, […] incorrectos o
poco convincentes”).
241
   Amco c. Indonesia (Anulación II), ¶ 7.55 (RLA-220) (“The wording of Sub-paragraph (1)(e) of Article 52 does not
permit an interpretation beyond the ‘ordinary meaning’ of the term used in the context and in the light of the object
and purpose of the Convention. The Committee can find no justification for adding a further requirement that the
reasons stated be ‘sufficiently pertinent’. To add such a phrase would be to amend the clear and unambiguous text
of Article 52(1)(e). The Committee has neither authority nor inclination to introduce any amendment to or
modification of the provisions of the Convention. Furthermore, the Committee must resist the temptation of
arrogating to itself the power to review or to correct the decision of the Second Tribunal. To require the sufficiency
of pertinent reasons, as distinguished from their mere existence, is to provide an Ad Hoc Committee with an
unwarranted opportunity to act as a Court of Appeal. This the Committee will not do”); El Paso c. Argentina, ¶ 235
(RLA-203) (“El Comité […] [n]o tiene facultades para valorar si esos motivos fueron insuficientes o inadecuados ya
que la causal expresada en el Artículo 52[(1)](e) del Convenio CIADI es la falta de expresión de motivos, no si estos
fueron inadecuados o insuficientes”); Dogan c. Turkmenistán, ¶ 263 (RLA-246) (que cita El Paso: “The Committee […]
further considers that the ‘sufficiency and adequacy’ of reasons is not what is required under Article 52(1)(e); as held
by another ad hoc committee, the ground ‘is the failure to state reasons, not if these were inadequate or
insufficient’”).
242
      Soufraki c. EAU, ¶ 126 (RLA-205).
243
      TECO c. Guatemala, ¶ 249 (RLA-197).
244
      Amco c. Indonesia (Anulación I), ¶ 43 (RLA-245).
245
      Soufraki c. EAU, ¶ 126 (RLA-205).
246
      TECO c. Guatemala, ¶ 250 (RLA-197).
247
      Véase ¶ 177 supra.

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           sino que ni siquiera les compete valorar la calidad y la adecuación de los motivos expresados por
           el tribunal 248. En efecto, a falta de indicaciones en el Convenio del CIADI – y, en particular, en sus
           Artículos 48 y 52 – acerca de cómo se deben expresar los motivos en los laudos, los árbitros tienen
           discrecionalidad sobre este aspecto. Por lo tanto, una vez que hayan cumplido con el requisito
           mínimo de motivación descrito en el ¶ 176 supra, los árbitros pueden expresar sus motivos de
           manera más o menos exhaustiva, con o sin referencias a precedentes jurisprudenciales 249. En
           palabras del comité de anulación del caso Tenaris c. Venezuela (II), “[e]fforts to move the exercise
           further by labelling reasons as ‘frivolous’ or ‘inadequate’ will inevitably cross the border to the
           scrutiny of the quality of the award and thereby to an appeal award” 250.
196.       Así las cosas, este Comité concluye que solo puede declarar una falta de motivación bajo el
           Artículo 52(1)(e) en caso de que el lector informado no pueda seguir la lógica del razonamiento
           del Tribunal porque no se ha cumplido la obligación de alcanzar el requisito mínimo de motivación
           (motivación insuficiente). En cambio, el Comité no está facultado para considerar ni para
           pronunciarse sobre la pertinencia, la adecuación o la convicción de los motivos ofrecidos por el
           Tribunal (motivación inadecuada).


VI.        ANÁLISIS DE LOS VICIOS DEL LAUDO ALEGADOS POR LA DEMANDANTE EN ANULACIÓN

197.       Habiendo aclarado lo que considera como el correcto alcance de las tres causales de anulación en
           las que se basa la solicitud de Venezuela, el Comité pasará a analizar si alguna de ellas se configura
           en relación con los siete vicios que la República atribuye al Laudo.

           A.       SOBRE LA DECISIÓN ACERCA DE LA VIOLACIÓN DEL ESTÁNDAR DE TJE EN RELACIÓN CON LA PROVIDENCIA
                    ADMINISTRATIVA

198.       En el Laudo, el Tribunal decidió que una de las medidas que resultaron violatorias del Artículo IV
           del APPRI relativo al TJE fue la Providencia Administrativa adoptada por Venezuela en 2013 251. La
           primera impugnación de la República consiste en que el Tribunal incurrió en una extralimitación
           manifiesta de facultades al pronunciarse ultra petita por haber incluido esa medida entre las
           medidas contrarias al TJE.

                    1.        Argumentos de Venezuela

199.       La República sostiene que el Tribunal incurrió en una extralimitación manifiesta de sus facultades
           al decidir ultra petita que la adopción de la Providencia Administrativa violaba el estándar del TJE,
           ya que (i) tal medida no había sido invocada por Valores y Consorcio en el marco del reclamo por

  Impregilo c. Argentina, ¶ 181 (RLA-226); Kilic c. Turkmenistán, ¶ 134 (RLA-228); Tulip c. Turquía, ¶ 104 (RLA-229);
248

SAUR c. Argentina, ¶ 190 (RLA-212); Tidewater c. Venezuela, ¶ 168 (RLA-232); Vivendi c. Argentina (II), ¶ 154 (RLA-
247).
249
   Vivendi c. Argentina (I), ¶ 64 (RLA-204); Kilic c. Turkmenistán, ¶ 137 (RLA-228); Tulip c. Turquía, ¶ 103 (RLA-229);
Tidewater c. Venezuela, ¶ 168 (RLA-232).
250
      Tenaris c. Venezuela (II), ¶ 113 (CMTLA-1).
251
      Laudo, § V.B.3; véanse ¶¶ 56, 76 supra.

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           TJE y (ii) el mismo Tribunal había aclarado que solo asumiría jurisdicción sobre el reclamo por
           expropiación vinculado a la Providencia Administrativa 252.
200.       Con respecto al punto (i), Venezuela afirma que Valores y Consorcio nunca plantearon que la
           Providencia Administrativa fuera una medida violatoria del TJE, sino que solo la invocaron en su
           reclamo por expropiación aduciendo que era la última medida que había tenido por efecto
           privarles del control de sus inversiones. Para sustentar su afirmación, la República enumera las
           medidas que fueron incluidas como violatorias del TJE en los escritos de las Demandadas en
           Anulación en el Arbitraje Subyacente y explica que entre aquellas no figuraba la Providencia 253.
201.       La República también alega que, no obstante lo anterior, tras concluir que la Providencia
           Administrativa no violaba el estándar de expropiación, el Tribunal en los ¶¶ 447 y 448 del Laudo
           “retomó el análisis de dicha medida [a saber, la Providencia] al tratar el estándar de trato justo y
           equitativo” 254. En efecto, al abordar el reclamo por TJE, en el ¶ 587 del Laudo el Tribunal
           determinó que las medidas de aseguramiento y administración de la República, entre las que se
           encontraba la Providencia Administrativa, habían violado ese estándar. Según la República, el
           Tribunal “[a]l proceder de esta manera […] incurrió en una extralimitación”, “modificando […] el
           reclamo presentado por las Demandadas en Anulación”, pues ellas no habían presentado un
           reclamo por TJE en relación con la Providencia 255.
202.       Venezuela rechaza el argumento de Valores y Consorcio de que el Tribunal incluyó la Providencia
           Administrativa dentro de las medidas de aseguramiento y administración especial a la hora de
           analizar el reclamo por violación del TJE. Para la República, los pasajes del Laudo citados por las
           Demandadas en Anulación solo se refieren a las medidas de aseguramiento y de administración
           especial de manera genérica; además, cuando el Tribunal analizó el reclamo por expropiación,
           aludió en forma separada a las medidas de aseguramiento y administración especial y a la
           Providencia 256.
203.       Con base en la decisión de rectificación de Enron c. Argentina 257 – que falló que hay exceso de
           poder no solo cuando un tribunal no decide un asunto debidamente presentado y peticionado,
           sino también cuando decide un asunto no solicitado – la Demandante en Anulación concluye que

252
   MdA, ¶ 118; Réplica de Anulación, ¶ 79; Tr. Día 1, 58:1-6. El Comité nota que la posición de la República no es del
todo clara: mientras en el MdA (¶ 118) la fundamentación consistía en que el Tribunal había decidido algo que no
había sido reclamado por Valores y Consorcio, en la Réplica de Anulación (¶¶ 79-81) Venezuela parecería restarle
importancia a esto último para sostener que lo verdaderamente relevante era que el Tribunal había excedido el
ámbito de jurisdicción que él mismo había delimitado; sin embargo, durante la Audiencia de Anulación retornó al
primer argumento (Tr. Día 1, 58:1-6). El Comité observa que, a menudo, Venezuela mezcla ambas cuestiones, por lo
que se hace difícil la comprensión de su postura. En los párrafos siguientes, el Comité intentará reflejar lo mejor
posible los argumentos de la República.
253
      MdA, ¶¶ 112-115; Réplica de Anulación, ¶¶ 82-84; Tr. Día 1, 56:6-57:22.
254
      Réplica de Anulación, ¶ 94.
255
   MdA, ¶¶ 116-117 (el Comité resalta que, en el ¶ 116 del MdA, Venezuela cita el ¶ 587 del Laudo, pero se equivoca
en la referencia de la nota al pie 136, ya que allí se consigna el ¶ 240 del Laudo); Réplica de Anulación, ¶¶ 89, 95.
256
      Réplica de Anulación, ¶¶ 90-92; Tr. Día 1, 59:6-17.
257
   Enron c. Argentina (Rectificación), ¶ 42 (RLA-239). Venezuela se apoya también en Occidental c. Ecuador, ¶ 50
(RLA-194) y Wena c. Egipto, ¶ 25 (CLA-109).

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           la decisión del Tribunal constituye una extralimitación manifiesta de facultades 258.
204.       Con respecto al punto (ii), la República asevera que hubo extralimitación también porque el
           Tribunal la condenó por la adopción de la Providencia bajo el TJE “no obstante haber concluido
           que asumiría jurisdicción en relación con la Providencia Administrativa bajo el reclamo por
           expropiación, no el de trato justo y equitativo” 259.
205.       La República explica que, cuando el Tribunal analizó la segunda objeción jurisdiccional 260,
           “reconoció que la Providencia Administrativa estaba vinculada al reclamo por expropiación” y, al
           dar su conclusión al respecto en el ¶ 243 del Laudo, confirmó que trataría la Providencia solo bajo
           el estándar de expropiación. Asimismo, Valores y Consorcio citan el ¶ 241 del Laudo de manera
           equivocada, porque cuando el Tribunal concluyó allí que el Decreto No. 7.394 y la Providencia
           Administrativa formaban parte de la misma controversia no estaba analizando el estándar de TJE,
           sino la segunda objeción sobre jurisdicción, que se refiere solamente al reclamo por expropiación.
           A juicio de Venezuela, en todo momento el Tribunal relacionó la Providencia con la expropiación
           y no con el TJE; es más, solo la mencionó al resumir la postura de Valores y Consorcio sobre el
           reclamo por expropiación, pero no sobre el de TJE en los ¶¶ 481 a 500 del Laudo 261.
206.       Contraponiéndose a Valores y Consorcio, la República sostiene que el principio de non ultra petita
           puede referirse tanto a argumentos como a pretensiones, aunque señala que esto carece de
           relevancia en el presente caso, ya que no hay duda de que es “una pretensión lo que está en juego
           aquí”. Para ella, “el Tribunal determinó tener jurisdicción sobre cierto reclamo y luego,
           excediéndose en los límites establecidos, decidió sobre otro distinto” 262.
207.       Por último, Venezuela afirma que la extralimitación es manifiesta. Contrastando la postura de las
           Demandadas en Anulación, y apoyándose en la decisión del comité en Occidental c. Ecuador 263 y
           la posición de Philippe Pinsolle 264, la República explica que una extralimitación puede ser
           manifiesta aunque su demostración requiera una argumentación y un análisis extensos.
           Asimismo, señala que la extralimitación es grave porque impactó en la determinación del monto
           de la compensación, ya que el Tribunal tomó como fecha de valuación para el cómputo de los
           daños de Valores y Consorcio la fecha de promulgación de la Providencia Administrativa 265.

                    2.       Argumentos de Valores y Consorcio

208.       Las Demandadas en Anulación niegan que el Tribunal se haya extralimitado manifiestamente en
           sus facultades al decidir que la Providencia Administrativa constituía una medida violatoria del

258
      MdA, ¶¶ 116-122.
259
      Réplica de Anulación, ¶ 89.
260
      Véanse ¶¶ 67-69 supra.
261
      MdA, ¶¶ 110-111; Réplica de Anulación, ¶¶ 79-80, 83-85, 95; Tr. Día 1, 55:12-22.
262
      Réplica de Anulación, ¶¶ 80, 86-89.
263
      Occidental c. Ecuador, ¶¶ 57-59 (RLA-194).
  P. PINSOLLE, Manifest Excess of Power and Jurisdictional Review of ICSID Awards, en 2 Transnational Dispute
264

Management (2005), pág. 8 (RLA-199).
265
      Réplica de Anulación, ¶¶ 97-99.

                                                          46
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           TJE, dado que esta decisión no fue ultra petita. Según ellas, Venezuela recurre a premisas falsas
           para fundar su posición y lo que en realidad pretende es introducir una objeción jurisdiccional
           relativa al TJE que no fue presentada en el Arbitraje Subyacente 266.
209.       En primer lugar, Valores y Consorcio afirman que – tal como surge del resumen de su posición
           sobre el reclamo por violación del TJE en los ¶¶ 489, 492 y 493 del Laudo – en el Arbitraje
           Subyacente ellas alegaron que las medidas de aseguramiento y administración especial impuestas
           sobre Monaca y Demaseca 267 violaban el TJE, y que una de esas medidas era, precisamente, la
           Providencia Administrativa 268.
210.       Valores y Consorcio explican que el Tribunal entendió que la Providencia era una de las medidas
           de administración especial – a saber, la última – y así lo consignó al describir la génesis y secuencia
           de aquellas medidas en los ¶¶ 91, 92, 97, y – sobre todo – 241 del Laudo. Incluso la misma
           Venezuela lo reconoció en el Arbitraje Subyacente cuando afirmó que la Providencia “no ha[bía]
           cambiado en nada la situación […] en cuanto al régimen de administración especial que se v[enía]
           llevando [a cabo] desde fines del año 2009” 269.
211.       Por lo tanto, para Valores y Consorcio, cuando en el ¶ 587 del Laudo el Tribunal determinó que
           las medidas de aseguramiento y administración especial violaban el TJE, incluyó también la
           Providencia Administrativa, tal como lo habían peticionado y argumentado ellas. De esto se
           desprende que el Tribunal no decidió ultra petita ni modificó el reclamo en el ¶ 447 del Laudo,
           como sugiere Venezuela. En todo caso, Valores y Consorcio aducen que la decisión del Tribunal
           tampoco sería ultra petita, ya que este principio solo aplica a las pretensiones y no a los
           argumentos de las Partes 270.
212.       En segundo lugar, Valores y Consorcio niegan que el Tribunal haya analizado la Providencia
           Administrativa exclusivamente con relación al reclamo por expropiación, como afirma la
           República. Al tratar el reclamo de TJE, el Tribunal analizó detalladamente todas las medidas de
           Venezuela invocadas como violatorias del TJE; esas incluyeron las medidas de aseguramiento y
           administración especial, entre las cuales se encontraba la Providencia. Con base en lo anterior,
           Valores y Consorcio sostienen que la República tergiversa el Laudo cuando afirma que el Tribunal
           no hizo referencia a la Providencia al tratar el reclamo por TJE, pues esta referencia estaba
           englobada en la mención de las medidas de administración especial 271.
213.       En tercer lugar, Valores y Consorcio advierten que, ante la evidencia de que el Tribunal decidió la
           reclamación tal como fue planteada por ellas, en la Réplica de Anulación Venezuela cambia su
           argumento original y sostiene que el Tribunal, al “asumir jurisdicción […] explicitó que tenía
           jurisdicción para entender el reclamo vinculado a la Providencia Administrativa bajo una
           expropiación indirecta omitiendo cualquier referencia a esta medida con relación con los demás

266
      MdC de Anulación, ¶ 57; Tr. Día 1, 161:4-162:9.
267
      Véase ¶ 56 supra.
268
      MdC de Anulación, ¶¶ 57-58.
269
      MdC de Anulación, ¶¶ 59-62; Dúplica de Anulación, ¶¶ 49-52.
270
      MdC de Anulación, ¶ 64, nota al pie 92; Dúplica de Anulación, ¶¶ 53-55.
271
      MdC de Anulación, ¶¶ 65-66, 73.

                                                          47
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           estándares” 272. Las Demandadas en Anulación señalan que el nuevo argumento fracasa por los
           siguientes motivos.
214.       Primero, Venezuela nunca objetó específicamente la jurisdicción del Tribunal para resolver la
           disputa sobre la violación del estándar del TJE. La República planteó cuatro objeciones
           jurisdiccionales que fueron decididas por el Tribunal; la segunda de ellas 273, referida
           exclusivamente al reclamo por expropiación, consistió en que Valores y Consorcio no habían
           perfeccionado el consentimiento al arbitraje, puesto que la Providencia Administrativa – medida
           que según ellas completaba el iter expropiatorio – había sido publicada después de que Venezuela
           hubiera denunciado el Convenio el CIADI. Dado que esta objeción solo se refirió al reclamo por
           expropiación, el Tribunal “no podría haber resuelto una objeción jurisdiccional relativa al reclamo
           de [TJE] que la República nunca planteó” 274.
215.       Segundo, el nuevo argumento tergiversa el Laudo, ya que, al decidir la segunda objeción
           jurisdiccional, el Tribunal nunca dijo que solamente tenía jurisdicción para entender el reclamo
           vinculado a la Providencia Administrativa bajo una expropiación indirecta. El Tribunal consideró
           que, pese a que la Providencia era posterior a la denuncia del Convenio del CIADI, esta formaba
           parte de la misma controversia derivada de la adopción de las medidas de aseguramiento y
           administración especial sobre Monaca y Demaseca, y del Decreto No. 7.394, por lo que “concluyó
           que tenía ‘jurisdicción para conocer sobre el reclamo de expropiación en los términos planteados
           por [Valores y Consorcio] en este arbitraje’” 275.
216.       Así, la referencia del Tribunal a la Providencia Administrativa simplemente correspondió a la
           objeción específica planteada por Venezuela y no implicó que el Tribunal hubiera limitado su
           jurisdicción sobre la disputa que incluía tal Providencia al reclamo de expropiación. Además, las
           Demandadas en Anulación destacan que, al rechazar las otras tres objeciones a la jurisdicción –
           que abarcaban todas las pretensiones de Valores y Consorcio, y no solo la expropiación – el
           Tribunal necesariamente asumió jurisdicción sobre esas pretensiones, las cuales se sustentaban
           en las mismas medidas ilícitas de la República (incluida la Providencia) que habían servido de base
           al reclamo por expropiación 276.
217.       Por otra parte, Valores y Consorcio señalan que, incluso si el Tribunal hubiera incurrido en una
           extralimitación de facultades, esta no sería manifiesta, pues requeriría un análisis detallado del
           Laudo y de los argumentos y escritos de las Partes en el Arbitraje Subyacente; sin embargo, este
           no es un análisis que le corresponda hacer a un comité de anulación. Asimismo, la extralimitación
           tampoco sería manifiesta “porque no tendría consecuencias graves sobre el resultado del Laudo”,
           ya que (i) el Tribunal consideró que el TJE había sido violado no solo por las medidas de
           administración especial, sino también por la forma en que la República ejecutó el Decreto No.
           7.394, y (ii) es “pura especulación” que el monto de la indemnización hubiera sido impactado de

272
      Dúplica de Anulación, ¶ 39.
273
      Véanse ¶¶ 67-68 supra.
274
      Dúplica de Anulación, ¶¶ 40-41.
275
      Dúplica de Anulación, ¶¶ 42-47.
276
      Dúplica de Anulación, ¶ 48.

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           manera sustancial por una fecha de valuación distinta y, en todo caso, la República nunca sugirió
           una fecha de valuación alternativa 277.

                    3.       Análisis del Comité

218.       La primera causal de anulación tiene por objeto la decisión del Tribunal de considerar que la
           adopción de la Providencia Administrativa por parte de Venezuela violó el Artículo IV del Tratado
           referido al TJE. Según la República, el Tribunal tomó esta decisión de manera ultra petita,
           extralimitándose manifiestamente en sus facultades en los términos del Artículo 52(1)(b) del
           Convenio CIADI, puesto que, por un lado, Valores y Consorcio no se habían quejado respecto a la
           Providencia en relación con el TJE y, por el otro, el Tribunal había afirmado que solo trataría la
           Providencia en relación con el reclamo por expropiación. Venezuela plantea ambos argumentos
           como independientes, ya que ha aclarado que, para decidir su segundo cuestionamiento, es
           irrelevante determinar si las Demandadas en Anulación incluyeron la Providencia como una
           medida violatoria del TJE.
219.       Por su parte, Valores y Consorcio controvierten que la decisión del Tribunal haya sido ultra petita
           y sostienen que ambas premisas del razonamiento de Venezuela son falsas, ya que ellas sí
           invocaron la adopción de la Providencia como una de las medidas violatorias del TJE, en particular,
           dentro de las medidas de administración especial impuestas a las Compañías y, por otra parte, el
           Tribunal nunca dijo que trataría la Providencia exclusivamente en relación con el reclamo por
           expropiación.
220.       Vistos los argumentos y defensas principales de las Partes, el Comité debe determinar
           preliminarmente si las premisas en las que se basa Venezuela son verdaderas. Para ello, ambos
           cuestionamientos serán tratados de manera separada.

                                     ¿Se quejaron las Demandadas en Anulación de la Providencia
                                     Administrativa con respecto al TJE?

221.       A los fines de resolver el primer cuestionamiento de la República, el Comité tiene que indagar si
           la decisión del Tribunal de incluir la Providencia dentro de las medidas violatorias del TJE –
           presupuesto en el que ambas Partes coinciden 278 – fue tomada en respuesta a una petición de
           Valores y Consorcio, como ellas afirman, o sua sponte, como sostiene la República. Dado que,
           según las Demandadas en Anulación, su reclamo por TJE incluyó la Providencia en cuanto esta era
           una de las medidas de administración especial adoptadas por Venezuela, el Comité verificará cuál
           fue el reclamo por TJE de Valores y Consorcio en el Arbitraje Subyacente.
222.       El Comité nota que las medidas consideradas ilícitas por Valores y Consorcio fueron detalladas en
           la § II.C de su Memorial de Demanda titulada “Los actos ilícitos de la República”. En la § II.C.4 279,
           las Demandadas en Anulación identificaron, en particular, las medidas mediante las que se
           consolidó la intervención de Venezuela en las Compañías iniciada a raíz del proceso penal contra

277
      MdC de Anulación, nota al pie 111; Dúplica de Anulación, ¶¶ 56-58.
278
      MdC de Anulación, ¶ 55; Réplica de Anulación, ¶ 89.
279
      Memorial de Demanda de Valores y Consorcio, § II.C.4 (R-219).

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           el Sr. Fernández Barrueco 280. Dichas medidas incluían las medidas de administración especial, con
           respecto a las cuales Valores y Consorcio expresaron lo siguiente, en los ¶¶ 107 y 108 del
           Memorial de Demanda:
                    107. La interferencia progresiva de la República en MONACA y DEMASECA tuvo su punto
                    culminante con la Providencia Administrativa[.]
                    108. La Providencia Administrativa marcó un hito en la evolución del régimen de administración
                    especial impuesto por la República sobre MONACA y DEMASECA.

223.       A criterio del Comité, estos párrafos demuestran que Valores y Consorcio consideraban a la
           Providencia Administrativa como una de las medidas de administración especial impuestas por
           Venezuela. La consecuencia lógica de esto es que en cada referencia de las Demandadas en
           Anulación a las medidas de administración especial debía entenderse incluida también la
           Providencia Administrativa.
224.       Esto conlleva a que, cuando Valores y Consorcio se quejaron de las medidas de administración
           especial impuestas por Venezuela en el marco de la violación del TJE, se quejaron también de la
           Providencia Administrativa. En efecto, en los ¶¶ 216 y 217 de su Memorial de Demanda Valores
           y Consorcio afirmaron:
                    216. Como se demostró en la Sección sobre expropiación, la Demandada ha implementado y
                    mantenido una serie de medidas sobre MONACA y DEMASECA que han privado a las Demandantes
                    del uso, goce y disfrute de las mismas por más de cuatro años sin compensación alguna.
                    217. Este régimen de intervención creado por las medidas de aseguramiento y administración
                    especial, y el Decreto de Adquisición Forzosa que ha impedido que las Demandantes reciban los
                    beneficios básicos de sus inversiones – incluyendo la facultad de distribuir dividendos y disponer
                    de su participación accionaria en MONACA y DEMASECA – también contraviene el estándar de
                    tratamiento justo y equitativo del Acuerdo. (énfasis añadido)

225.       El Comité resalta que también el Tribunal, al analizar el reclamo por TJE, dejó en claro que la
           Providencia era una de las medidas de administración especial. El ¶ 544 del Laudo dice:
                    En el presente caso está probado que, a partir del año 2009, Venezuela impuso unas medidas de
                    aseguramiento y administración especial sobre Monaca y Demaseca derivadas del proceso penal
                    seguido contra el Sr. Fernández Barrueco, presunto accionista de las Compañías. Estas medidas
                    incluyen […] el nombramiento de administradores especiales facultados, en general, para ejercer
                    acciones tendientes a garantizar la posesión, guarda, custodia, uso y conservación de los bienes de
                    las Compañías y, en particular, para custodiar sus activos bancarios.

226.       Para soportar estas aseveraciones, en la nota al pie 667 el Tribunal hizo referencia específica a la
           Providencia Administrativa y, en particular, a sus Artículos 2 y 7.
227.       De lo anterior se desprende que las Demandadas en Anulación sí incluyeron la Providencia en su
           reclamo por TJE y que el Tribunal así lo entendió. En cualquier caso, el Comité concuerda con
           Valores y Consorcio en que el principio de ultra petita únicamente aplica a las pretensiones y no
           a los argumentos expuestos por las partes ante el Tribunal. Por lo tanto, el Comité debe rechazar
           el primer cuestionamiento de Venezuela de que el Tribunal decidió sobre una pretensión no



280
      Véase ¶ 56 supra.

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           incluida en el Arbitraje Subyacente, ya que reposa sobre una premisa incorrecta 281.

                                      ¿Asumió el Tribunal jurisdicción sobre la Providencia Administrativa
                                      exclusivamente en relación con el reclamo por expropiación?

228.       Pasando al segundo cuestionamiento de Venezuela, el Comité tiene que verificar si, como
           sostiene la República, el Tribunal asumió jurisdicción sobre la Providencia exclusivamente en
           relación con el reclamo por expropiación. Venezuela se basa en el ¶ 243 del Laudo donde el
           Tribunal, al rechazar la segunda objeción jurisdiccional 282, sostuvo:
                    El Tribunal encuentra que la controversia sobre expropiación existía por lo menos desde el 9 de
                    noviembre de 2011. En su Notificación de Controversia, las Demandantes notificaron válidamente
                    la existencia de una disputa relativa al cumplimiento de las obligaciones de Venezuela bajo el
                    Artículo V del Tratado y, a su vez, perfeccionaron el consentimiento al arbitraje respecto a la
                    controversia en relación con la expropiación con anterioridad a la denuncia del Tratado [ 283] por
                    parte de Venezuela. Por lo tanto, el Tribunal tiene jurisdicción para conocer sobre el reclamo de
                    expropiación en los términos planteados por las Demandantes.

229.       Es cierto que en ese párrafo el Tribunal asumió jurisdicción sobre el reclamo por expropiación
           según el planteo de Valores y Consorcio, incluyendo la Providencia Administrativa, ya que esta
           era la medida con la cual culminaba la expropiación indirecta.
230.       Ahora bien, el Comité destaca que, contrariamente a lo que sostiene la República, en ninguna
           parte el Tribunal expresó que analizaría la Providencia solo al tratar el reclamo por expropiación.
           Venezuela parecería fundar su argumento en que, al asumir jurisdicción sobre el reclamo por
           expropiación, el Tribunal omitió “cualquier referencia a esta medida [la Providencia] en relación
           con los demás estándares” 284.
231.       Sin embargo, el Comité no encuentra ninguna razón por la cual el Tribunal, al rechazar la segunda
           objeción jurisdiccional de Venezuela, debería haber mencionado las reclamaciones fundadas en
           los demás estándares. La segunda objeción cuestionaba exclusivamente la jurisdicción sobre el
           reclamo por expropiación, por lo que es lógico que el Tribunal solo se expidiera acerca de ese




281
    El Comité destaca que incluso la República, en el Arbitraje Subyacente, ha considerado a la Providencia
Administrativa como una de las medidas de administración especial, tal como se desprende de los ¶¶ 215, 223, 334
y 343, y de las notas al pie 315 y 592 del Memorial de Contestación de Venezuela (R-221). En particular, en el ¶ 215,
Venezuela explicó los objetivos para los que se habían designado desde el comienzo administradores especiales en
Monaca y Demaseca y, entre otras fuentes, en la nota al pie 315, mencionó a la Providencia; en el ¶ 223, la República
sostuvo que la Providencia había designado “una nueva Administración Especial para ambas empresas [Monaca y
Demaseca]”; en el ¶ 334, afirmó que la Providencia había sido la más reciente de las resoluciones que designaron
administradores especiales; en la nota al pie 592, para fundamentar la inexistencia de expropiación progresiva
afirmada en el ¶ 343, Venezuela expresó que la Providencia no había cambiado la situación de las Compañías “en
cuanto al régimen de administración especial que se viene llevando desde fines del año 2009”.
282
      Véanse ¶¶ 67-69 supra.
283
      El Comité entiende que la referencia debería ser a la denuncia del Convenio del CIADI y no al Tratado.
284
      Réplica de Anulación, ¶ 79.

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           reclamo 285.
232.       Por otra parte, Venezuela no cuestionó específicamente la jurisdicción del Tribunal para entender
           sobre el reclamo por TJE, tal como lo reconoció el Tribunal al iniciar el análisis de ese estándar de
           protección en el ¶ 521 del Laudo:
                    Como cuestión preliminar, observa el Tribunal que no existe objeción alguna a su jurisdicción que
                    se refiera de manera específica a la reclamación por violación del Artículo IV del APPRI.

233.       Teniendo en cuenta que, tal como se ha dicho en los ¶¶ 222 a 227 supra, el reclamo por TJE incluía
           la Providencia Administrativa, el Comité encuentra que la falta de presentación de una objeción
           jurisdiccional específica sobre tal reclamación implica que Venezuela aceptó que la Providencia,
           al igual que el resto de las medidas impugnadas por las Demandadas en Anulación, fuera analizada
           por el Tribunal también bajo el TJE. Si la República hubiera querido evitar que se analizara la
           Providencia bajo el TJE, debería haber interpuesto una objeción específica al respecto, tal como
           lo hizo en relación con el reclamo por expropiación.
234.       Así las cosas, para el Comité resulta claro que también el segundo cuestionamiento de Venezuela
           reposa en una premisa incorrecta, ya que el Tribunal no solo nunca dijo que analizaría la
           Providencia únicamente en relación con el reclamo de expropiación, sino que, además, dejó en
           claro que su jurisdicción para entender las medidas invocadas en el reclamo del TJE – entre las
           que se incluía la Providencia – no había sido objetada. Por lo tanto, también este cuestionamiento
           se debe rechazar.

                                     Conclusión

235.       En conclusión, el Comité encuentra que la República no ha probado ni que las Demandadas en
           Anulación no se hayan quejado respecto a la Providencia Administrativa en relación con el TJE ni
           que el Tribunal haya asumido jurisdicción sobre la Providencia únicamente bajo el reclamo por
           expropiación. Por lo tanto, la República no ha probado que el Tribunal haya decidido ultra petita
           que la Providencia era contraria al TJE, con lo cual no se configura la causal de anulación de
           extralimitación manifiesta de facultades respecto a esta decisión.

           B.       SOBRE LA DECISIÓN DE ASUMIR JURISDICCIÓN RESPECTO DEL RECLAMO POR EXPROPIACIÓN

236.       En el Laudo el Tribunal rechazó la segunda objeción jurisdiccional, referida al reclamo por
           expropiación indirecta 286. A este respecto, Venezuela invoca dos motivos de anulación. En primer
           lugar, sostiene que el Tribunal se extralimitó manifiestamente en sus facultades al haber decidido
           sobre este reclamo (i) careciendo de jurisdicción y (ii) no aplicando el derecho aplicable. En
           segundo lugar, alega que el Tribunal incurrió en un quebrantamiento grave de una norma
           fundamental de procedimiento al no tratar todas las cuestiones que le habían sido sometidas.



285
   El Comité destaca, además, que las otras tres objeciones jurisdiccionales, que abarcaban de manera genérica
todas las reclamaciones, también fueron rechazadas por el Tribunal.
286
      Laudo, § IV.C.2; véanse ¶¶ 67-69 supra.

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                    1.      Argumentos de Venezuela

                                     Extralimitación manifiesta de las facultades del Tribunal

237.       En cuanto a la primera extralimitación planteada respecto a la decisión del Tribunal de asumir
           jurisdicción sobre el reclamo de expropiación, Venezuela afirma que dicho reclamo no figuraba
           en la Solicitud de Arbitraje y solo fue incluido en el Memorial de Demanda como demanda
           subordinada. Para la República, este era un reclamo adicional cuya incorporación no respetó los
           requisitos del Artículo 46 del Convenio CIADI y de la Regla de Arbitraje 40 287.
238.       En concreto, la República argumenta que las Demandadas en Anulación “no activaron el
           procedimiento para la incorporación de un reclamo adicional ni justificaron que se relacionaba
           directamente con los reclamos incluidos en la Solicitud de Arbitraje”, lo que conllevaba que el
           Tribunal no tuviera jurisdicción sobre tal reclamación 288.
239.       Venezuela cuestiona la interpretación que hacen Valores y Consorcio del Artículo 46 del Convenio
           del CIADI y de la Regla de Arbitraje 40. Según ella, dichas reglas exigen la activación de un
           procedimiento para demostrar que la demanda adicional se relaciona directamente con la
           diferencia y cae dentro de la jurisdicción del CIADI con el fin de evitar que la parte demandante
           tenga la posibilidad de modificar su reclamo tras el inicio del arbitraje y de establecer que la
           demanda adicional se encuentra dentro los límites del consentimiento de las partes 289.
240.       En cuanto a la segunda extralimitación, Venezuela sostiene que el Tribunal no aplicó el derecho
           aplicable, a saber el Artículo 46 del Convenio del CIADI y la Regla de Arbitraje 40, porque no analizó
           si la demanda adicional relativa a la expropiación estaba dentro de su jurisdicción y del
           consentimiento de la Partes, a pesar de que esta cuestión jurisdiccional fue planteada por la
           República y ese planteo fue incluido en la descripción de las posiciones de las Partes en el
           Laudo 290.
241.       La República afirma que sí presentó una objeción relativa a la procedencia del reclamo adicional,
           contrariamente a lo que sostienen las Demandadas en Anulación. De hecho, en su Memorial de
           Contestación en el Arbitraje Subyacente la República solicitó el rechazo del reclamo sobre
           expropiación dado que no había sido parte de los reclamos presentados en la Notificación de
           Controversia y en la Solicitud de Arbitraje, lo que equivale a decir que el reclamo no formaba parte
           del reclamo original, sino de uno nuevo. Su planteo no es solamente que dicho reclamo no fue
           presentado de acuerdo con el procedimiento previsto, sino que ni siquiera fue planteado como
           uno adicional, de lo que se deriva que no se podía criticar a la República por no haber opuesto
           una defensa de no procedencia del reclamo adicional. Si las Demandadas en Anulación hubieran
           presentado un reclamo por expropiación como adicional, la República habría actuado según lo




287
      MdA, ¶¶ 129-132; Réplica de Anulación, ¶ 102.
288
      MdA, ¶¶ 130-131.
289
      Réplica de Anulación, ¶¶ 103-108.
290
      MdA, ¶¶ 133-135.

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           prescrito por la Regla de Arbitraje 40(3) 291.

                                       Quebrantamiento grave de una norma fundamental de
                                       procedimiento

242.       La República alega que el Tribunal incurrió en un quebrantamiento grave de una norma
           fundamental de procedimiento “al no tratar todas las cuestiones que le ha[bía]n sido sometidas”.
           Señala que, a pesar de que en sus escritos en el Arbitraje Subyacente Venezuela se refirió a “la
           falta de jurisdicción del Tribunal por la cuestión de la expropiación que no fue solicitada en la
           Solicitud de Arbitraje”, esta cuestión no fue tratada por el Tribunal, el cual, en la sección del Laudo
           relativa a la segunda objeción jurisdiccional, solo se refirió a la Notificación de Controversia y no
           a la Solicitud de Arbitraje 292.
243.       Apoyándose en los casos Pey Casado c. Chile 293 y MINE c. Guinea 294, Venezuela considera que este
           quebrantamiento es grave, pues de haberse respetado el Artículo 48 del Convenio del CIADI, que
           es una regla fundamental, el Tribunal podría haber declinado jurisdicción sobre el reclamo de
           expropiación, lo que potencialmente podría haber tenido un “impacto no sólo en el análisis sobre
           expropiación sino también en el de trato justo y equitativo”. Además, añade que se le privó del
           derecho a que fueran decididas todas las cuestiones que presentó ante el Tribunal 295.

                     2.       Argumentos de Valores y Consorcio

                                       Extralimitación manifiesta de las facultades del Tribunal

244.       Las Demandadas en Anulación señalan que Venezuela alegó por primera vez en el marco de este
           procedimiento de anulación que el Tribunal debió haber decidido sobre la admisibilidad del
           reclamo por expropiación de acuerdo con el Artículo 46 del Convenio del CIADI y la Regla de
           Arbitraje 40, y que dicho reclamo no cumplió con estas normas. En el Arbitraje Subyacente la
           República ni siquiera mencionó estas normas y solo sostuvo que el Tribunal carecía de jurisdicción
           para resolver ese reclamo, debido a que la alegada expropiación indirecta se había consumado
           con la Providencia Administrativa, que fue publicada después de la denuncia del Convenio CIADI
           por Venezuela, y por lo tanto no existía disputa alguna sobre expropiación indirecta. El Tribunal
           resolvió la objeción específica planteada por Venezuela y no es posible ahora reprocharle que no
           se haya pronunciado sobre una objeción que la República nunca planteó 296.
245.       Valores y Consorcio observan que en la Solicitud de Arbitraje se reservaron el derecho de
           presentar un reclamo por expropiación en caso de que Venezuela siguiera tomando medidas de
           interferencia en sus inversiones. Como la República continuó adoptando ese tipo de medidas,

291
      Réplica de Anulación, ¶¶ 109-111.
292
      MdA, ¶¶ 136-138.
293
      Pey Casado c. Chile (Anulación I) (RLA-201).
294
      MINE c. Guinea (RLA-213).
295
      MdA, ¶ 139; Réplica de Anulación, ¶¶ 116-117.
296
      MdC de Anulación, ¶¶ 79-82; Dúplica de Anulación, ¶ 66.

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           ellas presentaron su reclamo en el Memorial de Demanda, indicando expresamente que lo hacían
           de conformidad con el Artículo 46 del Convenio del CIADI y la Regla de Arbitraje 40 297.
246.       Valores y Consorcio aclaran que estas normas “[no] requieren que ‘se active un procedimiento’
           para incorporar un reclamo adicional”, sino que solo disponen que el tribunal resuelva reclamos
           adicionales cuando estos se relacionan con la diferencia y el tribunal tiene jurisdicción, y obligan
           al Tribunal a garantizar a la parte demandada una oportunidad razonable de responder. Añaden
           que la jurisprudencia y la doctrina reconocen que la inclusión de un reclamo adicional es oportuna
           cuando se hace – tal como lo hicieron las Demandadas en Anulación en este caso – con el primer
           escrito, lo cual no requiere cambios de plazos en relación con la fase escrita del procedimiento. El
           Tribunal cumplió con esta obligación en cuanto la República tuvo más de siete meses para
           preparar su objeción a la jurisdicción y solo hubiera incurrido en una causal de anulación si no
           hubiese conocido de la reclamación por expropiación presentada por Valores y Consorcio 298.
247.       Las Demandadas en Anulación notan que el Tribunal comprobó que el reclamo por expropiación
           estaba directamente relacionado con la controversia, tal como lo requieren el Artículo 46 del
           Convenio del CIADI y la Regla de Arbitraje 40(1). En efecto, dicen Valores y Consorcio, el Tribunal
           reconoció que Venezuela objetó su jurisdicción sobre el reclamo por expropiación indirecta
           alegando que la expropiación no se había consumado a la fecha de la Notificación de Controversia,
           con lo cual, al no darse una notificación válida sobre tal reclamo, este no podía ser sometido a
           arbitraje. Al analizar si el consentimiento otorgado mediante la Notificación de Controversia
           cubría la reclamación por expropiación indirecta, el Tribunal identificó las medidas mencionadas
           en la Notificación de Controversia y observó que, en tal Notificación, Valores y Consorcio
           informaron que, como resultado de dichas medidas, había surgido una controversia y que las
           medidas contravenían el Artículo V del APPRI relativo a expropiación 299.
248.       Agregan las Demandadas en Anulación que el Tribunal rechazó el argumento de Venezuela de que
           en la Notificación de Controversia ellas notificaron una expropiación directa y que solo en el
           Memorial se quejaron de una expropiación indirecta que se habría cristalizado con la Providencia
           Administrativa. Según ellas, el Tribunal manifestó que los efectos de las medidas denunciadas en
           la Notificación de Controversia eran los mismos discutidos a lo largo del Arbitraje Subyacente y
           que fueron atribuidos, entre otros, a las medidas de aseguramiento y administración especial, y
           que todas las medidas denunciadas, incluyendo la Providencia Administrativa, formaban parte de
           la misma controversia notificada en la Notificación de Controversia. Todo esto demostraría que
           el Tribunal realizó un análisis meticuloso de la única objeción a la jurisdicción presentada por
           Venezuela específicamente respecto al reclamo de expropiación indirecta y no se extralimitó en
           sus facultades 300.




297
      MdC de Anulación, ¶ 84; Dúplica de Anulación, ¶¶ 61-62.
298
      MdC de Anulación, ¶¶ 83-88; Dúplica de Anulación, ¶¶ 68-69.
299
      MdC de Anulación, ¶¶ 89-92; Dúplica de Anulación, ¶¶ 65-66.
300
      MdC de Anulación, ¶¶ 93-95.

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                                     Quebrantamiento grave de una norma fundamental de
                                     procedimiento

249.       Valores y Consorcio niegan que se haya configurado un quebrantamiento. Señalan que todas las
           citas de la República para sustentar su argumento de que el Tribunal no trató todas las cuestiones
           que le habían sido sometidas demuestran que la objeción jurisdiccional que en realidad planteó
           Venezuela no fue la que ahora menciona. Manifiestan que, al contrario de lo que señala la
           República, en el Laudo 301 “el Tribunal sí se refirió expresamente a su argumento relativo a que la
           Solicitud de Arbitraje no incluyó un reclamo de expropiación”, por medio del cual Venezuela argüía
           que “lo sucedido hasta la fecha de la Solicitud de Arbitraje no era suficiente para fundamentar un
           reclamo de expropiación” 302.
250.       De manera subsidiaria, las Demandadas en Anulación añaden que, aun si se considerara que el
           Tribunal no se hubiera pronunciado sobre esa cuestión, el quebrantamiento no sería grave, ya
           que no produjo un impacto material en el Laudo. En efecto, pese a asumir jurisdicción sobre el
           reclamo por expropiación en contra de lo solicitado por Venezuela, el Tribunal le dio la razón en
           cuanto al fondo y rechazó la reclamación, por lo que la República no sufrió agravio alguno.
           Adicionalmente, Valores y Consorcio rechazan la postura de Venezuela de que la desestimación
           de la objeción jurisdiccional sobre el reclamo por expropiación haya influido en el tratamiento
           que el Tribunal dio al reclamo por TJE 303.

                      3.    Análisis del Comité

251.       La República afirma que, al rechazar su segunda objeción jurisdiccional 304 y al asumir jurisdicción
           sobre el reclamo de expropiación indirecta, el Tribunal incurrió en dos causales de anulación. Por
           un lado, se habría extralimitado manifiestamente en sus facultades porque, aunque ese reclamo
           era un reclamo adicional, lo abordó sin que Valores y Consorcio activaran el procedimiento para
           la incorporación de reclamos adicionales y justificaran que estaba relacionado con los reclamos
           incluidos en la Solicitud de Arbitraje, en violación del Artículo 46 del Convenio CIADI y de la Regla
           de Arbitraje 40. Por otro lado, el Tribunal habría quebrantado una norma fundamental del
           procedimiento al no pronunciarse sobre “la cuestión de la expropiación que no fue solicitada en
           la Solicitud de Arbitraje” 305.
252.       Valores y Consorcio sostienen que la objeción jurisdiccional de Venezuela respecto al reclamo de
           expropiación indirecta solo se centró en la inexistencia de una disputa sobre tal expropiación a la
           fecha de la Notificación de Controversia y de la Solicitud de Arbitraje, y que en el Arbitraje
           Subyacente la República nunca objetó el incumplimiento de las dos normas cuya violación invoca
           por primera vez en este procedimiento. Precisan que el Tribunal decidió la objeción específica
           presentada por Venezuela, por lo que no se le puede reprochar el no haber decidido una objeción

301
      Laudo, ¶ 154.
302
      MdC de Anulación, ¶¶ 97-98; Dúplica de Anulación, ¶¶ 74-75.
303
      MdC de Anulación, ¶ 99; Dúplica de Anulación, ¶¶ 76-77.
304
      Véanse ¶¶ 67-69 supra.
305
      MdA, ¶ 138.

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           no planteada.
253.       El Comité observa que, a los fines de decidir sobre ambas causales invocadas por Venezuela, debe
           determinarse una cuestión preliminar: ¿invocó la República en el Arbitraje Subyacente que el
           reclamo por expropiación fue introducido después de la Solicitud de Arbitraje, recién en el
           Memorial de Demanda, sin respetar el Artículo 46 del Convenio del CIADI 306 y la Regla de Arbitraje
           40 307, disposiciones que se ocupan de las demandas adicionales?
254.       En efecto, en lo que hace a la primera causal de anulación, la propia Venezuela sostiene que el
           Tribunal excedió manifiestamente sus facultades al asumir jurisdicción sobre el reclamo por
           expropiación sin aplicar el Artículo 46 del Convenio del CIADI y la Regla de Arbitraje 40. En cambio,
           en lo que concierne a la segunda causal de anulación, Venezuela alega que el Tribunal no trató su
           objeción de que el reclamo por expropiación había sido presentado después de la Solicitud de
           Arbitraje, lo que presupone que la República planteó esta objeción con base en las dos normas
           antes mencionadas en el Arbitraje Subyacente 308.
255.       En relación con la cuestión preliminar bajo examen, la República sostiene que alegó la
           inadmisibilidad del reclamo por expropiación en los términos del Artículo 46 del Convenio del
           CIADI en la § II.B.4 de su Memorial de Contestación 309. Sin embargo, tras una detenida lectura de
           esa sección (¶¶ 78 a 91), el Comité no ha encontrado ninguna mención del Artículo 46 ni tampoco
           de la Regla de Arbitraje 40.
256.       Tal como correctamente lo sostienen Valores y Consorcio 310, la lectura de dicha sección – que
           contiene la segunda objeción jurisdiccional de Venezuela – demuestra que la objeción planteada
           por la República consistió principalmente en que, a la fecha de la Notificación de Controversia,
           aún no existía una controversia por expropiación indirecta sobre la cual pudiera perfeccionarse el
           consentimiento al arbitraje. A criterio del Comité, resulta revelador del alcance de tal objeción la
           conclusión de Venezuela en los ¶¶ 88 a 90 de su Memorial de Contestación:
                    88. Los párrafos anteriores demuestran que la controversia sobre expropiación que las
                    Demandantes han presentado por primera vez en su Memorial, no existía al 9 de noviembre de
                    2011, la fecha de la Notificación de Controversia en que las Demandantes alegan haber


306
   El Artículo 46 del Convenio del CIADI prevé lo siguiente: “Salvo acuerdo en contrario de las partes, el Tribunal
deberá, a petición de una de ellas, resolver las demandas incidentales, adicionales o reconvencionales que se
relacionen directamente con la diferencia, siempre que estén dentro de los límites del consentimiento de las partes y
caigan además dentro de la jurisdicción del Centro”.
307
   La Regla de Arbitraje 40(1) prevé lo siguiente: “Salvo acuerdo en contrario de las partes, cualquiera de ellas podrá
presentar una demanda incidental o adicional o una reconvención que se relacione directamente con la diferencia,
siempre que esté dentro de los límites del consentimiento de las partes y caigan además dentro de la jurisdicción del
Centro”.
308
    El Comité nota que, si bien el ¶ 132 del MdA se encuentra bajo la § V.B.1 “Extralimitación Manifiesta de
Facultades”, este se refiere a la causal del quebrantamiento grave de una norma fundamental de procedimiento, tal
como lo corrobora la remisión en él incluida (“como se verá más adelante”) y la identidad de contenido entre las
citas de los escritos del Arbitraje Subyacente que se mencionan en el ¶ 132 y en el ¶ 138 bajo la § V.B.2
“Quebrantamiento de una norma fundamental de procedimiento”.
309
      Réplica de Anulación, ¶ 109, nota al pie 133.
310
      Dúplica de Anulación, ¶ 65.

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                    perfeccionado el consentimiento.
                    89. Pero más importante aún para efectos jurisdiccionales, la controversia sobre expropiación
                    indirecta ni siquiera existía a la fecha crítica de la denuncia del Convenio por parte de la República
                    el 24 de enero de 2012. La controversia sobre expropiación indirecta no podía haber existido, aun
                    aceptando como ciertos los argumentos de las Demandantes –que no lo son– hasta el 22 de enero
                    de 2013, un año después de la denuncia del Convenio por parte de la República.
                    90. Cualquier intento de las Demandantes para perfeccionar el consentimiento posterior al 24 de
                    enero de 2012 no puede ser utilizado para conferirle jurisdicción al CIADI. Por lo tanto, las
                    Demandantes no podían haber perfeccionado el consentimiento sobre un reclamo de
                    expropiación indirecta que no existía antes de la notificación de la denuncia del Convenio por parte
                    de la República 311.

257.       Asimismo, el Comité nota que la “cuestión de la expropiación que no fue solicitada en la Solicitud
           de Arbitraje” no fue una objeción relativa a la inadmisibilidad de un reclamo adicional, como
           pretende Venezuela en este procedimiento, sino uno de los argumentos propuestos para
           demostrar que, a la fecha de tal Solicitud, aún no existían los eventos que pudieran configurar una
           expropiación indirecta. Esto surge con claridad de los ¶¶ 100, 101 y 103 de la Dúplica de
           Venezuela 312:
                    100. […] Con respecto a un reclamo de expropiación indirecta, en la Solicitud de Arbitraje las
                    Demandantes reservaron el derecho a presentar reclamos adicionales contra la República en caso
                    que sucedieran medidas adicionales[.]
                    101. En su Memorial, las Demandantes alegaron que una expropiación indirecta se cristalizó el 22
                    de enero de 2013. Por lo tanto, es claro que a la fecha crítica de la denuncia del Convenio (24 de
                    enero de 2012), todavía no estaban presentes los eventos que podrían sustentar un reclamo de
                    expropiación indirecta. […] Por lo tanto, la Notificación de Controversia presentada el 7 de
                    noviembre de 2011 fue inválida con respecto a un reclamo de expropiación.
                    103. En todo caso, el Tribunal no tiene jurisdicción porque para la fecha en que las Demandantes
                    presentaron por primera vez un reclamo de expropiación en su Memorial, ya era demasiado tarde,
                    por dos razones independientes. Primero, la República ya había denunciado el Convenio [...]. Y
                    segundo, también era demasiado tarde porque la República ya había dejado de ser un Estado
                    Contratante del Convenio a la fecha de la presentación de la Solicitud de Arbitraje, por lo cual no
                    se podía iniciar un reclamo de expropiación ante el CIADI por la aplicación independiente del
                    artículo XI(2)(b) del Acuerdo, que requiere que ambos Estados Parte del Acuerdo (Venezuela y
                    España) deben ser parte del Convenio en la fecha del sometimiento de una controversia a un
                    arbitraje CIADI.

258.       Por su parte, el Tribunal entendió la segunda objeción jurisdiccional de la República en los
           términos precisos en que había sido planteada, es decir, como basada en la inexistencia del
           consentimiento al arbitraje sobre el reclamo por expropiación al momento de la Notificación de
           Controversia. Esto se aprecia en el resumen de la posición de Venezuela en los ¶¶ 153 a 157 del
           Laudo y, en particular, de los siguientes pasajes:
                    153. Segundo, Venezuela alega que no existe jurisdicción para que el Tribunal pueda decidir el
                    reclamo de expropiación indirecta, en la medida en que la misma no existía en la fecha crítica de
                    la denuncia del Convenio CIADI, el 24 de enero de 2012 […].


311
      Memorial de Contestación de Venezuela, ¶¶ 88-90 (R-221).
312
      Dúplica de Venezuela, ¶¶ 100, 101, 103 (R-222).

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                  154. Las Demandantes tampoco incluyeron un reclamo sobre expropiación en su Solicitud de
                  Arbitraje. Las Demandantes presentaron alegaciones bajo los Artículos III, IV y VII del APPRI.
                  Adicionalmente, la reserva de derechos de las Demandantes indica que lo sucedido hasta la fecha
                  de la Solicitud de Arbitraje no era suficiente para fundamentar un reclamo de expropiación. […]
                  156. Según Venezuela, las afirmaciones de las Demandantes son el mejor testimonio de que los
                  hechos ocurridos cumulativamente antes del 22 de enero de 2013 no habían representado la
                  pérdida de control de Monaca y Demaseca. Por lo tanto, no pudo existir consentimiento
                  perfeccionado sobre un reclamo de expropiación. La controversia sobre expropiación indirecta no
                  existía a la fecha crítica de la denuncia del Convenio CIADI por parte de Venezuela […].

259.     Por consiguiente, como se desprende de los pasajes citados, la República nunca incluyó, como
         parte de su segunda objeción jurisdiccional, un cuestionamiento relativo a la inadmisibilidad del
         reclamo por expropiación en los términos del Artículo 46 del Convenio del CIADI o de la Regla de
         Arbitraje 40.
260.     Esta conclusión sobre la cuestión preliminar evidenciada en el ¶ 253 supra conlleva la
         desestimación de ambas causales invocadas por Venezuela.
261.     En cuanto a la extralimitación de facultades, incluso si el Artículo 46 del Convenio del CIADI y la
         Regla de Arbitraje 40 hubieran sido aplicables al reclamo por expropiación presentado por Valores
         y Consorcio en su Memorial de Demanda, la República debería haber objetado su violación en los
         términos de la Regla de Arbitraje 41(1) 313. Al no haberlo hecho, no puede ahora cuestionar que el
         Tribunal haya asumido jurisdicción sobre un reclamo cuya inadmisibilidad no fue planteada
         oportunamente.
262.     En cuanto al quebrantamiento de una norma fundamental, Venezuela no puede cuestionar en
         este procedimiento que el Tribunal haya omitido pronunciarse sobre una “objeción de
         inadmisibilidad” que nunca fue planteada.
263.     Adicionalmente, el Comité señala que incluso Venezuela reconoce implícitamente, en el ¶ 111 de
         la Réplica de Anulación, que no presentó una objeción de admisibilidad. En efecto, Venezuela
         sostiene allí que “[s]i las Demandadas en Anulación hubieran presentado el reclamo por
         expropiación como lo que era, es decir un reclamo adicional, la República habría actuado según lo
         prescripto por la Regla de Arbitraje 40(3)”.
264.     En opinión del Comité, este argumento de la República ignora que el reclamo por expropiación
         fue presentado como adicional, ya que Valores y Consorcio especificaron que lo habían
         introducido, inter alia, en los términos de la Regla de Arbitraje 40. Esto lo reconoció la propia




313
   La Regla de Arbitraje 41(1) dispone lo siguiente: “Toda excepción que la diferencia o una demanda subordinada
no cae dentro de la jurisdicción del Centro o que, por otras razones, no es de la competencia del Tribunal, deberá
oponerse lo antes posible. La parte que oponga la excepción deberá presentársela al Secretario General a más tardar
antes del vencimiento del plazo fijado para la presentación del memorial de contestación o, si la excepción se refiere
a una demanda subordinada, para la presentación de la réplica, a menos que la parte no haya tenido conocimiento
entonces de los hechos en los que se funda la excepción”.

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           República en el MdA 314 en contradicción con su argumento de la Réplica de Anulación. A la luz de
           esto, si Venezuela consideraba que el reclamo no era admisible, debería haberlo planteado lo
           antes posible y en todo caso directamente en su Memorial de Contestación tal como dispone la
           Regla de Arbitraje 41(1), no siendo necesario que se active un procedimiento especial al efecto.
265.       En conclusión, el Comité considera que la República no ha probado que, al asumir jurisdicción
           sobre el reclamo por expropiación, el Tribunal se haya extralimitado en sus facultades o haya
           quebrantado una norma fundamental de procedimiento.

           C.       SOBRE EL TEST DE NACIONALIDAD EN LA CUARTA OBJECIÓN JURISDICCIONAL

266.       En el Laudo, el Tribunal rechazó la cuarta objeción jurisdiccional de la República, que se basaba
           en el argumento de que Valores y Consorcio no tenían la nacionalidad española requerida por el
           APPRI 315. Al respecto, Venezuela sostiene que la decisión del Tribunal con respecto a la aplicación
           del test de nacionalidad se ve afectada por los vicios de falta de expresión de motivos y
           quebrantamiento de una norma fundamental de procedimiento.

                    1.       Argumentos de Venezuela

                                      Falta de motivación

267.       En cuanto al vicio de falta de motivos en relación con la decisión del Tribunal sobre la cuarta
           objeción jurisdiccional, Venezuela explica que este se configura porque el Tribunal ha basado su
           decisión en “conclusiones” contradictorias. Según la República, la contradicción consiste en que,
           en un primer momento, el Tribunal sostuvo que el criterio previsto en el APPRI para determinar
           la nacionalidad de los inversores personas jurídicas era el de constitución, con excepción de los
           casos en que hubiera ocurrido un abuso; sin embargo, al momento de aplicar el estándar, el
           Tribunal dijo que el único criterio era el de constitución, sin excepciones 316.
268.       Venezuela afirma que, en su cuarta objeción jurisdiccional, invocó que las Demandadas en
           Anulación estaban abusando de la nacionalidad española, puesto que eran en realidad inversores
           mexicanos, y que a su vez Gruma, el verdadero inversor, estaba abusando de “la supuesta
           nacionalidad de Valores y Consorcio”. A pesar de ello – afirma la República –, el Tribunal no analizó
           estos argumentos, por lo que se contradijo con lo que había manifestado en primer término sobre
           el criterio de nacionalidad en relación con el que admitió la relevancia del abuso 317.
269.       Adicionalmente, la República resalta que Valores y Consorcio no han negado la existencia de la

314
    En el ¶ 131 del MdA, Venezuela sostuvo que las Demandadas en Anulación “reconocieron [la reclamación por
expropiación] como Demanda Subordinada” y citó a tal efecto la nota al pie 322 del Memorial de Demanda de
Valores y Consorcio (R-219), donde estas específicamente afirmaron: “Las Demandantes incluyen una pretensión por
expropiación en este Memorial de conformidad con el Acuerdo, el Convenio CIADI, la Regla 40 de las Reglas
Procesales Aplicables a los Procedimientos de Arbitraje (Reglas de Arbitraje) y la reserva realizada en su Solicitud de
Arbitraje”.
315
      Laudo, § IV.C.4; véanse ¶¶ 72-73 supra.
316
      MdA, ¶¶ 142, 146-147; Réplica de Anulación, ¶¶ 120-121; Tr. Día 1, 72:9-74:4; Tr. Día 2, 295:22-296:14.
317
      MdA, ¶ 147; Réplica de Anulación, ¶¶ 123, 128; Tr. Día 2, 291:16-292:5.

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           contradicción del Tribunal, sino que solo se han limitado a alegar, falazmente, que Venezuela
           nunca había invocado un abuso conforme al derecho internacional. Para controvertir esta
           afirmación de las Demandadas en Anulación, Venezuela presentó en la Réplica de Anulación un
           cuadro con peticiones y argumentos desarrollados por ella en el Arbitraje Subyacente en los que
           argumentaba “un abuso del sistema de protección de inversiones extranjeras conforme el derecho
           internacional”. En la Audiencia de Anulación, insistió en que había realizado “un planteo de abuso
           sobre este tema” en “una sección entera de un memorial” y explicó que la doctrina del abuso no
           se limitaba al ejemplo – a su juicio equivocado – propuesto por el Tribunal en el ¶ 280 del Laudo 318.
270.       Para concluir, Venezuela afirma que, si el Tribunal no hubiera llegado a conclusiones
           contradictorias y opuestas, habría al menos analizado sus argumentos sobre el abuso de la
           nacionalidad española de las Demandadas en Anulación 319.

                                     Quebrantamiento grave de una norma fundamental de
                                     procedimiento

271.       En cuanto al quebrantamiento grave de una norma fundamental de procedimiento, la República
           manifiesta que el Tribunal ha violado la norma que lo obligaba a tratar todas las cuestiones que
           las Partes le han sometido (Artículo 48(1) y (3) del Convenio del CIADI), puesto que no tuvo en
           cuenta la pretensión de Venezuela relativa al abuso de nacionalidad de las Demandadas en
           Anulación y sus respectivas pruebas. Según Venezuela, esto resulta claro del ¶ 283 del Laudo, en
           el que el Tribunal, luego de dar la motivación contradictoria apenas reseñada, “reconoció que no
           trataría una de las cuestiones planteadas”, es decir, la relativa al abuso. De haber sido tratada,
           esta cuestión – introducida tempestivamente en el Arbitraje Subyacente – habría conducido al
           acogimiento de la objeción jurisdiccional, ya que el mismo Tribunal aclaró que el abuso era una
           excepción al test de nacionalidad que había adoptado 320.

                    2.       Argumentos de Valores y Consorcio

272.       Las Demandadas en Anulación argumentan preliminarmente que Venezuela “se basa […] en
           premisas falsas”, ya que la objeción jurisdiccional ratione personae no fue presentada en el
           Arbitraje Subyacente en los mismos términos en que Venezuela la plantea en este procedimiento.
           Por lo tanto, no era razonable que el Tribunal se pronunciara al respecto 321.
273.       Además, Valores y Consorcio señalan que el Tribunal no incurrió en falta de motivación por
           contradicción ni quebrantó una norma de procedimiento al rechazar la cuarta objeción
           jurisdiccional tal y como fue efectivamente planteada por Venezuela en el Arbitraje, ya que su

  Réplica de Anulación, ¶¶ 125-127; Tr. Día 1, 69:12-70:5, 70:18-71:1, 74:5-76:15; Tr. Día 2, 292:6-20, 293:9-294:19,
318

295:4-16.
319
      Réplica de Anulación, ¶ 129.
320
    MdA, ¶¶ 150, 152-153; Réplica de Anulación, ¶¶ 131, 133-137, 140. Respondiendo a una pregunta del Comité,
en la Audiencia de Anulación, Venezuela dijo que, tal como lo demostraba el caso Gold Reserve c. Venezuela (Laudo)
(CLA-103), el Tribunal debería haber analizado las alegaciones de abuso a pesar de que el test de nacionalidad fuera
el de constitución (Tr. Día 1, 79:10-80:21).
321
      MdC de Anulación, ¶¶ 101, 103-105.

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           razonamiento fue coherente y se pronunció sobre todos los argumentos de la República.

                                    Falta de motivación

274.       Valores y Consorcio explican que la cuarta objeción jurisdiccional de Venezuela se basó en que
           ellas no cumplían con el requisito de la nacionalidad del Artículo 25 del Convenio del CIADI porque
           eran meras “empresas de papel” sin conexión genuina con España. Para Venezuela, el verdadero
           inversor era Gruma, nacional de un estado no contratante del CIADI (México) que estaba
           abusando del sistema de protección de inversiones. Las Demandadas en Anulación expresan que
           lo que pidió Venezuela en el Arbitraje Subyacente fue que el Tribunal fuera más allá de los
           requisitos de nacionalidad del APPRI e indagara si había una conexión genuina entre ellas y
           España 322.
275.       Según las Demandadas en Anulación, para rechazar esta objeción, el Tribunal siguió el siguiente
           recorrido argumentativo, carente de contradicciones y perfectamente comprensible para
           cualquier lector. En primer lugar, indicó que, ante la ausencia de una definición de nacionalidad
           en el Convenio del CIADI, debía otorgar deferencia a la definición del APPRI. En segundo lugar,
           encontró que, en este caso, el criterio de nacionalidad del APPRI para personas jurídicas era el de
           constitución de conformidad con el derecho español y expresó que la jurisprudencia internacional
           consideraba que, en tal circunstancia, los tribunales no debían apartarse de este criterio, salvo en
           casos de abuso. En tercer lugar, el Tribunal notó que Valores y Consorcio eran sociedades
           constituidas de conformidad con el derecho español y que Venezuela no había invocado ningún
           motivo para desconocer su personalidad jurídica o indagar sobre el cumplimiento de requisitos
           de nacionalidad adicionales a los del APPRI. Por lo tanto, el Tribunal concluyó que las Demandadas
           en Anulación cumplían con el requisito de constitución del APPRI, que era el único relevante para
           establecer su jurisdicción ratione personae, lo que tornaba irrelevantes las alegaciones fácticas de
           Venezuela 323.
276.       Valores y Consorcio explican que, según la jurisprudencia de numerosos tribunales 324, solo existe
           abuso conforme al derecho internacional cuando se reestructuran las inversiones luego del
           nacimiento de una disputa para beneficiarse de la protección de los tratados de inversiones, o
           cuando se comete fraude. Al no haber Venezuela alegado ninguna de estas circunstancias (ni
           siquiera mencionó la palabra “abuso” en sus escritos), el mero uso de sociedades tenedoras de
           acciones como Valores y Consorcio para la realización de inversiones no constituye un abuso
           conforme al derecho internacional, por más que la República así lo califique con fines retóricos.
           Precisamente por esta falta de alegación, el Tribunal concluyó que Venezuela no había invocado
           ningún motivo para indagar sobre el cumplimiento de requisitos de nacionalidad adicionales a los




322
   MdC de Anulación, ¶¶ 103-104; Dúplica de Anulación, ¶ 86; Tr. Día 1, 150:3-13, 153:15-154:3; Tr. Día 2, 335:12-
17.
323
      MdC de Anulación, ¶¶ 108-115; Dúplica de Anulación, ¶¶ 85-89.
324
   MdC de Anulación, ¶ 106; Dúplica de Anulación, ¶ 91; Tidewater c. Venezuela (Jurisdicción), ¶ 184 (CLA-011);
Barcelona Traction, ¶ 56 (CLA-120); Gold Reserve c. Venezuela (Laudo), ¶ 252 (CLA-103).

                                                        62
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           del APPRI 325.
277.       En suma, las Demandadas en Anulación afirman que el Tribunal motivó adecuadamente su
           decisión y no incurrió en contradicción.

                                     Quebrantamiento grave de una norma fundamental de
                                     procedimiento

278.       Considerando lo expuesto en la sección anterior, Valores y Consorcio sostienen que el Tribunal no
           violó ninguna norma de procedimiento, ya que sí analizó la cuestión de forma completa y resolvió
           la pretensión de la República teniendo en cuenta sus alegaciones de hecho, aunque las consideró
           irrelevantes debido a que el APPRI no permite indagar si se han cumplido requisitos adicionales a
           los establecidos en su Artículo XI(1)(b). En todo caso, Valores y Consorcio señalan que, incluso si
           hubiera existido una violación de una norma de procedimiento, esta no habría sido grave como
           lo exige el Convenio del CIADI en cuanto no habría tenido un impacto material sobre la decisión.
           En este punto, Valores y Venezuela explican que, aun si hubiera examinado detalladamente las
           alegaciones fácticas de la República, el resultado hubiera sido el mismo ya que, conforme al APPRI
           el único criterio relevante es el de constitución y Valores y Consorcio cumplen con ese requisito. 326

                    3.       Análisis del Comité

279.       Venezuela argumenta que, con motivación contradictoria y sin siquiera haber analizado su
           argumento sobre el abuso de la nacionalidad española, el Tribunal decidió que Valores y Consorcio
           calificaban como inversores españoles y gozaban de la protección del APPRI. Por esta razón, la
           República considera que el rechazo de su cuarta objeción jurisdiccional está viciado por falta de
           motivación y por el quebrantamiento de una norma fundamental de procedimiento.
280.       Por su parte, las Demandadas en Anulación niegan la existencia de ambas causales de anulación.
           Como argumento preliminar, si bien reconocen que el Tribunal no trató la cuestión del abuso,
           afirman que esto fue así simplemente porque Venezuela nunca expresó en el Arbitraje
           Subyacente el argumento de abuso en los términos en los que basa su pedido de anulación.
281.       Para establecer si el argumento preliminar de Valores y Consorcio es correcto, el Comité considera
           oportuno comenzar por comprobar qué invocó Venezuela en el Arbitraje Subyacente, qué dijo el
           Laudo al respecto y qué invoca la República en este procedimiento para luego considerar las
           consecuencias que esto conlleva sobre las causales de anulación invocadas.

                                     ¿El abuso al que se refiere Venezuela en este procedimiento fue
                                     invocado en el Arbitraje Subyacente?

282.       En cuanto a la postura de Venezuela en el Arbitraje Subyacente, el Comité resalta que – tal como
           se desprende de los ¶¶ 161 a 166 del Laudo y del resumen contenido en los ¶¶ 127 y 134 de la
           Réplica de Anulación – las alegaciones de la República estaban dirigidas a demostrar que el

325
      MdC de Anulación, ¶¶ 103, 105-106; Dúplica de Anulación, ¶¶ 90-96; Tr. Día 2, 333:14-334:6.
326
      MdC de Anulación, ¶¶ 117-121; Dúplica de Anulación, ¶¶ 98-100.

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           verdadero inversor era Gruma, sociedad mexicana, y no Valores y Consorcio, a quienes la
           República calificaba como “empresas de papel”. Por tanto, según Venezuela, Gruma no habría
           podido beneficiarse del sistema CIADI, puesto que México no era en esos momentos un Estado
           contratante del Convenio del CIADI. El Tribunal notó que Venezuela también adujo que “[e]l
           cumplimiento del requisito de nacionalidad del Artículo 25 del Convenio CIADI est[aba] por encima
           del término ‘inversores’ del APPRI”. En todo caso, Venezuela consideró que, siendo Valores y
           Consorcio “empresas de papel”, no calificaban como nacionales españoles bajo el derecho
           español.
283.       En cuanto a lo manifestado por el Tribunal, en el Laudo se rechazó la cuarta objeción jurisdiccional
           de Venezuela sobre la base del siguiente razonamiento. Primero, el Tribunal expuso que el
           Artículo 25 del Convenio del CIADI no contiene ningún criterio para determinar la nacionalidad de
           los inversores que sean personas jurídicas, por lo que les corresponde a los Estados establecer los
           requisitos de nacionalidad. En concreto, afirmó que, para decidir si Valores y Consorcio calificaban
           como nacionales de España para beneficiarse de la protección del AAPRI y del Convenio del CIADI,
           debía otorgar deferencia al criterio de nacionalidad de las personas jurídicas establecido en el
           mismo APPRI 327.
284.       Segundo, el Tribunal encontró que el APPRI requería que las Demandadas en Anulación estuvieran
           constituidas de conformidad con las leyes de España y expresó:
                    278. Tratándose de personas jurídicas constituidas fuera de Venezuela, el Artículo I(1)(b) del APPRI
                    establece como único requisito para determinar si tales personas son inversores bajo el Tratado
                    que éstas estén constituidas o debidamente organizadas según el derecho español. En otras
                    palabras, el APPRI adopta el criterio de constitución para establecer si una persona jurídica califica
                    como “inversor” bajo el Tratado.
                    280. […] Por lo tanto, cuando el test de nacionalidad establecido en el tratado correspondiente es
                    el de “constitución” –y no uno de control o conexión genuina, por ejemplo– el tribunal no debe ir
                    más allá de lo dispuesto en el tratado, a menos que haya ocurrido alguna forma de abuso, por
                    ejemplo, si el inversor es una sociedad constituida en un Estado determinado con posterioridad al
                    surgimiento de la controversia, con el fin de obtener provecho de un tratado concluido por ese
                    Estado.

285.       El Comité entiende que en estos dos párrafos, que se complementan mutuamente, el Tribunal
           falló que el único estándar para la determinación de la nacionalidad de los inversores personas
           jurídicas de acuerdo con el Artículo I(1)(b) del APPRI es el de la constitución, excepto en caso de
           abuso. A este respecto – tal como lo demuestran el ejemplo contenido en el mismo ¶ 280 del
           Laudo y la cita al caso Gold Reserve c. Venezuela 328 – el Tribunal especificó que el abuso al que se
           estaba refiriendo (que no está explicitado en el Tratado) era un concreto abuso del criterio de
           constitución para obtener beneficios indebidos, lo que podría llamarse ex post treaty shopping.
286.       Tercero, el Tribunal consideró probado que Valores y Consorcio eran sociedades constituidas en
           España, que las acciones calificaban como inversiones bajo el APPRI y que las Demandadas en
           Anulación eran propietarias de acciones en Monaca y Demaseca desde años antes de que surgiera


327
      Laudo, ¶¶ 270, 271, 273, 275.
328
      Gold Reserve c. Venezuela (Laudo), ¶ 252 (CLA-103).

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           la controversia. Por ello, el Tribunal concluyó:
                    282. La Demandada no ha invocado ningún motivo que justifique desconocer la personalidad
                    jurídica de las Demandantes o indagar por el cumplimiento de requisitos de nacionalidad
                    adicionales a los expresamente establecidos en el Artículo XI(1)(b) [ 329] del APPRI. El Tribunal
                    tampoco encuentra razón alguna para hacerlo.
                    283. Tal como explicó el Tribunal, el criterio de “constitución” establecido en el APPRI es el único
                    criterio relevante, y también suficiente, para establecer su jurisdicción ratione personae, y las
                    Demandantes cumplen con dicho requisito. Por lo tanto, no es necesario que el Tribunal entre a
                    examinar las alegaciones fácticas planteadas por la Demandada en relación con esta objeción
                    jurisdiccional.

287.       Habiendo establecido el alcance de lo invocado por Venezuela en el Arbitraje Subyacente y lo
           decidido en el Laudo, el Comité pasa ahora a examinar qué alega Venezuela en este
           procedimiento de anulación.
288.       Ante este Comité, Venezuela alega que, al argumentar en el Arbitraje Subyacente que Valores y
           Consorcio eran “empresas de papel”, estaba diciendo que se había configurado un abuso del
           “régimen jurídico de protección internacional de inversiones extranjeras”. En línea con esto,
           sostiene que su argumento calificaba como uno de abuso en los mismos términos en que lo
           definió el Tribunal en el ¶ 280 del Laudo 330.
289.       Sin embargo, el Comité no está de acuerdo con esta reconstrucción que Venezuela ahora hace de
           su posición original en el Arbitraje Subyacente. Tal como se ha detallado más arriba 331, el
           argumento planteado por la República en aquel entonces no era, en realidad, un planteamiento
           de abuso del tipo que describió el Tribunal en el ¶ 280 del Laudo, es decir, un ex post treaty
           shopping.
290.       Esto se deduce especialmente de la tabla del ¶ 127 de la Réplica de Anulación 332, que detalla las
           alegaciones de Venezuela acerca del abuso en el Arbitraje Subyacente. El Comité nota que en esta
           tabla solo figura dos veces la palabra “abuso”, que, además, fue utilizada únicamente en la
           audiencia del Arbitraje Subyacente y en el marco de referencias genéricas. Ahora bien, lo más
           relevante para esta decisión es que ambas referencias tienen por objeto las alegaciones fácticas
           relacionadas con la supuesta calidad de “empresas de papel” de Valores y Consorcio, y con la
           calificación de la empresa mexicana Gruma como el verdadero inversor. El Comité entiende,
           entonces, que fue en relación con estos argumentos – y no con el ex post treaty shopping – que
           Venezuela utilizó la expresión “abuso del sistema” durante la audiencia del Arbitraje Subyacente.
291.       Lo anterior fue confirmado por la propia República en el ¶ 128 de la Réplica de Anulación donde
           afirma que, en el Arbitraje Subyacente, ella “efectivamente argumentó la existencia de un abuso,
           en virtud de que el verdadero ‘inversor’ era Gruma”.


329
   El Comité nota que la cita del Artículo obedece a un error de tipeo del Tribunal, ya que la definición de inversores
se encuentra en el Artículo I(1) del APPRI, cuyo literal (b) se refiere a las personas jurídicas.
330
      Réplica de Anulación, ¶¶ 133, 136; Tr. Día 1, 69:12-16, 71:22-72:3, 72:7-20.
331
      Véase ¶ 282 supra.
332
      Réplica de Anulación, págs. 41-45.

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292.       Como resulta evidente, esta hipótesis de abuso es distinta a la que se refirió el Tribunal en el ¶ 280
           del Laudo. Para que su argumento coincidiera con el abuso en los términos del Laudo, Venezuela
           debería haber argumentado que las Demandadas en Anulación, en vista de la disputa y para
           beneficiarse del APPRI y del Convenio del CIADI, habían reorganizado sus inversiones para adquirir
           la nacionalidad española. Y, tal como lo señalan las Demandadas en Anulación, ese argumento no
           fue planteado por la República en el Arbitraje Subyacente 333.

                                     Las consecuencias sobre las causales de anulación

293.       La conclusión a la que acaba de llegar el Comité tiene una consecuencia inmediata sobre la
           configurabilidad de la causal de quebrantamiento de una norma fundamental de procedimiento.
           El hecho de que Venezuela no haya invocado, en el Arbitraje Subyacente, un abuso de la misma
           manera en que lo plantea en este procedimiento de anulación conlleva a que, contrariamente a
           lo que alega, no puede configurarse la “falta de tratamiento” de esta cuestión. Por ende, no existe
           quebrantamiento grave del Artículo 48(1) y 48(3) del Convenio del CIADI.
294.       Asimismo, la mencionada conclusión también conlleva el rechazo del argumento de Venezuela
           con respecto a la falta de motivación.
295.       Para fundar la contradicción del Tribunal, Venezuela invoca el ¶ 283 del Laudo citado arriba. Según
           la República, en ese párrafo el Tribunal habría aplicado un criterio distinto al establecido
           previamente, es decir, el test de “constitución, excepto abuso”, puesto que habría dejado de lado
           la excepción de abuso. 334
296.       El Comité no está de acuerdo con el argumento de Venezuela. Tal como se ha explicado en la
           sección sobre la interpretación del Artículo 52(1)(e) del Convenio del CIADI 335, para determinar si
           en el ¶ 283 del Laudo el Tribunal aplicó coherentemente el criterio de nacionalidad enunciado en
           los ¶¶ 278 y 280, no se puede prescindir de los ¶¶ 281 y 282, ya que es precisamente allí donde
           el Tribunal descartó que se hubiera planteado un argumento referido al abuso.
297.       En el ¶ 282 del Laudo el Tribunal dijo claramente que Venezuela no había invocado “ningún
           motivo que justifique desconocer la personalidad jurídica de las Demandantes o indagar por el
           cumplimiento de requisitos de nacionalidad adicionales” a los establecidos en el AAPRI. Esto se
           vincula con el hallazgo del Tribunal en el ¶ 281 de que Valores y Consorcio detentaban sus
           acciones en las Compañías “desde años antes de que surgiera la controversia”.
298.       El Comité considera que estas manifestaciones del Tribunal equivalen a constatar que la República
           no había invocado en el Arbitraje Subyacente un abuso tal como había sido definido en el ¶ 280
           del Laudo (ex post treaty shopping).
299.       En suma, no hay ninguna contradicción en el razonamiento del Tribunal en cuanto al estándar de

333
    El Comité nota que es irrelevante si el ejemplo del Tribunal para explicar su concepto de abuso es correcto o
equivocado – como sostuvo Venezuela en la Audiencia (Tr. Día 1, 74:21-76:15) –, ya que, incluso siendo equivocado,
se trataría de un error de derecho irrevisable por este Comité.
334
      Réplica de Anulación, ¶¶ 131-137.
335
      Véase ¶ 190 supra.

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           nacionalidad identificado y el efectivamente aplicado. Por un lado, en los ¶¶ 278 y 280 del Laudo,
           el Tribunal manifestó que el estándar era el de “constitución, excepto abuso”; por el otro, en los
           ¶ 281 y 282, sostuvo que no se había invocado un abuso en los términos delineados en el ¶ 280.
           Es por ello que, en el ¶ 283, el Tribunal explicó que, es este caso específico, la nacionalidad se
           debía decidir solamente teniendo en cuenta el criterio de constitución.

                                     Conclusión

300.       En conclusión, el Comité considera que la República no ha probado que el Tribunal haya incurrido
           en falta de motivación o haya quebrantado una norma fundamental de procedimiento con
           respecto a su decisión de rechazar la cuarta objeción jurisdiccional, por lo que su solicitud en este
           punto se debe rechazar.

           D.      SOBRE LA CONDENA CON RELACIÓN AL DECRETO NO. 7.394

301.       En el Laudo, el Tribunal consideró arbitrario – y, por este motivo, violatorio de los Artículos III y IV
           del APPRI – que la República suspendiera indefinidamente el Decreto No. 7.394, que había dado
           inicio al procedimiento expropiatorio de Monaca, y, al mismo tiempo, aplicara algunos de sus
           efectos 336. Con respecto a esta decisión, Venezuela sostiene que el Tribunal incurrió en la causal
           de anulación de falta de motivación.

                   1.       Argumentos de Venezuela

302.       La República sostiene que el Tribunal únicamente consideró la suspensión del Decreto y la
           concurrente aplicación de algunos de sus efectos en relación con el estándar de protección contra
           medidas arbitrarias y discriminatorias del Artículo III(1) en el ¶ 615 del Laudo, que es aquel en el
           que expresó su conclusión sobre la arbitrariedad de tales medidas. Según Venezuela, de esto se
           desprende de manera evidente que la motivación fue inexistente – al punto que incluso las
           Demandadas en Anulación lo admiten –, lo que impide a un lector informado comprender el
           razonamiento del Tribunal 337.
303.       Venezuela afirma que ni siquiera es posible reconstruir un razonamiento implícito en la decisión
           del Tribunal, porque la conclusión de que la suspensión del Decreto No. 7.394 y la simultánea
           aplicación de algunos de su efectos fueron medidas arbitrarias está en contradicción con lo
           decidido por el Tribunal al analizar, y rechazar, el reclamo por expropiación. A criterio de
           Venezuela, la contradicción radica en que, “por un lado, […] el procedimiento de expropiación bajo
           el Decreto 7.394 se encuentra todavía abierto y que eso constituye una medida arbitraria,
           mientras que, por el otro lado […] ese mismo procedimiento que se encuentra abierto no
           constituye una violación del APPRI sobre expropiación en virtud de que ninguno de los efectos del
           Decreto 7.394 puede considerarse definitivo” 338.


336
      Laudo, ¶¶ 565-583, ¶ 615; véanse ¶¶ 76-77 supra.
337
      MdA, ¶¶ 168-171; Réplica de Anulación, ¶¶ 143, 145-148.
338
      MdA, ¶¶ 173-175; Réplica de Anulación, ¶¶ 183-185.

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304.       Por otra parte, Venezuela niega que el Tribunal haya motivado su decisión con respecto al Artículo
           III(1) de manera indirecta, es decir, “incorporando por referencia” en el ¶ 611 del Laudo el análisis
           de las mismas conductas bajo el TJE del Artículo IV. De entrada, la República explica que la
           “doctrina de la ‘incorporación por referencia’” no es pertinente para sustituir la falta de expresión
           de motivos de un laudo en un arbitraje entre un Estado y un inversor 339.
305.       En todo caso, Venezuela rechaza el argumento según el cual el ¶ 611 del Laudo habría incorporado
           la sección dedicada al TJE, puesto que, en ese párrafo, el Tribunal afirmó que algunas de las
           medidas analizadas en relación con el TJE eran también arbitrarias, pero no indicó cuáles ni mucho
           menos asumió que el análisis sobre TJE supliera o completara el análisis específico de las medidas
           bajo el Artículo III 340.
306.       Según la Demandante en Anulación, la pretendida “incorporación por referencia” carece de
           sentido porque el Tribunal reconoció – tal como lo plantearon las Demandadas en Anulación en
           el Arbitraje Subyacente – que las protecciones previstas por los Artículos III(1) y IV eran distintas
           y generaban obligaciones diversas. Por lo tanto, si fuera cierto que, en el ¶ 611, el Tribunal hubiera
           “incorporado por referencia” los razonamientos vertidos sobre el TJE, se caería en flagrante
           contradicción con el reconocimiento de que ambas protecciones eran distintas 341.
307.       Venezuela también destaca que las Partes están de acuerdo en que el estándar de protección
           contra medidas arbitrarias bajo el Artículo III es el del caso ELSI de la Corte Internacional de
           Justicia 342, según el cual una medida es arbitraria cuando configura una “inobservancia deliberada
           del debido proceso de ley”. Al ser este un estándar alto, Venezuela argumenta que no le bastaba
           al Tribunal con utilizar su interpretación en relación con el TJE para justificar que las medidas eran
           arbitrarias bajo el Artículo III(1), sino que se requería un análisis separado y específico al respecto.
           Por esta razón, la República sostiene que es contradictorio que Valores y Consorcio pretendan
           solventar la falta de motivación del Tribunal respecto a las medidas supuestamente arbitrarias
           bajo el estándar del Artículo III(1) confundiendo este estándar con el TJE 343.
308.       Adicionalmente, tampoco podría incorporarse por referencia el razonamiento bajo el TJE porque,
           para Venezuela, el Tribunal tampoco expresó motivos para considerar violatoria del TJE la
           suspensión del Decreto No. 7.394 y la simultánea aplicación de algunos de sus efectos. La
           República explica que el reclamo por TJE de Valores y Consorcio se basó en que las medidas de
           Venezuela les hacía imposible distribuir dividendos, aprobar estados financieros, nombrar o
           remover directores o administradores, vender las acciones de Monaca y Demaseca, o disponer de
           sus activos. Sin embargo, el Tribunal solamente aceptó que Venezuela había impedido a las
           Demandadas en Anulación disponer de sus activos y rechazó expresamente el resto de las
           quejas 344.

339
      Réplica de Anulación, ¶¶ 149-150.
340
      Réplica de Anulación, ¶¶ 151-154; Tr. Día 1, 94:6-20.
341
      MdA, ¶¶ 177-178; Réplica de Anulación, ¶¶ 155-161; Tr. Día 1, 93:2-7.
342
      ELSI (RLA-252).
343
      Réplica de Anulación, ¶¶ 162-164.
344
      MdA, ¶¶ 179-187; Réplica de Anulación, ¶¶ 165-169; Tr. Día 1, 96:2-97:11.

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309.       No obstante, para Venezuela, la conclusión de que las Demandadas en Anulación estaban
           impedidas de disponer de sus activos no está sustentada en la única fuente de prueba en la que
           el Tribunal se basó, esto es, la declaración del experto legal de Venezuela en el Arbitraje
           Subyacente. La República manifiesta que el experto nunca confirmó que el Decreto hubiera
           impedido a Valores y Consorcio cambiar el objeto social de Monaca y Demaseca, cambiar su línea
           de negocios, retirar equipos fuera de Venezuela y dejar de hacer inversiones, al contrario de lo
           que decidió el Tribunal 345.
310.       Por último, Venezuela afirma que el Tribunal incurrió en contradicción al considerar, por un lado,
           que las restricciones del Decreto No. 7.394 fueron arbitrarias y, por el otro, que la República podía
           legítimamente imponer “el cumplimiento de políticas públicas relacionadas con fines esenciales
           del Estado”. A criterio de la República, el Tribunal nunca tomó una decisión sobre si la suspensión
           del procedimiento expropiatorio era imputable a ella. Así, como el Tribunal consideró que los fines
           del Decreto eran legítimos y que el procedimiento expropiatorio se suspendió con causa
           justificada, “no puede ser ilegítimo mantener algunos [de sus] efectos […] para asegurar los bienes
           que pretenden protegerse” 346.

                    2.      Argumentos de Valores y Consorcio

311.       Las Demandadas en Anulación sostienen que el Tribunal fundamentó adecuadamente su decisión
           de considerar que la aplicación de algunas restricciones del Decreto No. 7.394, sumada a la
           suspensión indefinida del proceso expropiatorio sin que Venezuela mostrara voluntad de
           concluirlo o revocar el Decreto, constituyó una conducta arbitraria violatoria de los Artículos IV y
           III(1) del APPRI.
312.       Con relación al Artículo IV, Valores y Consorcio explican que una simple lectura de la § V.B.3 del
           Laudo permite a un lector informado comprender cómo llegó el Tribunal a la conclusión de que
           Venezuela no había otorgado un TJE a sus inversiones. El Tribunal primero estableció cuál era el
           estándar aplicable al TJE bajo el Artículo IV y aclaró que este incluía, inter alia, la obligación de no
           actuar de forma arbitraria o discriminatoria. A continuación el Tribunal analizó el conjunto de los
           hechos sometidos a su consideración y destacó lo siguiente: (i) Venezuela inició el procedimiento
           expropiatorio en mayo de 2010 a través del Decreto No. 7.394; (ii) dicho proceso se suspendió en
           agosto de 2010 para que las Partes pudieran entablar negociaciones amistosas y se mantuvo
           suspendido por varios años; (iii) Valores y Consorcio intentaron impulsar las negociaciones; (iv) la
           República transfirió la responsabilidad de las negociaciones de un funcionario a otro sin
           justificación; y (v) Venezuela entendió que, a pesar de la suspensión del Decreto, eran aplicables
           algunas de las restricciones sobre los bienes de Monaca y Demaseca. Luego de considerar los
           hechos y el derecho, el Tribunal concluyó que Venezuela había violado su obligación de TJE al
           haber mantenido suspendido el procedimiento expropiatorio iniciado con el Decreto por casi diez
           años sin impulsarlo y, al mismo tiempo, haber aplicado algunas de las restricciones de tal



345
      MdA, ¶¶ 193-196; Réplica de Anulación, ¶¶ 170-178.
346
      MdA, ¶¶ 188-189; Réplica de Anulación, ¶¶ 181-182; Tr. Día 1, 88:17-90:11.

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           Decreto 347.
313.       Las Demandadas en Anulación señalan que, ante lo evidente del razonamiento del Tribunal,
           Venezuela “inventa contradicciones” e invoca una falta de motivación inexistente. En primer
           lugar, contrariamente a lo que afirma la República, el Tribunal no se basó solo en el testimonio
           del experto legal de Venezuela en el Arbitraje Subyacente para considerar que el Decreto imponía
           restricciones a los bienes de Monaca y Demaseca, sino que tuvo en cuenta múltiples oficios con
           los que funcionarios de la República ordenaban tales restricciones 348.
314.       En segundo lugar, no es cierto que el Laudo considerase que las restricciones fueran por sí mismas
           violatorias del TJE, sino que concluyó que lo eran con relación a la suspensión indefinida del
           procedimiento expropiatorio que la misma Venezuela tenía la obligación de impulsar 349.
315.       En tercer lugar, es falso que el Tribunal no se pronunciase sobre cómo se había llegado a la
           suspensión del procedimiento expropiatorio ni expresase si tal suspensión era imputable a la
           República. Para Valores y Consorcio, el Tribunal dijo claramente que le correspondía a la República
           impulsar las negociaciones o levantar la suspensión del procedimiento 350.
316.       En cuarto lugar, Valores y Consorcio afirman que no es contradictoria la conclusión del Tribunal,
           bajo el estándar de expropiación, de que el Decreto no era irreversible y, bajo el de TJE, de que el
           procedimiento expropiatorio estaba aún abierto y por eso era una medida arbitraria. Señalan que
           la comparación propuesta por Venezuela “no es válida”, porque en cuanto al reclamo de
           expropiación, el Tribunal concluyó que ellas no habían probado la pérdida de control de Monaca
           y Demaseca en forma definitiva, puesto que el Decreto no tenía efectos irreversibles. En cambio,
           al analizar el reclamo por TJE, el Tribunal expresó que la República debía impulsar el
           procedimiento y determinar el momento en que las negociaciones habían llegado a su fin, y que,
           por ende, Venezuela actuó arbitrariamente al mantenerlo suspendido indefinidamente y aplicar
           las restricciones 351.
317.       En cuanto a la condena a Venezuela por violación del Artículo III(1), las Demandadas en Anulación
           sostienen que el razonamiento del Tribunal puede comprenderse sin dificultad. El Tribunal
           primero determinó el alcance del Artículo III(1), tras lo cual “incorporó por referencia”, en el ¶ 611
           del Laudo, el análisis fáctico realizado en la sección sobre TJE y expresó que algunas de las medidas
           allí analizadas eran por sí mismas arbitrarias, estando entre ellas la suspensión indefinida del
           procedimiento expropiatorio y la simultánea aplicación de algunas restricciones del Decreto 352.
318.       Valores y Consorcio sostienen que, ante este análisis lógico y comprensible del Tribunal, la
           República intenta decir que sería contradictorio remitirse a lo expresado bajo el estándar del TJE,
           porque el Tribunal había indicado que ambos estándares eran independientes. Para ellas, esto no


347
      MdC de Anulación, ¶¶ 140-142, 146-151; Dúplica de Anulación, ¶¶ 134-137; Tr. Día 1, 186:2-187:11.
348
      MdC de Anulación, ¶¶ 143-145; Dúplica de Anulación, ¶¶ 138-142; Tr. Día 1, 189:1-190:2.
349
      Dúplica de Anulación, ¶ 143.
350
      Dúplica de Anulación, ¶ 144.
351
      Dúplica de Anulación, ¶¶ 145-148.
352
      MdC de Anulación, ¶ 152; Dúplica de Anulación, ¶¶ 149-151.

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           significa que el análisis de uno sea irrelevante para el otro, en especial porque el Tribunal
           determinó que el Artículo IV comprende el deber de no actuar de forma arbitraria y el Artículo
           III(1) prohíbe más concretamente las medidas arbitrarias. Así, era razonable y acorde con los
           principios de economía procesal que el Tribunal se remitiera a las conclusiones fácticas acerca del
           estándar de TJE 353.
319.       Por último, las Demandadas en Anulación niegan que el Tribunal haya adoptado el estándar del
           caso ELSI 354, que equipara la arbitrariedad a la “inobservancia deliberada del debido proceso de
           ley”. En realidad, basándose en los casos Azurix c. Argentina 355 y Lauder c. República Checa 356, el
           Tribunal indicó que el estándar de arbitrariedad comprende medidas “que no tienen sustento en
           la razón, los hechos o el derecho”. Por lo tanto, cuando determinó que la suspensión indefinida
           del procedimiento expropiatorio y la simultánea aplicación de algunas restricciones del Decreto
           fueron arbitrarias, el Tribunal aplicó el estándar previamente decidido, por lo que no le
           corresponde al Comité reemplazar el análisis jurídico y fáctico del Tribunal 357.

                    3.       Análisis del Comité

320.       El Tribunal consideró que la suspensión del Decreto No. 7.394 y la simultánea aplicación de
           algunos de sus efectos no tenían sustento en la razón, por lo que eran medidas arbitrarias. Por
           ende, concluyó que Venezuela había violado el Artículo IV del APPRI y, por los mismos motivos,
           también el Artículo III(1).
321.       Con respecto a la decisión sobre el Artículo III(1), la República sostiene que existe una ausencia
           total de expresión de motivos y que tampoco es posible reconstruir un razonamiento implícito.
           Por un lado, esta decisión contradice la relativa al reclamo por expropiación y, por el otro, no
           incorpora aquella relativa al Artículo IV, que, por sí misma, está afectada por falta de motivación.
322.       Por su parte, las Demandadas en Anulación manifiestan que la decisión sobre el Artículo III(1) fue
           motivada a través de la incorporación del análisis referido al Artículo IV, debido a que las medidas
           cuestionadas bajo ambos estándares eran las mismas. Valores y Consorcio también niegan que la
           decisión sobre el Artículo IV no esté debidamente motivada.
323.       Debido al vínculo de dependencia que Valores y Consorcio atribuyen a la decisión del Tribunal
           sobre el Artículo III(1) con respecto al Artículo IV, el Comité considera conveniente tratar primero
           la impugnación relativa a este último y luego concentrarse en aquella referida al Artículo III(I).

                                      La decisión sobre el Artículo IV del APPRI

324.       En cuanto al Artículo IV, la República argumenta que el Tribunal se basó únicamente en la opinión
           del experto legal de Venezuela para sustentar que esta había impedido a Valores y Consorcio

353
      Dúplica de Anulación, ¶¶ 153-155; Tr. Día 1, 187:11-19.
354
      ELSI (RLA-252).
355
      Azurix c. Argentina (Laudo) (CLA-058).
356
      Lauder c. República Checa (Laudo) (CLA-040).
357
      Dúplica de Anulación, ¶¶ 156-157.

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           disponer de sus activos, aunque, en realidad, el testimonio del experto no soportaba tal
           conclusión. Además, Venezuela afirma que el Tribunal se contradijo al considerar arbitrarias las
           restricciones del Decreto No. 7.394, pese a haber decidido que la República podía legítimamente
           imponer “el cumplimiento de políticas públicas relacionadas con fines esenciales del Estado”.
325.       El Tribunal inició su análisis determinando el estándar de TJE según el Artículo IV del APPRI, a cuyo
           fin expresó, con apoyo en la jurisprudencia, que este incluía “la obligación de no actuar de forma
           arbitraria o discriminatoria, observar el debido proceso y actuar de forma coherente y
           transparente” 358. Luego de explicar que la determinación de qué era justo o equitativo dependía
           de los hechos del caso, el Tribunal resaltó que examinaría la actuación de Venezuela en conjunto
           para verificar si se había adecuado al TJE 359.
326.       Tras esto, el Tribunal hizo un recuento de las medidas adoptadas por Venezuela 360, entre las que
           se encontraba el Decreto y su posterior suspensión. Sobre esto, en el ¶ 547 del Laudo, expresó:
                      A pesar de la suspensión del proceso expropiatorio –que según la Demandada apenas se encuentra
                      en sus inicios– la Demandada ha entendido, y así lo ha hecho saber a las Compañías, que el Decreto
                      No. 7.394 impone obligaciones de conservación y ciertas restricciones sobre los bienes
                      comprendidos en el Decreto, esto es, de aquellos que sirven para el funcionamiento de Monaca o
                      para la producción, procesamiento agroindustrial y almacenamiento a gran escala de
                      determinados productos. Por ejemplo, la Demandada ha señalado que las Demandantes no
                      pueden realizar actos que impliquen que los bienes de las Compañías se destruyan o queden
                      ‘incapacitado[s] para cumplir el fin por el cual está[n] siendo apropiado[s]’. Según el propio perito
                      de Venezuela, estos actos incluirían (i) cambiar su objeto social; (ii) cambiar o eliminar una línea
                      de negocios; (iii) dejar de hacer inversiones para que sus fábricas y equipos sigan funcionando; y
                      (iv) sacar sus maquinarias y equipos de Venezuela. Según el mismo perito, las Demandantes
                      pueden traspasar el bien, pero el ‘decreto de afectación’ lo perseguirá donde se encuentre. Estas
                      restricciones se mantendrían hasta que haya un acuerdo definitivo respecto de la adquisición de
                      todo o parte de las Compañías o hasta que Venezuela expropie directamente los bienes objeto del
                      Decreto.

327.       Posteriormente, el Tribunal confrontó las medidas con el estándar de TJE 361 y, al llegar al análisis
           del Decreto No. 7.394 362, explicó que a tal fin era esencial examinar cómo se habían desenvuelto
           el proceso expropiatorio y las negociaciones entre las Partes para la adquisición amistosa, y la
           forma en la que se había aplicado el Decreto durante su suspensión 363. El Tribunal encontró que
           Venezuela había generado demoras e interrupciones en las negociaciones y que no había
           cumplido con su responsabilidad de impulsar el procedimiento de expropiación, por lo que el
           retraso de casi diez años en concluirlo no estaba justificado 364.
328.       Por lo tanto, el Tribunal, en el ¶ 583, concluyó que Venezuela había violado el TJE:


358
      Laudo, ¶ 539.
359
      Laudo, ¶ 540.
360
      Laudo, ¶¶ 541-548.
361
      Laudo, ¶¶ 549 ss.
362
      Laudo, ¶¶ 564-583.
363
      Laudo, ¶ 570.
364
      Laudo, ¶¶ 571-579.

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                    […] al mantener suspendido el proceso expropiatorio por casi diez años sin avanzar decididamente
                    en las negociaciones y, al mismo tiempo, entender que aplican aquellos efectos del Decreto No.
                    7.394 que imponen limitaciones a las Compañías, incluyendo restricciones para disponer de
                    algunos bienes (los bienes que según Venezuela están comprendido [sic] en el Decreto) o realizar
                    determinados actos (los que Venezuela señala estar limitados por la aplicación del Decreto).

329.       El Comité nota que el razonamiento del Tribunal resulta sencillo de seguir y comprender para
           cualquier lector informado, por lo que el requisito mínimo de motivación que impone el Artículo
           52(1)(e) del Convenio del CIADI se encuentra cumplido 365. Tal como se verá a continuación, las
           críticas de Venezuela no resultan convincentes.
330.       El primer cuestionamiento de la República se dirige contra lo manifestado en el ¶ 547 del Laudo
           citado arriba: para Venezuela, a fin de concluir que el Decreto imponía obligaciones de
           conservación pese a la suspensión del proceso expropiatorio, el Tribunal solo se basó en la opinión
           del experto legal de Venezuela, pero este nunca reconoció las restricciones que el Tribunal dio
           por probadas.
331.       El Comité rechaza este cuestionamiento por dos motivos. Por un lado, la impugnación de la
           República está dirigida a poner en tela de juicio el valor de convicción otorgado por el Tribunal al
           testimonio de un experto. Por más que Venezuela haya manifestado que no pretende una nueva
           valoración de la prueba 366, su propio planteo demuestra que su objeción se funda, precisamente,
           en eso, tal como se desprende del siguiente pasaje de la Réplica de Anulación:
                    […] ese es justamente el problema que la República puso de manifiesto en su Memorial de
                    Anulación: que la lectura de la declaración del experto legal de la República durante la audiencia
                    demuestra [sic] no puede ser sustento –y mucho menos el único sustento– de la conclusión a la
                    que arribó el Tribunal 367.

332.       El argumento de la Demandante en Anulación cuestiona la conclusión que el Tribunal sacó de lo
           dicho por su experto. Por lo tanto, al tratarse de una disconformidad en relación a cómo el
           Tribunal interpretó el testimonio del experto, lo que Venezuela pretende excede el restringido
           ámbito de control de este Comité, que no puede actuar como juez de apelación, como se ha
           explicado al interpretar el alcance del Artículo 52(1)(e) en el ¶ 177 supra.
333.       Por otro lado, como correctamente lo resaltan Valores y Consorcio, el testimonio del experto no
           fue la única prueba con base en la que el Tribunal concluyó que existían restricciones a la
           disposición de ciertos bienes. Basta comprobar la nota al pie 669 del Laudo para corroborar que
           en el ¶ 547 el Tribunal se basó también en los anexos documentales C-016, C-115 y C-142, que
           contenían oficios de funcionarios de Venezuela dirigidos a las Compañías de los cuales se
           desprende el entendimiento de la República sobre la vigencia del Decreto y el alcance de sus
           restricciones. De lo anterior se sigue que la premisa en la que Venezuela se apoya – i.e., que el
           Tribunal se basó únicamente en un solo medio de prueba – es incorrecta, por lo que ni siquiera
           esto soporta su primer cuestionamiento.
334.       En cuanto al segundo cuestionamiento, Venezuela alega que el Tribunal se contradijo al

365
      Véase ¶ 176 supra.
366
      MdA, ¶ 197.
367
      Réplica de Anulación, ¶ 171.

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           considerar, por una parte, que las restricciones derivadas del Decreto eran arbitrarias y, por otra
           parte, que la República tenía la facultad de imponer restricciones fundadas en razones de políticas
           públicas. Esto último surgiría, según la Demandante en Anulación, del ¶ 467 del Laudo, donde el
           Tribunal sostuvo:
                    […] el Tribunal coincide con la Demandada en que el Estado tiene la facultad de exigir a las
                    empresas, con independencia de si sus accionistas son privados, el cumplimiento de políticas
                    públicas esenciales para el cumplimiento de los fines del Estado, como sería el caso de las políticas
                    alimentarias.

335.       De esto seguiría, según Venezuela, que no podrían considerarse arbitrarias las restricciones del
           Decreto fundadas en razones de políticas alimentarias. Aparentemente, este argumento reposa
           sobre la premisa de que el Tribunal consideró que las restricciones del Decreto eran arbitrarias
           por sí mismas. Para Valores y Consorcio se trata de una premisa incorrecta, puesto que el Tribunal
           nunca expresó que las restricciones del Decreto fueran, por sí mismas, violatorias del TJE.
336.       El Comité concuerda con las Demandadas en Anulación. En efecto, tal como se explicó en el ¶ 328
           supra, el Tribunal consideró que lo que violaba el TJE no era que se aplicaran ciertas restricciones
           del Decreto, sino que ello se hiciera concomitantemente con una suspensión del procedimiento
           expropiatorio por casi diez años. Es claro, entonces, que, teniendo en cuenta la premisa correcta,
           la supuesta contradicción acusada por Venezuela desaparece.
337.       No obstante lo anterior, Venezuela parecería sugerir que, como el Tribunal “no tomó una decisión
           contraria a la posición de la República respecto de cómo se había llegado a la suspensión del
           proceso expropiatorio” 368, el ¶ 467 del Laudo debería conducir a considerar legítimas las
           restricciones, incluso durante la suspensión del Decreto.
338.       En opinión del Comité, también este argumento debe rechazarse porque no toma en cuenta que,
           en el ¶ 569 del Laudo, el Tribunal consideró irrelevante la manera en la que se había llegado a la
           suspensión o si esta había sido lícita o ilícita bajo el derecho venezolano 369. Para el Tribunal, como
           ya se ha explicado, lo determinante fue la aplicación de ciertas restricciones del Decreto a pesar
           de que el procedimiento expropiatorio estuviera suspendido por más de diez años, lo que era
           imputable a Venezuela 370.
339.       Por todo lo anterior, tampoco el segundo cuestionamiento sobre la supuesta contradicción
           relativa al ¶ 467 de Laudo puede ser acogido, por lo que el Comité considera que la República no
           ha probado que la decisión del Tribunal en relación con el Artículo IV del APPRI esté viciada por

368
      Réplica de Anulación, ¶ 181.
369
    Laudo, ¶ 569: “En opinión del Tribunal, la discusión sobre cómo se llegó a la suspensión del proceso no es
determinante en este contexto. Independientemente de quién tomó esta decisión y de si la suspensión del proceso
expropiatorio es o no válida bajo ley venezolana, quedó demostrado en este arbitraje que funcionarios de Venezuela
han interpretado e interpretan que el proceso expropiatorio está suspendido, pero que el Decreto No. 7.394 continúa
aplicando y que el mismo impone ciertas limitaciones a la disposición de los bienes de las Compañías por parte de las
Demandantes, pero permite el uso de otros bienes no afectos a las políticas alimentarias, y que tales limitaciones no
cesarán hasta que haya un acuerdo definitivo respecto de la adquisición de todo o parte de las Compañías, o hasta
que cesen los efectos del Decreto como consecuencia de una decisión judicial, o hasta que Venezuela reanude el
proceso de expropiación y expropie directamente los bienes objeto del Decreto”.
370
      Laudo, ¶¶ 573-580, 582.

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           falta de motivación.

                                    La decisión sobre el Artículo III(1) del APPRI

340.       Al comenzar el análisis de la reclamación por medidas arbitrarias y discriminatorias, el Tribunal
           determinó el alcance del Artículo III(1) y expresó que coincidía con las Demandadas en Anulación
           en que los estándares de los Artículos III(1) y IV eran diferentes, aunque resaltó que estas no
           habían explicado cómo y en qué medida se diferenciaban. Posteriormente, el Tribunal observó
           que, para sustentar su reclamo, Valores y Consorcio habían invocado los mismos hechos
           invocados en su reclamo por TJE – entre los que se encontraba la ejecución del Decreto No. 7.394
           – y el mismo estándar de “arbitrariedad” y “discriminación” 371.
341.       El Tribunal recordó que, al condenar a Venezuela por violar el estándar de TJE bajo el Artículo IV
           había examinado “el conjunto de hechos y circunstancias relacionados con las medidas de
           aseguramiento y administración especial y el Decreto No. 7.394”, llegando a la conclusión, en el
           ¶ 611 del Laudo, que algunas de las conductas analizadas bajo el TJE eran arbitrarias:
                   El Tribunal encuentra que algunas de las medidas o conductas atribuibles a Venezuela alegadas
                   por las Demandantes en el contexto de la reclamación sobre tratamiento justo y equitativo son en
                   sí mismas arbitrarias, es decir, no tienen sustento en la razón, los hechos o el derecho. Tal como
                   lo ha concluido el Tribunal, una misma conducta del Estado puede constituir una violación de
                   distintas obligaciones bajo el APPRI 372.

342.       Dicho esto, el Tribunal pasó a analizar las conductas de Venezuela que Valores y Consorcio
           calificaban como arbitrarias y discriminatorias bajo el Artículo III(1). En particular, en el ¶ 615 del
           Laudo, se refirió al Decreto de la siguiente manera:
                   Resultan igualmente arbitrarias las conductas ya analizadas por el Tribunal de mantener
                   indefinidamente la suspensión del proceso de expropiación y simultáneamente aplicar algunos de
                   los efectos del Decreto No. 7.394 y la ausencia de una decisión –más de seis años después– sobre
                   la admisibilidad o no del recurso con el cual las Demandantes buscan controvertir medidas
                   cautelares que mientras tanto se mantienen indefinidamente, aunque se alega que son
                   temporales.

343.       Venezuela basa su argumento de la falta de motivación en este pasaje, ya que, según ella, el ¶ 615
           es el único párrafo que el Tribunal dedicó al Decreto con relación al Artículo III(1) del APPRI y es
           allí donde expresó su conclusión; para la República, entonces, el Tribunal solo habría expresado
           una conclusión sin que consten las premisas que la justifican. Por su parte, Valores y Consorcio
           cuestionan esa lectura del Laudo sosteniendo que el Tribunal se remitió a la sección sobre TJE, en
           la cual había analizado las mismas medidas.
344.       El Comité coincide con las Demandadas en Anulación y recuerda preliminarmente que el Convenio



371
      Laudo, ¶¶ 607-610.
372
   El Comité nota que en este párrafo el Tribunal hizo referencia a los laudos Azurix c. Argentina (Laudo) y Lauder c.
República Checa (Laudo), sin mencionar el caso ELSI de la Corte Internacional de Justicia. Por lo tanto, no está
fundamentado el argumento de Venezuela (Réplica de Anulación, ¶¶ 162-164) basado en este último caso para
sostener que el Tribunal debería haber realizado un análisis separado de las medidas bajo el Artículo III(1).

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           del CIADI no impone a los árbitros ninguna forma en la que deben presentar su motivación 373. Por
           lo tanto, el Tribunal bien podía remitirse a otra parte del Laudo para fundar su decisión sobre el
           reclamo por la violación del Artículo III(1), sobre todo porque esto no impide a un lector informado
           comprender la motivación del Tribunal al respecto.
345.       Tal como ya se ha explicado 374, al tratar el reclamo por TJE, el Tribunal consideró que Venezuela
           había obrado de manera injustificada durante el proceso expropiatorio, en las negociaciones
           entre las Partes y en la aplicación de las medidas del Decreto. A juicio del Comité, los ¶¶ 565 a
           583 del Laudo permiten a un lector informado entender por qué, en el ¶ 615, el Tribunal consideró
           que la suspensión del proceso expropiatorio y la aplicación simultánea de ciertas restricciones del
           Decreto eran medidas arbitrarias que violaban no solo el TJE, sino también el estándar de
           arbitrariedad del Artículo III(1).
346.       La remisión a la sección sobre TJE para explicar la arbitrariedad bajo el Artículo III(1), que se
           desprende particularmente del uso de la expresión “conductas ya analizadas” al comienzo del
           ¶ 615, se justifica por dos razones. Por un lado, estos estándares – aun siendo protecciones
           diversas con alcance distinto – tienen un núcleo común, pues la arbitrariedad es no solo objeto
           del Artículo III(1), sino también, como sostuvo el Tribunal en el ¶ 539 del Laudo, uno de los
           componentes del TJE. Por otro lado, las medidas objeto de la valoración de la arbitrariedad eran
           las mismas medidas de Venezuela.
347.       Por lo tanto, a criterio del Comité, no existe contradicción entre, por una parte, la genérica
           afirmación del Tribunal en el ¶ 609 del Laudo según la cual las protecciones de los Artículos III(1)
           y IV son distintas y, por otra parte, la calificación del Decreto como arbitrario en violación del
           Artículo III(1) con base en el análisis de la misma medida bajo el Artículo IV. Mucho menos puede
           considerarse que el Tribunal haya incurrido en una ausencia total de motivación. Como se acaba
           de evidenciar, el Laudo contiene un examen detallado y coherente de las medidas que llevaron al
           Tribunal a la conclusión de que la República había violado el Artículo III(1) del APPRI, cumpliendo
           así con el requisito mínimo de motivación del Artículo 52(1)(e) del Convenio del CIADI 375.
348.       Por último, el Comité considera que el argumento de la República según el cual existiría una
           contradicción entre la decisión sobre el Artículo III(1) y aquella sobre el reclamo por expropiación
           con relación al Decreto no está fundamentado 376. La conclusión del párrafo anterior, según la cual
           la decisión del Tribunal acerca del Artículo III(1) está motivada, desmiente la premisa de
           Venezuela de que no sería posible reconstruir un razonamiento implícito del Tribunal acerca de
           su decisión sobre el Artículo III(1). Además, el Comité encuentra que no existe contradicción entre
           las conclusiones del Tribunal, pues el estándar de expropiación bajo el Artículo V y bajo el Artículo
           III(1) son sumamente distintos, pues una misma conducta puede ser arbitraria, y no expropiatoria.




373
      Véase ¶ 195 supra.
374
      Véase ¶ 327 supra.
375
      Véase ¶ 176 supra.
376
      MdA, ¶¶ 172-175.

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                                        Conclusión

349.        Con base en lo anterior, el Comité concluye que las críticas de Venezuela a las decisiones del
            Tribunal sobre los Artículos III(1) y IV con referencia al Decreto No. 7.394 carecen de fundamento
            y, por lo tanto, no se configura la falta de motivación alegada por la República.

            E.       SOBRE EL TRATAMIENTO DE LA PRUEBA EN RELACIÓN CON LA COMISIÓN DE ENLACE

350.        En el Laudo, el Tribunal consideró que una de las medidas arbitrarias de Venezuela consistió en
            imponer, en el marco del procedimiento expropiatorio, una Comisión de Enlace sobre las
            Compañías a través de la cual miembros designados por la República actuarían en coordinación
            con los cargos ejecutivos de aquellas hasta que la expropiación hubiera finalizado 377. Venezuela
            sostiene que al decidir así el Tribunal quebrantó normas fundamentales de procedimiento e
            incurrió en falta de motivación.

                     1.       Argumentos de Venezuela

                                        Quebrantamiento grave de una norma fundamental de
                                        procedimiento

351.        En cuanto a la violación de normas de procedimiento, Venezuela argumenta, en primer término,
            que el Tribunal invirtió la carga de la prueba poniendo en cabeza suya la carga de probar que la
            Comisión de Enlace no había sido arbitraria. A criterio de la República, esto surge con claridad del
            ¶ 614 del Laudo, en el que el Tribunal consideró arbitraria la Comisión de Enlace señalando que
            “no se [había aportado] al arbitraje instrumento alguno que [diera] cuenta de su creación [de la
            Comisión de Enlace], legal o convencional”. De esta manera, según Venezuela, el Tribunal violó
            reglas fundamentales de procedimiento, ya que en el marco del derecho internacional “la carga
            de la prueba es de quien alega la arbitrariedad de la medida” 378.
352.        En segundo término, la Demandante en Anulación afirma que el Tribunal también violó una norma
            de procedimiento al haber ignorado los dichos de las Partes y las pruebas del expediente que
            acreditaban que la Comisión de Enlace había sido creada de común acuerdo entre las Partes, lo
            cual descartaba su carácter arbitrario. En particular, Venezuela se refiere a los siguientes
            documentos: (i) un correo electrónico del 15 de mayo de 2010 del Sr. Homero Huerta Moreno (C-
            078) 379, (ii) una nota de las Demandadas en Anulación al Dr. Reinaldo Muñoz Pedroza, en aquel
            entonces consultor jurídico del Ministerio de Agricultura de la República (C-083) 380, y (iii) un
            correo electrónico del Sr. Rafael Rodríguez, miembro de la Comisión de Enlace, al Sr. Nicolás
            Constantino, de Monaca (C-191) 381. Según Venezuela, estos documentos contradicen
            abiertamente la decisión del Tribunal de considerar que la Comisión de Enlace había sido

377
      Laudo, ¶ 614; véase ¶ 58 supra.
378
      MdA, ¶¶ 156-157, 162; Réplica de Anulación, ¶¶ 190-192.
379
      Correo electrónico del Sr. Homero Huerta Moreno al Sr. Roberto González Alcalá del 15 de mayo de 2010 (C-078).
380
      Carta del Sr. Roberto González Alcalá al Dr. Reinaldo Muñoz del 28 de mayo de 2010 (C-083).
381
      Correo electrónico del Sr. Rafael Rodríguez al Sr. Nicolás Constantino del 29 de julio de 2010 (C-191).

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           impuesta por la República, que fue la razón por la que se declaró arbitraria la conducta de
           Venezuela 382.

                                      Falta de motivación

353.       En cuanto a la falta de motivación, Venezuela se basa en la alegada omisión del Tribunal de
           considerar las pruebas reseñadas en el ¶ 352 supra, que hace “imposible de entender” la decisión
           de considerar arbitraria la Comisión de Enlace 383. Apoyándose en el caso TECO c. Guatemala 384,
           la República afirma que los tribunales deben analizar las pruebas que las partes consideran
           relevantes, aunque solo sea para rechazarlas con la debida justificación acerca de su irrelevancia.
           Al no haber el Tribunal cumplido con ese deber en este caso, Venezuela concluye que el vicio de
           falta de motivación está configurado 385.

                    2.       Argumentos de Valores y Consorcio

354.       Las Demandadas en Anulación consideran que, al afirmar que la Comisión de Enlace era arbitraria,
           el Tribunal no solo no violó ninguna norma de procedimiento, sino que realizó un razonamiento
           comprensible para cualquier lector informado. El Tribunal, después de establecer el estándar
           jurídico aplicable, determinó que la Comisión de Enlace había sido impuesta por Venezuela y había
           afectado el funcionamiento de Monaca y Demaseca, por lo que decidió que esto violaba el
           estándar de arbitrariedad 386.

                                      Quebrantamiento grave de una norma fundamental de
                                      procedimiento

355.       Valores y Consorcio niegan que el Tribunal haya invertido la carga de la prueba en relación con la
           arbitrariedad de la Comisión de Enlace, como sostiene Venezuela tergiversando el ¶ 614 del
           Laudo. La frase en la que se apoya Venezuela (“[e]l Tribunal tampoco está convencido de que la
           Comisión de Enlace se hubiese creado por acuerdo entre las Partes, entre otras razones, porque
           no se aportó al arbitraje instrumento alguno que dé cuenta de su creación, legal o convencional”)
           no constituye una inversión implícita de la carga de la prueba, sino que es solo una conclusión de
           hecho sobre la imposición unilateral de la Comisión de Enlace 387.
356.       El Tribunal llegó a tal conclusión luego de haber comprobado que la figura de la Comisión de
           Enlace no estaba prevista en la ley de expropiación ni en el Decreto No. 7.394, y de haber valorado
           y descartado la prueba ofrecida por Venezuela para sostener que aquella había sido creada por




382
      MdA, ¶¶ 158-161; Réplica de Anulación, ¶¶ 193-198.
383
      MdA, ¶ 166; Réplica de Anulación, ¶ 202; Tr. Día 1, 102:10-103:2, 113:20-114:4.
384
      TECO c. Guatemala (RLA-197).
385
      MdA, ¶¶ 164-166; Réplica de Anulación, ¶¶ 200-203.
386
      MdC de Anulación, ¶ 182; Dúplica de Anulación, ¶¶ 125-127; Tr. Día 1, 184:5-185:21.
387
      Dúplica de Anulación, ¶¶ 107-108.

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            acuerdo de las Partes 388. En particular, el Tribunal tuvo en consideración el anexo C-078 389, que
            demuestra que la creación de la Comisión de Enlace fue simplemente comunicada a las
            Demandadas en Anulación, por lo que su naturaleza no consensual resultaba clara. Valores y
            Consorcio sostienen que Venezuela pretende introducir argumentos nuevos, y por lo tanto
            inadmisibles, sobre ese documento en este procedimiento de anulación 390.
357.        Valores y Consorcio afirman que correspondía a Venezuela refutar su demostración de que la
            Comisión de Enlace fue creada unilateralmente por la República, pero la prueba ofrecida por ella
            no fue considerada “fehaciente” por el Tribunal. En concreto, este examinó los anexos C-191 391 y
            C-083 392 – que contienen comunicaciones de fecha posterior al anuncio de Venezuela de que se
            había creado la Comisión de Enlace –, pero no aceptó que constituyeran prueba del carácter
            consensual de la Comisión. Además, valoró el hecho de que no se había aportado al expediente
            ningún documento que diera cuenta de la creación de tal Comisión 393.
358.        En conclusión, a criterio de las Demandadas en Anulación, Venezuela solo pretende reabrir el
            debate sobre las conclusiones de hecho a las que llegó el Tribunal luego de haber valorado las
            pruebas del expediente sin haberles dedicado la atención o el espacio que la República hubiera
            querido. Sin embargo, Valores y Consorcio expresan que esto de ninguna manera significa que el
            Tribunal haya violado una norma de procedimiento. En todo caso, ellas alegan que el hipotético
            quebrantamiento de una norma fundamental de procedimiento no sería grave, porque la creación
            de la Comisión de Enlace es solo una de las numerosas medidas que el Tribunal consideró
            arbitrarias, en violación del Artículo III(1) 394.

                                       Falta de motivación

359.        Valores y Consorcio afirman que el Tribunal expuso en forma lógica y razonable los motivos en los
            que se basó para concluir que la Comisión de Enlace no había sido creada por acuerdo de las
            Partes y que su imposición constituyó una medida arbitraria. El Tribunal llegó a esta conclusión
            tomando como punto de partida los hechos que consideró probados con base en el expediente,
            sin que hubiera contradicción o frivolidad en su análisis 395.

                     3.       Análisis del Comité

360.        La República afirma que, para concluir que la imposición de la Comisión de Enlace fue arbitraria,
            el Tribunal (i) quebrantó la norma de procedimiento que pone la carga de la prueba de una

388
      MdC de Anulación, ¶¶ 126-127; Dúplica de Anulación, ¶ 118.
389
      Correo electrónico del Sr. Homero Huerta Moreno al Sr. Roberto González Alcalá del 15 de mayo de 2010 (C-078).
390
      MdC de Anulación, ¶¶ 128-129; Dúplica de Anulación, ¶¶ 113-114.
391
      Correo electrónico del Sr. Rafael Rodríguez al Sr. Nicolás Constantino del 29 de julio de 2010 (C-191).
392
      Carta del Sr. Roberto González Alcalá al Dr. Reinaldo Muñoz del 28 de mayo de 2010 (C-083).
393
      MdC de Anulación, ¶¶ 130-132; Dúplica de Anulación, ¶¶ 115-116, 128; Tr. Día 1, 181:22-182:16.
  MdC de Anulación, ¶ 134; Dúplica de Anulación, ¶¶ 123-124; Tr. Día 1, 182:17-183:9; Impregilo c. Argentina, ¶
394

176 (RLA-226); Dogan c. Turkmenistán, ¶¶ 129-130 (RLA-246).
395
      MdC de Anulación, ¶¶ 128-129; Dúplica de Anulación, ¶¶ 125-131.

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           alegación en cabeza de quien la alega e (ii) incurrió en falta de motivación y quebrantó normas de
           procedimiento al ignorar los dichos de las Partes y las pruebas del expediente. Las Demandadas
           en Anulación niegan la existencia de tales vicios y sostienen que los argumentos de Venezuela
           reposan en una lectura incorrecta y parcial del Laudo.
361.       Con base en lo anterior, el Comité estima oportuno analizar los vicios alegados por Venezuela, en
           lugar de examinar separadamente las dos causales de anulación invocadas.

                                     La alegada inversión de la carga de la prueba

362.       Para sostener que el Tribunal invirtió la carga de la prueba con respecto al carácter arbitrario de
           la instauración de la Comisión de Enlace, quebrantando así una norma fundamental, Venezuela
           se basa exclusivamente en el ¶ 614 del Laudo. Allí el Tribunal, analizando la reclamación por la
           violación del Artículo III(1) del APPRI, manifestó:
                    Asimismo, encuentra el Tribunal que la imposición de la Comisión de Enlace fue arbitraria. Las
                    Partes disputan si mediante la Comisión de Enlace Venezuela ‘ocupó’ las Compañías sin cumplir
                    los requisitos establecidos en la Ley de Expropiación. Independientemente de si se configuró o no
                    una ocupación bajo derecho venezolano, la propia Demandada admite –y el Tribunal así lo ha
                    comprobado– que la figura de una ‘comisión de enlace’, como la que se estableció para las
                    Compañías tras la expedición del Decreto No. 7.394 y hasta septiembre de 2013, no está prevista
                    en el Decreto o en la Ley de Expropiación. El Tribunal tampoco está convencido de que la Comisión
                    de Enlace se hubiese creado por acuerdo entre las Partes, entre otras razones, porque no se aportó
                    al arbitraje instrumento alguno que dé cuenta de su creación, legal o convencional, y que
                    establezca con precisión el alcance de sus funciones.

363.       Según Venezuela, de la última frase de este párrafo resulta evidente la inversión de la carga de la
           prueba, que surgiría del hecho de que el Tribunal consideró arbitraria la medida porque no se
           había aportado al arbitraje ningún instrumento que acreditara la constitución legal o convencional
           de la Comisión 396.
364.       Preliminarmente, el Comité señala que, contrariamente a lo que parecería sostener Venezuela, el
           Tribunal no determinó que la única razón para considerar arbitraria la imposición de la Comisión
           de Enlace era que no constaba en el expediente el instrumento de su constitución. Esto fue solo
           un motivo adicional en que el Tribunal apoyó su conclusión. Como resulta claro del ¶ 614 del
           Laudo, el Tribunal primero expresó que era un hecho comprobado que ni el Decreto No. 7.394 ni
           la ley de expropiación preveían la figura de una comisión de enlace. De esta premisa, y
           considerando el estándar de arbitrariedad adoptado en el Laudo 397, se infiere que el Tribunal
           estimó que, al no estar sustentada en el derecho, la imposición de la Comisión de Enlace era
           arbitraria.
365.       En ese contexto, el Comité encuentra razonable la afirmación del Tribunal criticada por Venezuela
           según la cual “no se aportó al arbitraje instrumento alguno” en mérito a la creación legal o
           convencional de la Comisión de Enlace. Puesto que fue Venezuela quien, para rebatir la alegación
           de arbitrariedad de la Comisión (que surgía ya de la falta de previsión en la ley de expropiación o

396
      Réplica de Anulación, ¶¶ 190-191.
397
      Véase ¶ 341 supra.

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           en el Decreto), argumentó que esta había sido creada convencionalmente 398, le incumbía a ella
           probar su alegación. Esto no es sino una aplicación lisa y llana de la regla que obliga a cada parte
           a probar los hechos en que se basa.
366.       Por lo tanto, no puede considerarse que el Tribunal haya invertido la carga de la prueba de la
           arbitrariedad de la medida, por lo que no se configura un quebrantamiento a este respecto.

                                    La alegada omisión en el análisis de las afirmaciones de las Partes y
                                    de las pruebas por ellas aportadas

367.       Además de sostener que la decisión del Tribunal de considerar arbitraria la imposición de la
           Comisión de Enlace fue tomada invirtiendo la carga de la prueba, Venezuela alega que esta
           decisión está viciada porque el Tribunal omitió analizar tanto las manifestaciones de las Partes
           como la prueba del Arbitraje Subyacente que “indicaban claramente [su] carácter consensual” 399.
           Por ende, considera que el Tribunal quebrantó una norma fundamental e incurrió en falta de
           motivación.
368.       Con respecto a las afirmaciones de las Partes, una simple lectura del Laudo muestra que el
           Tribunal las analizó y consideró que, contrariamente a lo afirmado por Venezuela, las Partes no
           coincidían en el carácter consensual de la creación de la Comisión de Enlace. Si el Tribunal hubiera
           interpretado las manifestaciones de Valores y Consorcio en el Arbitraje Subyacente como una
           admisión del carácter consensual, en el ¶ 126 del Laudo no habría expresado que, para ellas, “la
           Comisión de Enlace […] [tenía] su origen y fundamento en las órdenes del Presidente Chávez de
           ‘ocupar’ y ‘recuperar’ las Compañías”. Esto demuestra que el Tribunal consideró las
           manifestaciones de Valores y Consorcio, aunque les dio una interpretación distinta a la que
           sugiere Venezuela en este procedimiento.
369.       En cuanto a la alegada omisión de considerar prueba, Venezuela señala que esta surge – al igual
           que la supuesta inversión de la carga de la prueba – de la última frase del ¶ 614 del Laudo ya
           citado 400.
370.       Antes que nada, el Comité destaca que – tal como se desprende de los ¶¶ 546 y 614 del Laudo –
           el análisis debe partir del hecho de que el Tribunal entendió que, visto que era Venezuela quien
           invocaba el acuerdo sobre la creación de la Comisión de Enlace, le incumbía a ella probarlo
           fehacientemente con base en el instrumento por el cual ambas Partes habían decidido crearla.
371.       Bajo esta premisa, y no siendo controvertido que tal instrumento no se aportó al expediente del
           Arbitraje Subyacente, el Comité estima que no se puede reprochar al Tribunal la falta de
           consideración de pruebas que Venezuela invoca, en particular los anexos C-078, C-083 y C-191 401.
           De todas maneras, la alegada omisión no podría considerarse grave desde el punto de vista de la


  El Comité nota que, en el ¶ 546 del Laudo, el Tribunal consignó específicamente que fue Venezuela quien alegó
398

que la Comisión de Enlace había sido creada por acuerdo de las Partes.
399
      MdA, ¶ 156.
400
      Véase ¶ 362 supra.
401
      Véase ¶ 352 supra.

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            causal del quebrantamiento de una norma fundamental de procedimiento, ya que no hubiera
            tenido el potencial de conducir al Tribunal a un resultado distinto del que llegó, tal como lo
            requiere el Artículo 52(1)(d) según se ha explicado en el ¶ 151 supra 402. Desde la perspectiva de
            la falta de motivación, la supuesta omisión no impediría a un lector informado comprender cómo
            llegó el Tribunal a su decisión, lo que evidencia que la motivación, en realidad, no está ausente.
372.        En cualquier caso, el Comité resalta que, tal como han señalado las Demandadas en Anulación 403,
            las pruebas C-078, C-083 y C-191 fueron mencionadas en los ¶¶ 103 y 106 del Laudo sobre los
            antecedentes de hecho.
373.        En definitiva, en lo que hace a la alegada omisión del Tribunal de tomar en cuenta tanto las
            afirmaciones de las Partes como las pruebas por ellas aportadas, el Comité estima que la queja de
            Venezuela no es nada más que un intento de revisar la valoración de tales afirmaciones y pruebas
            que hizo el Tribunal. Sin embargo, como se ha resaltado arriba 404, esto no está permitido en un
            procedimiento de anulación al amparo del Convenio del CIADI, en el cual un comité no puede
            ingresar en el mérito de la valoración probatoria tal como si fuera una corte de apelación.

                                      Conclusión

374.        A la luz de lo anterior, el Comité concluye que la República no ha probado que el Tribunal
            quebrantó una norma fundamental de procedimiento o incurrió en falta de motivación al
            considerar que la imposición de la Comisión de Enlace por parte de Venezuela era una medida
            arbitraria.

            F.       SOBRE LA DECISIÓN CON RESPECTO A LOS DAÑOS

375.        En el Laudo, el Tribunal consideró que Valores y Consorcio habían sufrido daños a causa de las
            medidas ilícitas de Venezuela y, para cuantificarlos, aplicó una metodología de cálculo con la que
            consideró que las Partes estaban de acuerdo 405. A través de la presente impugnación, la República
            sostiene que el Tribunal incurrió en falta de motivación al no expresar razones para determinar la
            existencia de daños y utilizar una metodología de cálculo no acordada por las Partes, y quebrantó
            una norma de procedimiento al no darle una oportunidad de ser oída sobre la metodología de
            cálculo aplicada en el Laudo.

                     1.      Argumentos de Venezuela

                                      Falta de motivación

376.        Venezuela explica que el Tribunal desestimó el reclamo de Valores y Consorcio por expropiación,
            y descartó que las medidas tomadas por la República, analizadas en la § V.A.3(a-c) del Laudo,
            hubieran destruido el valor de la inversión. En concreto, el Tribunal determinó que (i) el Decreto

402
      Véase ¶ 151 supra.
403
      MdC de Anulación, ¶¶ 129-132.
404
      Véanse ¶¶ 177, 195-196 supra.
405
      Laudo, § VI.

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           No. 7.394 no impedía a las Demandadas en Anulación repartir utilidades o vender sus acciones en
           Monaca y Demaseca, ni afectaba sustancialmente la facultad de disponer de sus bienes; (ii) la
           Comisión de Enlace y la presencia de los administradores especiales no hicieron que Valores y
           Consorcio perdieran el control de su inversión; (iii) la Providencia Administrativa no significó un
           cambio material en las facultades de los administradores especiales; y (iv) la circular del SAREN y
           la falta de actualización de los registros de inversión extranjera por parte de la SIEX no impidieron
           la celebración de actos societarios válidos de las Compañías 406.
377.       La República afirma que, en consonancia con la desestimación del reclamo por expropiación, el
           Tribunal correctamente consideró que “sería inapropiado aplicar la metodología del total valor
           justo de mercado o de tomar el valor de las Inversiones como cero en el escenario real” para
           determinar la compensación por la violación de los otros estándares de protección del APPRI.
           Venezuela agrega que el Tribunal estimó que el impacto concreto de las medidas violatorias del
           APPRI había sido la depreciación del valor de las acciones de Monaca y Demaseca, y que ningún
           comprador “pagaría el mismo valor de las acciones [...] si no existieran las medidas violatorias del
           APPRI”. Debido a esto, el Tribunal sostuvo que el método de valoración adecuado era tomar la
           diferencia entre su valor bajo un escenario real, que tuviera en cuenta las medidas, y un escenario
           contra fáctico, que no las considerara 407.
378.       Venezuela argumenta que el Tribunal no fundamentó su conclusión de que las medidas causaron
           la depreciación del valor de las acciones. Añade que el Tribunal no explicó por qué habría que
           tener en cuenta lo que pagaría un potencial comprador a los fines de determinar si las
           Demandadas en Anulación habían sufrido daños por las medidas de Venezuela, siendo que estas
           nunca se desprendieron de sus acciones 408.
379.       Con relación al impacto de las medidas, Venezuela señala que hay incompatibilidad entre las
           afirmaciones del Tribunal de que (i) el valor de las acciones de Monaca y Demaseca era menor a
           causa de aquellas y de que (ii) las Demandadas en Anulación nunca fueron privadas de estas
           acciones y que estas no habían perdido la capacidad de generarles ganancias. Según la República,
           es contradictorio que el Tribunal haya decidido que las medidas de Venezuela no constituían
           expropiación pero sí habían generado un impacto negativo en el valor de las inversiones 409.
380.       En cuanto a la metodología de cálculo de los daños, la República sostiene que el vicio radica en
           que el Tribunal calculó los daños basándose en un supuesto acuerdo entre las Partes y sus
           expertos, pese a que el expediente del Arbitraje Subyacente demuestra que este nunca existió.
           En concreto, Valores y Consorcio (i) argumentaron que los daños debían calcularse según el valor
           justo de mercado de Monaca y Demaseca, y que su inversión había sido aniquilada; y (ii) no
           tuvieron en cuenta las medidas previas a la fecha de valuación ni plantearon una cuantificación
           del impacto de las medidas en relación con los estándares de protección del APPRI distintos a la
           expropiación. Venezuela aclara que todos estos puntos fueron criticados y resalta que, además,

406
      MdA, ¶¶ 200-209; Réplica de Anulación, ¶¶ 209-213.
407
      MdA, ¶¶ 209-211; Réplica de Anulación, ¶ 214.
408
      MdA, ¶¶ 211-214, 223.
409
      MdA, ¶¶ 216-221; Réplica de Anulación, ¶¶ 214-218.

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           el Tribunal se contradijo, puesto que en los ¶¶ 675 y 676 expresó las diferencias esenciales entre
           las metodologías propuestas por los expertos de las Partes mientras que, en el ¶ 697, dijo que
           aquellos coincidían 410.
381.       Por otra parte, si bien Venezuela acepta que el Tribunal tiene cierta discrecionalidad en materia
           de cálculo de daños, aduce que esto no descarta por sí mismo la configuración de una causal de
           anulación. Citando al Profesor Schreuer, la República sostiene que el ejercicio de una facultad
           discrecional y el deber de expresar razones corren por carriles distintos, por lo que aquel no exime
           al Tribunal de este 411.
382.       Adicionalmente, la Demandante en Anulación manifiesta que “el resultado de la liquidación de
           daños del Tribunal arrojó resultados absurdos”, ya que el monto de la compensación representa
           casi el 60% del valor propuesto por las Demandadas en Anulación como total de la inversión.
           Según Venezuela, no hay correlación entre esta compensación “por la casi totalidad del valor de
           mercado de la inversión” y las conclusiones del Tribunal de que (i) no hubo expropiación, (ii) la
           inversión no había perdido sustancialmente su valor y (iii) las acciones en Monaca y Demaseca
           todavía podían generar ganancias a Valores y Consorcio 412.

                                       Quebrantamiento grave de una norma fundamental de
                                       procedimiento

383.       Basándose en el caso Pey Casado c. Chile 413, Venezuela sostiene que el Tribunal quebrantó una
           norma fundamental de procedimiento porque determinó que los daños “debían ser estimados en
           relación con lo que un tercero hipotéticamente pagaría por la tenencia accionaria de Consorcio y
           Valores en Monaca y Demaseca” sin darle oportunidad de ser oída al respecto. Según la República,
           el Tribunal calculó los daños en el Laudo aplicando esa metodología sin que las Partes la hubieran
           tratado en el Arbitraje Subyacente. Es más, las Demandadas en Anulación únicamente
           propusieron una metodología de cálculo de daños para su caso de expropiación – con la cual
           Venezuela no concordó –, pero no una metodología alternativa para los demás estándares del
           APPRI. Por lo tanto, la República concluye que el Tribunal, incluso si contaba con cierta
           discrecionalidad en cuanto al cálculo de daños, no estaba facultado para adoptar su propia
           metodología sin concederle a las Partes la posibilidad de expresarse 414.

                     2.       Argumentos de Valores y Consorcio

                                       Falta de motivación

384.       Valores y Consorcio afirman que no se configura la causal de falta de motivación, puesto que


410
      MdA, ¶¶ 227-228, 232-233, 241; Réplica de Anulación, ¶¶ 227-232; Tr. Día 1, 119:3-121:15.
  Réplica de Anulación, ¶¶ 221-222; C. SCHREUER, L. MALINTOPPI, A. REINISCH Y A. SINCLAIR, The ICSID Convention: A
411

Commentary, 2da Ed., 2009, págs. 1235-1236 (RLA-249).
412
      MdA, ¶ 242; Réplica de Anulación, ¶ 233.
413
      Pey Casado c. Chile (Anulación I) (RLA-201).
414
      MdA, ¶¶ 248, 250-254; Réplica de Anulación, ¶¶ 236-237, 240, 242-243; Tr. Día 2, 302:16-303:6.

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           cualquier lector puede comprender cómo el Tribunal determinó el daño sufrido por ellas, su nexo
           causal con las medidas de Venezuela y la metodología para cuantificar la compensación.
385.       Las Demandadas en Anulación explican que el Tribunal, tras decidir que la República había violado
           los Artículos III, IV y VII del APPRI, razonó de la siguiente manera.
386.       Primero, determinó que, a falta de un estándar y una metodología en el APPRI para cuantificar los
           daños por las mencionadas violaciones y teniendo en cuenta que el Artículo XI(5) le da el poder
           de fijar el monto de la indemnización, aplicaría el principio de la reparación integral del derecho
           internacional consuetudinario 415.
387.       Segundo, adoptó la metodología de cálculo de Venezuela y determinó el monto de la
           indemnización teniendo en cuenta la diferencia entre el valor de Monaca y Demaseca en un
           escenario real y uno contra fáctico que no consideraba las medidas ilícitas. El Tribunal reconoció
           que esta metodología era prácticamente idéntica a la de las Demandadas en Anulación y explicó
           que la diferencia entre las Partes radicaba en el valor asignado a Monaca y Demaseca en el
           escenario real, es decir, si la pérdida de su valor había sido total, como sostenían Valores y
           Consorcio, o parcial, como argumentó Venezuela 416.
388.       Contraponiéndose al argumento de Venezuela de que las Partes no estaban de acuerdo en la
           metodología de cálculo, las Demandadas en Anulación señalan que, incluso a falta de acuerdo, la
           decisión del Tribunal sería válida, ya que este gozaba de discrecionalidad para adoptar la
           metodología que considerara adecuada 417.
389.       Tercero, el Tribunal rechazó que en el escenario real el valor de Monaca y Demaseca fuera nulo,
           pero reconoció que las medidas ilícitas de Venezuela, pese a no ser expropiatorias, habían
           obstaculizado el ejercicio de los derechos de las Demandadas en Anulación. El Tribunal también
           consideró que las medidas habían impactado el valor de la inversión, por lo que ningún comprador
           habría pagado por las acciones de Monaca y Demaseca el mismo precio en ambos escenarios.
           Valores y Consorcio explican que, de esta manera, el Tribunal justificó adecuadamente el nexo
           causal y rechazan que exista una contradicción en el razonamiento, puesto que una cosa es la
           pérdida total de valor de la inversión, descartada por el Tribunal, y otra distinta es la disminución
           de valor. Posteriormente, el Tribunal determinó el valor del escenario real en US$ 192,6 millones,
           que resultaba del valor propuesto por Venezuela – basado en el precio al cual Gruma adquirió la
           totalidad de las acciones que un tercero tenía en Valores y Consorcio en diciembre de 2012
           (semanas antes de la fecha de valuación del reclamo) – menos el monto correspondiente a deuda
           por regalías 418.
390.       Cuarto, el Tribunal calculó el valor en el escenario contra fáctico recurriendo a un modelo de flujo
           de fondos descontados, que ambas Partes habían utilizado, aunque con diferencias sustanciales
           en algunos aspectos. Tras analizar las variables propuestas por las Partes, el Tribunal aplicó los


415
      MdC de Anulación, ¶ 167; Dúplica de Anulación, ¶¶ 163-164.
416
      MdC de Anulación, ¶¶ 168-170; Dúplica de Anulación, ¶¶ 178-182.
417
      MdC de Anulación, ¶¶ 181-183; Dúplica de Anulación, ¶ 177.
418
      MdC de Anulación, ¶¶ 171-175; Dúplica de Anulación, ¶¶ 168-171.

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           valores que estimó adecuados y obtuvo como resultado que el valor de Monaca y Demaseca en
           el escenario contra fáctico era US$ 572,8 millones 419.
391.       Determinados los valores en ambos escenarios, el Tribunal calculó su diferencia en US$ 380,2
           millones, a lo cual agregó US$ 50,2 millones relacionados con la medida de redireccionamiento
           del maíz. Así, el monto total de la compensación fue US$ 430,4 millones 420.
392.       Con base en este resumen del Laudo, Valores y Consorcio concluyen que la decisión del Tribunal
           está debidamente fundamentada en cuanto a la existencia de daños y la modalidad utilizada para
           calcularlos. Agregan que no existe contradicción en desestimar el reclamo por expropiación y, al
           mismo tiempo, compensar con US$ 430,4 millones, ya que esta suma representa casi US$ 200
           millones menos que lo reclamado en el Arbitraje Subyacente 421.

                                     Quebrantamiento grave de una norma fundamental de
                                     procedimiento

393.       En cuanto al supuesto quebrantamiento de una norma fundamental de procedimiento, las
           Demandadas en Anulación sostienen que la República se apoya en dos premisas falsas.
394.       En primer lugar, no es cierto, como pretende Venezuela, que las Partes solamente hayan debatido
           sobre un modelo de valuación de daños derivados de una expropiación y no de los demás
           estándares de protección del APPRI. Valores y Consorcio argumentaron expresamente en el
           Arbitraje Subyacente la misma metodología que el Tribunal terminó aplicando, lo cual fue
           reconocido en el ¶ 703 del Laudo. Tal modelo de valuación fue ampliamente debatido entre las
           Partes, al punto que los expertos de daños de Venezuela propusieron la misma metodología de
           evaluación de daños que los expertos de las Demandadas en Anulación, aunque “con variables de
           diferente valor”. Por ende, es evidente que la República tuvo oportunidad de defenderse al
           respecto, tal como efectivamente lo hizo 422.
395.       En segundo lugar, es falso que Valores y Consorcio no hayan cuantificado los daños causados por
           la violación de estándares de protección distintos de la expropiación. De hecho, ellas sostuvieron
           que los daños, sea por expropiación o por violaciones no expropiatorias, debían cuantificarse
           calculando la diferencia entre el valor de las inversiones en un escenario real y uno contra fáctico,
           y propusieron que el valor en el escenario real era cero. Esto último fue rechazado por el Tribunal,
           que se inclinó por el valor propuesto por Venezuela como ha sido descrito arriba 423.
396.       A todo evento, Valores y Consorcio señalan que el Tribunal no estaba obligado a seguir el método
           de valuación de daños propuesto por las Partes. Basándose en los casos Tidewater c. Venezuela 424



419
      MdC de Anulación, ¶¶ 176-177; Dúplica de Anulación, ¶ 186.
420
      MdC de Anulación, ¶ 178; Dúplica de Anulación, ¶ 186.
421
      Dúplica de Anulación, ¶ 187.
422
      MdC de Anulación, ¶¶ 191-193; Dúplica de Anulación, ¶¶ 189-190.
423
      MdC de Anulación, ¶ 190; Dúplica de Anulación, ¶ 191.
424
      Tidewater c. Venezuela (RLA-232).

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           y Rumeli c. Kazajistán 425, las Demandadas en Anulación explican que el Tribunal contaba con
           amplia discrecionalidad para determinar los daños con base en la mejor evidencia disponible. Por
           lo tanto, aun si el Tribunal no hubiera adoptado la metodología de valuación de las Partes como
           efectivamente hizo, tampoco habría quebrantado una norma fundamental de procedimiento 426.

                    3.       Análisis del Comité

397.       Venezuela imputa dos causales de anulación a la decisión del Tribunal sobre daños por violación
           de los Artículos III, IV y VII del APPRI: por un lado, sostiene que hubo falta de motivación con
           respecto a la existencia y el método de cálculo de los daños; por el otro, que el Tribunal quebrantó
           su derecho a ser oída sobre la forma en que debía medirse el daño sufrido por Valores y Consorcio.

                                        Falta de motivación

398.       Venezuela alega que el Tribunal incurrió en falta de motivación, ya que (i) no explicó por qué las
           medidas de la República habían causado la depreciación del valor de las acciones de Monaca y
           Demaseca, (ii) se basó en un “hecho desmentido por la realidad procesal como justificación de la
           aplicación de una metodología para calcular los daños” 427 y (iii) se contradijo al condenar a
           Venezuela a pagar “casi el valor total de sus alegadas inversiones” 428 bajo los Artículos III, IV y VII
           del APPRI pese a haber rechazado el reclamo por expropiación.
399.       Por su parte, Valores y Consorcio sostienen que cualquier lector informado puede comprender la
           decisión del Tribunal sobre daños. En particular, afirman que el Tribunal (i) justificó la existencia
           de daños al afirmar que las medidas de Venezuela, si bien no eran equivalentes a una pérdida
           total de valor, habían obstaculizado injustificadamente el ejercicio de los derechos de las
           Demandadas en Anulación reduciendo el valor de las acciones de las Compañías; (ii) aplicó la
           metodología de cálculo de daños propuesta por Venezuela, que coincidía sustancialmente con la
           de Valores y Consorcio; y (iii) no se contradijo con su decisión sobre expropiación al conceder a
           las Demandadas en Anulación una indemnización de US$ 430,4 millones, puesto que esto
           representa casi US$ 200 millones menos de lo solicitado en el reclamo por expropiación.
400.       Para facilitar el análisis, el Comité tratará los cuestionamientos de Venezuela siguiendo el orden
           argumental del Tribunal en el Laudo, por lo que examinará sucesivamente la metodología de
           cálculo, la existencia del daño y el nexo causal, y la alegada contradicción entre lo resuelto
           respecto de los reclamos por expropiación y por las violaciones no expropiatorias del Tratado.

                                        (1)   La metodología para cuantificar los daños

401.       Sobre la cuestión de los daños, el Tribunal notó preliminarmente que el APPRI no prevé un
           estándar y una metodología para las compensaciones por violaciones distintas de la expropiación,


425
      Rumeli c. Kazajistán (RLA-237).
426
      MdC de Anulación, ¶ 194; Dúplica de Anulación, ¶¶ 193-194.
427
      Réplica de Anulación, ¶ 232.
428
      Réplica de Anulación, ¶ 234.

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           pero su Artículo XI(5) 429 le reconoce el poder de fijar el monto de la indemnización en caso de
           incumplimiento del APPRI. Luego señaló que, para cuantificar los daños, aplicaría el principio de
           reparación integral del derecho internacional consuetudinario siguiendo los casos de la Fábrica
           de Chorzów 430 y Gold Reserve c. Venezuela 431, y el Artículo 31 de los Artículos sobre
           Responsabilidad del Estado por Hechos Internacionalmente Ilícitos de la Comisión de Derecho
           Internacional de las Naciones Unidas 432.
402.       El Tribunal aclaró que correspondía a Valores y Consorcio probar la existencia del daño y que el
           Tribunal gozaba de amplia discrecionalidad para determinar el valor probatorio de las pruebas
           tendientes a demostrar el daño, el nexo de causalidad y la metodología aplicable para ordenar la
           indemnización. Con respecto a esto último, el Tribunal manifestó que los tribunales arbitrales
           tienen libertad para optar entre diversos métodos de valuación e incluso para adaptarlos en
           función de los hechos y los argumentos de las partes 433.
403.       Sobre la metodología de valuación para el caso concreto, en el ¶ 697 del Laudo, el Tribunal
           expresó:
                      En el presente caso, los expertos de ambas Partes concuerdan en que la metodología a utilizar
                      para calcular los daños ocasionados a las Demandantes sería la diferencia en el valor del capital
                      accionario de Monaca y Demaseca bajo un escenario real, que incluya el efecto de las medidas
                      violatorias del Tratado, y un escenario contrafáctico, que refleje el valor de las inversiones de las
                      Demandantes sin dichas medidas. (énfasis en el original)

404.       Luego de explicitar las coincidencias de los expertos, el Tribunal concordó con ellos en que el
           método propuesto era apropiado para cuantificar los daños sufridos por Valores y Consorcio, ya
           que su aplicación eliminaría el efecto de las medidas ilícitas de Venezuela y restablecería la
           situación anterior a tales medidas 434.
405.       Con respecto al cuestionamiento según el cual el Tribunal no explicó las razones para aplicar la
           metodología de cálculo descrita arriba, el Comité nota que Venezuela se basa en que el Tribunal
           solamente habría adoptado esa metodología debido a la concordancia de los expertos de las
           Partes al respecto, tal como lo dijo en el ¶ 697 del Laudo. Venezuela, sin embargo, sostiene que
           en realidad no hubo acuerdo entre los expertos y que existe contradicción entre lo manifestado
           en los ¶¶ 675 y 676 (que resumen la posición de Venezuela), por un lado, y el ¶ 697 citado arriba,
           por el otro. Por ende, para la República, la metodología utilizada para calcular los daños estaría
           desprovista de fundamento en el Laudo.
406.       A criterio del Comité, Venezuela no ha logrado probar el vicio alegado, ya que su argumento se


429
   El Artículo XI(5) del Tratado dispone: “El laudo arbitral se limitará a determinar si existe incumplimiento por la
Parte Contratante de sus obligaciones bajo el presente Acuerdo, si tal incumplimiento de obligaciones ha causado
daño al inversor de la otra Parte Contratante, y, en tal caso, a fijar el monto de la compensación”.
430
      Fábrica de Chorzów (CLA-077).
431
      Gold Reserve c. Venezuela (Laudo) (CLA-103).
432
      Laudo, ¶¶ 690-694.
433
      Laudo, ¶¶ 695-696.
434
      Laudo, ¶ 700.

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           basa en premisas incorrectas.
407.       En primer lugar, el argumento reposa sobre la premisa de que los tribunales no tienen la potestad
           de adoptar metodologías de cuantificación distintas a las propuestas por las partes. Sin embargo,
           en el ¶ 696 del Laudo, el Tribunal partió de una premisa distinta al considerar que los tribunales
           “pueden optar por aplicar determinados métodos de valuación, así como adaptarlos luego de
           evaluar distintos argumentos u opiniones de las Partes y de los hechos probados por ellas”. Por lo
           tanto, el cuestionamiento de Venezuela tiende, en realidad, a contestar a lo que – en el mejor de
           los casos – sería un error de derecho no revisable por el Comité.
408.       En segundo lugar, no es cierto que el Tribunal haya adoptado la metodología de cuantificación
           basándose exclusivamente en el acuerdo entre los expertos de las Partes. Del ¶ 700 del Laudo se
           desprende que consideró que esta metodología era adecuada porque permitía eliminar las
           consecuencias de las medidas ilícitas de Venezuela según el principio de reparación integral 435.
           Por lo tanto, es razonable concluir que el Tribunal habría aplicado la metodología escogida aun de
           no haber considerado que los expertos de las Partes coincidían en esta.
409.       En tercer lugar, el argumento de Venezuela según el cual “el expediente del procedimiento
           subyacente revela […] que las partes difirieron esencialmente en el enfoque metodológico para
           calcular los eventuales daños” 436 no es nada más que un cuestionamiento de la valoración del
           Tribunal sobre las manifestaciones de las Partes y la prueba, en especial de los informes de los
           expertos. Esto, como ya se ha dicho 437, es irrevisable por el Comité.
410.       En cuarto lugar, la República no aporta ningún sustento a su afirmación de que los ¶¶ 675 y 676
           del Laudo (que resumen la posición de Venezuela sobre la metodología de cuantificación) “sin
           duda contradicen” la conclusión del ¶ 697 438. El Comité no encuentra contradicción,
           especialmente porque, en la nota al pie 883 al ¶ 697, el Tribunal explicó con claridad en qué
           concordaban y en qué diferían los expertos haciendo totalmente comprensible su razonamiento:
                    […] la diferencia principal entre las Partes es que, para Dellepiane/Spiller, el valor de las Inversiones
                    en el escenario real equivale a cero. Sin embargo, la metodología propuesta por Dellepiane/Spiller
                    implica una comparación entre el valor de las Inversiones en el escenario contrafáctico y en ese
                    supuesto escenario real donde se habría aniquilado el valor de las Inversiones (valor cero). Esta
                    comparación lleva necesariamente a considerar que el valor total de las Inversiones en el escenario
                    contrafáctico, medido por las Demandantes y Dellepiane/Spiller con el método de FFD equivale al
                    valor a indemnizar. Venezuela por su parte alega que el valor de las Inversiones en el escenario
                    real no equivale a cero. La diferencia entonces no radica en la metodología a utilizar (ésta, para
                    el Tribunal, es más una diferencia en lenguaje), sino en lo que cada Parte considera es el valor de
                    las Inversiones en el escenario real y en el escenario contrafáctico. (énfasis añadido)

411.       Por todo lo anterior, el Comité considera que Venezuela no ha probado que el Tribunal haya
           incurrido en falta de motivación con respecto a la metodología para cuantificar el daño sufrido

435
   El Comité nota que el argumento de Venezuela de que el Tribunal no había motivado la adopción del estándar de
reparación integral aparece por primera vez en la Réplica de Anulación (¶¶ 206-208), pero que la adopción de tal
estándar fue debidamente explicada por el Tribunal (véase ¶ 401 supra).
436
      MdA, ¶ 228.
437
      Véanse ¶¶ 177, 195-196 supra.
438
      Réplica de Anulación, ¶ 231.

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           por Valores y Consorcio.

                                        (2)    La existencia del daño y el nexo causal

412.       Venezuela basa su argumento relativo a la falta de motivación en relación con la existencia del
           daño en el ¶ 711 del Laudo. En ese párrafo el Tribunal, tras haber dicho que las medidas de
           Venezuela no habían constituido una expropiación y que el valor de las inversiones no había sido
           aniquilado, concluyó que aquellas sí habían violado los Artículos III, IV y VII del APPRI 439, sostuvo:
                      Aunque el Tribunal ha determinado que estas conductas no equivalen a una pérdida total o
                      sustancial del control o del valor de las Inversiones, sí han llegado a obstaculizar de manera
                      irrazonable e injustificada el ejercicio de los derechos de las Demandantes como accionistas de
                      Monaca y Demaseca y a someter a una situación de incertidumbre el futuro ejercicio de estos
                      derechos. El hecho que las Compañías continúen operando, o que sus ventas se hayan comportado
                      de manera satisfactoria durante los años en los cuales la Demandada ejerció su conducta contraria
                      al APPRI, no refleja el valor real de las Inversiones, es decir, de las acciones que las Demandantes
                      tienen en Monaca y Demaseca. A juicio del Tribunal, estas conductas ilícitas de Venezuela han
                      generado un impacto en el valor de las Inversiones de las Demandantes[.] […] El Tribunal está
                      convencido de que ningún potencial comprador pagaría el mismo valor de las acciones de las
                      Demandantes en Monaca y Demaseca si no existieran las medidas violatorias del APPRI.

413.       Venezuela aduce que, en este párrafo, el Tribunal no explicó suficientemente por qué “las
           inversiones de Valores y Consorcio en las Compañías tenían un valor ‘menor’ a raíz de las medidas
           impugnadas” 440, ni su decisión de tomar como referencia a un comprador potencial para medir el
           impacto concreto de las medidas. Además, sostiene que la conclusión de que las acciones de las
           Compañías tenían menor valor es incompatible con las afirmaciones del Laudo, respectivamente
           en los ¶¶ 720 y 712, de que las Compañías no habían dejado “de tener valor alguno” y de que las
           acciones todavía tenían “la capacidad de generarles ganancias” 441.
414.       El Comité no comprende el fundamento de las quejas de la República.
415.       En el ¶ 711 el Tribunal resaltó que, como consecuencia de las medidas ilícitas de Venezuela, el
           ejercicio de los derechos de Valores y Consorcio en cuanto accionistas de las Compañías había
           sido obstaculizado irrazonable e injustificadamente, y su ejercicio futuro estaba en una situación
           de incertidumbre. Así las cosas, el Comité entiende que es obvio que para el Tribunal hubo un
           nexo causal entre esta situación y la merma en el valor en sus inversiones: es evidente que un
           derecho patrimonial – como lo son las acciones – cuyo ejercicio actual se ve obstaculizado y cuyo
           ejercicio futuro es incierto tiene un menor valor que aquel que puede ser ejercido en plenitud.
416.       De lo anterior se sigue – también de manera obvia – que “ningún potencial comprador pagaría el
           mismo valor de las acciones de las Demandantes en Monaca y Demaseca si no existieran las
           medidas violatorias del APPRI” 442. Esto es un simple corolario del menor valor de las acciones
           causado por las medidas de la República.


439
      Laudo, ¶¶ 708-710.
440
      Réplica de Anulación, ¶ 215.
441
      Réplica de Anulación, ¶¶ 215-218.
442
      Laudo, ¶ 711.

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417.     Sin embargo, la queja de Venezuela pareciera orientarse a que el Tribunal hizo referencia a la
         figura del comprador potencial sin ningún fundamento. Esta queja es improcedente, por cuanto
         en los ¶¶ 702 443 y 738 444 del Laudo el Tribunal consignó que ambos expertos de las Partes habían
         hecho referencia a la figura del comprador potencial al calcular el valor de las acciones de las
         Compañías bajo el escenario real y el contra fáctico. Por lo tanto, la referencia del Tribunal al
         comprador potencial era coherente con lo manifestado por los expertos. Esto basta para
         descartar el cuestionamiento de la República al respecto sin necesidad de mayor análisis.
418.     No se entiende tampoco la alegada incompatibilidad entre la conclusión del Tribunal de que las
         acciones tenían menor valor por las medidas de Venezuela y la afirmación del ¶ 720 del Laudo de
         que Valores y Consorcio “no han probado que las Compañías dejaron de tener valor alguno”, es
         decir, que no acreditaron que su valor era cero. En efecto, no hay incompatibilidad entre afirmar
         que las acciones de Monaca y Demaseca no habían perdido la totalidad de su valor, sino solo una
         parte de este: que las acciones tengan un menor valor significa – evidentemente – que hubo una
         pérdida parcial de valor (disminución). Por lo tanto, el argumento de Venezuela es equivocado
         porque confunde la pérdida parcial de valor con una total.
419.     De la misma manera, tampoco se configura una contradicción entre la disminución de valor de las
         acciones de las Compañías y el hecho de que estas pudieran todavía generarles ganancias a las
         Demandadas en Anulación. Venezuela plantea la contradicción como si fuera evidente por sí
         misma, pero no explica en qué radicaría. A criterio del Comité, cualquier lector informado puede
         comprender, comparando los resultados determinados por el Tribunal para el escenario real y el
         contra fáctico, la disminución del valor de las acciones, independientemente de que estas
         pudieran aún generar ganancias.

                                     (3)    La alegada contradicción entre lo resuelto en cuanto al reclamo
                                            por expropiación y en cuanto a las pretensiones por violaciones
                                            no expropiatorias

420.     El último cuestionamiento de Venezuela apunta contra el monto de la indemnización por violación
         de los Artículos III, IV y VII del APPRI otorgada por el Tribunal en el ¶ 813 del Laudo, donde se
         dispuso:
                  Con fundamento en lo hasta aquí expuesto, el pago al que tienen derecho las Demandantes está
                  dado por la diferencia entre el valor de las Inversiones en el escenario real, que corresponde al
                  valor estimado resultante de la Transacción ADM –US$192,6 millones–, y no a valor “cero” como
                  lo afirman las Demandantes, y el valor de las Inversiones en el escenario contrafáctico que,
                  aplicando las variables antes mencionadas, incluyendo los intereses, corresponde a la suma de


443
   En el ¶ 702 del Laudo, al analiza el escenario real, el Tribunal expresó: “Dellepiane/Spiller estiman que en el
escenario real el valor de Monaca y Demaseca para sus accionistas, o en su lugar, para un comprador potencial, es
cero”. El Comité nota que el comprador potencial también es mencionado en el ¶ 704.
444
   En el ¶ 738 del Laudo, en el análisis del escenario contra fáctico, el Tribunal reportó la opinión de los expertos de
Venezuela que mencionaba específicamente la figura del comprador potencial: “Por su parte, Hart/Vélez consideran
que en la valoración de las Compañías se debe considerar el impacto de las propias acciones de las Demandantes en
la potencial venta a un tercero [...]”. En la nota al pie 922, el Tribunal citó los ¶¶ 42 y siguientes del Primer Informe
Credibility Consulting (R-228) que, efectivamente, hacen referencia a un “third-party buyer”.

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                    US$572,8 millones. Esa diferencia es la suma de US$380,2 millones. A lo anterior, se le deben
                    sumar […]. En consecuencia, el pago al que tienen derecho las Demandantes es la suma de
                    US$430,4 millones.

421.       Venezuela argumenta que el Tribunal incurrió en falta de motivación, ya que, “[a]l disponer el
           pago de una compensación por la casi totalidad del valor de mercado de la inversión […] contradijo
           su pronunciamiento de que la República no había, a través de las medidas impugnadas, aniquilado
           el valor de la inversión” 445.
422.       Antes que nada, el Comité nota que, tal como lo ha reconocido la misma Venezuela, la
           indemnización otorgada a Valores y Consorcio fue de casi un 60% del valor total de sus
           inversiones, por lo que, según el significado común de las palabras, no puede predicarse que el
           60% del valor represente “casi el valor total de sus alegadas inversiones” 446 como pretende la
           República. El argumento de Venezuela reposa entonces sobre una premisa incorrecta.
423.       Además, el monto de la indemnización acordada por el Tribunal es perfectamente coherente con
           el hecho, explicado en el apartado anterior 447, de que las acciones de las Demandadas en
           Anulación en Monaca y Demaseca no perdieron todo su valor, sino solo parte de este.
424.       Por lo tanto, el Comité considera que Venezuela no ha probado que el Tribunal haya incurrido en
           falta de motivación con respecto a la suma otorgada a Valores y Consorcio por violación de las
           protecciones distintas a la expropiación.

                                     Quebrantamiento grave de una norma fundamental de
                                     procedimiento

425.       Venezuela afirma que el Tribunal quebrantó una norma fundamental de procedimiento porque
           no le dio la oportunidad de ser oída con respecto a la metodología de cálculo de daños finalmente
           aplicada y, en particular, “en relación con la premisa de que los daños debían ser estimados en
           relación con lo que un tercero hipotéticamente pagaría por la tenencia accionaria de Consorcio y
           Valores en Monaca y Demaseca” 448.
426.       Estas afirmaciones están claramente desmentidas por los hallazgos del Tribunal, mencionados en
           los ¶¶ 410 y 417 supra, según los cuales la metodología de cálculo de las Partes era la misma y
           ambas habían hecho referencia a la figura del comprador potencial. Esto significa evidentemente
           que el Tribunal tuvo en cuenta la posición de Venezuela sobre estos aspectos.
427.       Por lo tanto, el Comité concluye que Venezuela no ha probado que se haya configurado un
           quebrantamiento grave de una norma fundamental de procedimiento en este punto.

                                     Conclusión

428.       En suma, el Comité concluye que la República no ha demostrado ni un quebrantamiento de una

445
      Réplica de Anulación, ¶ 233.
446
      Réplica de Anulación, ¶ 234.
447
      Véase ¶ 418 supra.
448
      MdA, ¶ 250.

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           norma fundamental de procedimiento, ni una falta de motivación en la decisión del Tribunal con
           respecto a los daños.

           G.         SOBRE LA DECISIÓN DE ATRIBUCIÓN DE COSTOS EN EL ARBITRAJE SUBYACENTE

429.       En el Laudo, el Tribunal ordenó que la República asumiera la totalidad de sus propios costos y el
           60% de los costos del arbitraje y de los honorarios de la representación legal de Valores y
           Consorcio 449. Por medio de su última impugnación, Venezuela afirma que, al tomar esta decisión,
           el Tribunal incurrió en quebrantamiento de una norma fundamental de procedimiento y falta de
           motivación.

                      1.      Argumentos de Venezuela

430.       Preliminarmente, en respuesta al argumento de Valores y Consorcio, Venezuela concuerda con
           ellas en que los tribunales arbitrales tienen discrecionalidad en materia de costos, pero aclara que
           esta no es absoluta y no justifica que se quebranten normas de procedimiento o no se expresen
           los motivos de la decisión 450.

                                      Quebrantamiento grave de una norma fundamental de
                                      procedimiento

431.       Venezuela explica que cada Parte pidió la condena en costas de la contraria: Valores y Consorcio
           con base en el principio “el vencido paga” y ella con base en la falta de buena fe de los inversores.
           Sin embargo, el Tribunal, sin ofrecer justificación, estableció su propio estándar consistente en
           que las costas debían distribuirse teniendo en cuenta el éxito relativo de las reclamaciones y
           defensas de cada Parte violando así el principio de non ultra petita y su derecho a ser oída. Para
           Venezuela, la aplicación de un estándar de atribución de costos no discutido por las Partes y sobre
           el cual ella no tuvo posibilidad de ser oída quebrantó una norma fundamental de
           procedimiento 451.

                                      Falta de motivación

432.       Venezuela sostiene que el Tribunal no motivó la decisión de condenarla a pagar el 60% de los
           costos del arbitraje bajo el estándar que él mismo había establecido. Según Venezuela, el Tribunal
           analizó equivocadamente el éxito relativo de las defensas y los reclamos, especialmente porque
           “ignoró absolutamente […] el triunfo de la República en materia de intereses”. Además, a criterio
           de la República, para un lector del Laudo es inentendible que ella deba soportar el 60% de los
           costos siendo que prevaleció en el reclamo de expropiación, que fue el que más trabajo, tiempo




449
      Laudo, ¶ 832.
450
      Réplica de Anulación, ¶¶ 246, 258, 271.
451
   MdA, ¶¶ 265-267; Réplica de Anulación, ¶¶ 266, 268, 272-274. La República cita en apoyo de su postura el caso
Caratube c. Kazajistán, ¶ 93 (RLA-202).

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           y recursos insumió 452.
433.       Además, Venezuela indica que el Tribunal también incurrió en falta de motivación al no haberse
           expedido sobre su solicitud subsidiaria de que, en todo caso, se condenara a Valores y Consorcio
           a sufragar los costos por su tardía producción de ciertos documentos. La República aclara que, si
           bien el Tribunal mencionó esta solicitud en el ¶ 826 del Laudo, omitió considerarla en el análisis
           de los costos. Venezuela afirma que Valores y Consorcio intentan completar el razonamiento del
           Tribunal cuando dicen que la solicitud fue rechazada porque ninguna de las Partes había sido
           negligente 453.

                   2.       Argumentos de Valores y Consorcio

434.       Las Demandadas en Anulación destacan que el Tribunal tomó la decisión sobre los costos dentro
           de la amplia discrecionalidad que le otorgan el Artículo 61(2) del Convenio del CIADI y la Regla de
           Arbitraje 28(1), sin quebrantar ninguna norma fundamental de procedimiento y con una
           adecuada motivación.

                                     Quebrantamiento grave de una norma fundamental de
                                     procedimiento

435.       En cuanto al supuesto quebrantamiento de una norma de procedimiento, las Demandadas en
           Anulación niegan que el Tribunal se haya apartado de los criterios propuestos por las Partes a la
           hora de atribuir los costos, como sostiene Venezuela. Por el contrario, el Tribunal aplicó el criterio
           propuesto por Valores y Consorcio, “el vencido paga” o “los costos siguen el evento”, con base en
           el éxito relativo de las reclamaciones y defensas de cada Parte 454.
436.       Las Demandadas en Anulación señalan que, incluso de haberse apartado de los criterios de las
           Partes, el Tribunal no habría quebrantado ninguna norma de procedimiento, ya que los
           argumentos de las Partes sobre costos “no constituyen un ‘marco jurídico’ que limite la discreción
           del Tribunal” al respecto. La discrecionalidad del Tribunal en materia de costos solamente podría
           haberse circunscripto por acuerdo de las Partes, lo que no sucedió en el Arbitraje Subyacente 455.

                                     Falta de motivación

437.       Valores y Consorcio señalan que, para condenar a Venezuela a soportar el 60% de los costos, el
           Tribunal analizó puntualmente (i) el éxito relativo de las reclamaciones, (ii) las circunstancias del
           caso y (iii) la conducta de las Partes en el procedimiento, siguiendo las decisiones en EDF c.
           Rumania, Generation Ukraine c. Ucrania y Desert Line c. Yemen 456. Según ellas, no es cierto que el
           Tribunal haya ignorado su victoria en materia de intereses, ya que esta no existió: si bien el

452
      MdA, ¶¶ 257-259, 261-262; Réplica de Anulación, ¶¶ 256-261.
453
      MdA, ¶¶ 271, 274-275; Réplica de Anulación, ¶¶ 262-265.
454
      MdC de Anulación, ¶ 221.
455
      MdC de Anulación, ¶¶ 223-224; Dúplica de Anulación, ¶¶ 211-213.
  EDF c. Rumania, ¶¶ 327-329 (RLA-089); Generation Ukraine c. Ucraina (Laudo), § 24 (CLA-022); Desert Line c.
456

Yemen (Laudo), ¶¶ 303-304 (RLA-078).

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           Tribunal aplicó la tasa LIBOR más 2% propuesta por Venezuela, le dio la razón a ellas en que debía
           aplicarse interés compuesto y no simple 457.
438.       Por último, Valores y Consorcio afirman que el Tribunal sí tuvo en cuenta en su decisión sobre
           costos la petición subsidiaria de Venezuela por la tardía producción de documentos. El Tribunal
           explicó que Venezuela había manifestado que dichos gastos eran atribuibles a la negligencia de
           las Demandadas en Anulación, pero en el ¶ 831 del Laudo descartó que ellas hubieran actuado
           negligentemente, por lo que no las condenó a pagar los costos del incidente 458.

                      3.       Análisis del Comité

439.       Venezuela sostiene que la decisión sobre costos debe ser anulada porque el Tribunal no expresó
           motivos al (i) adoptar un estándar que no había sido discutido entre las Partes, (ii) condenar a la
           República a pagar el 60% de los costos y (iii) omitir un pronunciamiento sobre su pretensión
           subsidiaria de condena en costas a Valores y Consorcio por la tardía producción de documentos.
           Además, alega que el punto (i) configura también un quebrantamiento de normas fundamentales
           de procedimiento como el derecho a ser oído y el principio de non ultra petita.
440.       Valores y Consorcio se oponen aduciendo que el Tribunal (a) aplicó el estándar que ellas habían
           propuesto en el Arbitraje Subyacente, (b) motivó adecuadamente la imposición del 60% de los
           costos a Venezuela y (c) analizó y descartó la pretensión subsidiaria de la República.
441.       Comenzando con la decisión del Tribunal, este dejó en claro inicialmente que contaba con amplia
           facultad para determinar y distribuir los costos del Arbitraje Subyacente en virtud del Artículo
           61(2) del Convenio del CIADI y la Regla de Arbitraje 28(1), y afirmó que las Partes no parecían
           disputar esto. Tras determinar los costos del arbitraje 459, el Tribunal sostuvo en el ¶ 828 del Laudo:
                      En ejercicio de la facultad descrita en el párrafo 827 supra, el Tribunal estima que la distribución
                      de los costos deberá efectuarse tomando en consideración el éxito relativo de las reclamaciones y
                      defensas de cada una de las Partes, en conjunto con las circunstancias del caso y la conducta de
                      las Partes en el procedimiento […].

442.       A continuación, el Tribunal recordó que Valores y Consorcio habían prevalecido en las cuatro
           objeciones jurisdiccionales, pero consideró que ambas Partes habían presentado argumentos
           válidos al respecto. En cuanto al fondo, resaltó que Venezuela había vencido sobre el reclamo por
           expropiación y que las Demandadas en Anulación habían prevalecido en sus reclamaciones por
           violación de los Artículos III, IV y VII del APPRI, aunque no lograron probar que, en el escenario
           real, el valor de las Compañías era cero.
443.       En relación con la conducta procesal de las Partes, en el ¶ 831, el Tribunal destacó:
                      Finalmente, el Tribunal considera que, en términos generales, ambas Partes presentaron su caso
                      de acuerdo con los principios de lealtad y buena fe procesal. Por lo tanto, no estima procedente
                      imputar ciertos costos a una de las Partes en razón de su alegada falta de diligencia o colaboración.



457
      MdC de Anulación, ¶¶ 197, 200, 208-213; Dúplica de Anulación, ¶¶ 200, 206-208.
458
      MdC de Anulación, ¶¶ 217-218; Dúplica de Anulación, ¶ 209.
459
      Laudo, ¶ 827.

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444.       Por último, en aplicación de las premisas anteriores, el Tribunal decidió que la República debía
           asumir la totalidad de sus costos y un 60% de aquellos correspondientes a las Demandadas en
           Anulación.
445.       Previo a entrar en el detalle de cada causal de anulación invocada por Venezuela, el Comité pone
           de relieve que ambas Partes han reconocido que el Tribunal gozaba de discrecionalidad en cuanto
           a la determinación y distribución de los costos del Arbitraje Subyacente 460, y coincide con
           Venezuela en que esta discrecionalidad no implicaba que el Tribunal pudiera tomar su decisión
           quebrantando reglas de procedimiento o sin motivación 461.

                                     Quebrantamiento grave de una norma fundamental de
                                     procedimiento

446.       Según Venezuela, el quebrantamiento de una norma fundamental consiste en la supuesta
           aplicación de un estándar no discutido entre las Partes. Las Demandadas en Anulación lo niegan
           y subrayan que el Tribunal aplicó el criterio “los costos siguen el evento” propuesto por ellas en el
           Arbitraje Subyacente. En consecuencia, el Comité tiene que decidir preliminarmente si la premisa
           de Venezuela es cierta.
447.       Al respecto, el Comité nota que en el ¶ 824 462 del Laudo el Tribunal reconoció que Valores y
           Consorcio habían pedido la aplicación del mencionado criterio a la distribución de costos y, en el
           ¶ 828, expresó que tendría en cuenta “el éxito relativo de las reclamaciones y defensas de cada
           una de las Partes”, lo cual, a criterio del Comité, es una indubitable referencia al principio “los
           costos siguen el evento”. Por eso, y considerando precisamente que en el Arbitraje Subyacente el
           “evento” consistió en vencimientos recíprocos, el Tribunal no condenó a ninguna de las Partes a
           soportar la totalidad de los costos, sino que los repartió entre las Partes, aunque en proporciones
           disímiles.
448.       Por tanto, del mismo Laudo resulta que la premisa en la que Venezuela basa el quebrantamiento
           de normas fundamentales de procedimiento es incorrecta, ya que el Tribunal no introdujo su
           propio criterio, diferente a los planteados por las Partes.
449.       De todas maneras, y en particular con relación al quebrantamiento del principio de non ultra
           petita, el Comité considera conceptualmente imposible la configuración de este vicio en este caso,
           puesto que el Tribunal no le otorgó a Valores y Consorcio más de lo que ellas habían pedido.
450.       Por lo tanto, el Comité considera que Venezuela no ha probado la configuración de la causal
           invocada.




460
      MdC de Anulación, ¶ 200; Réplica de Anulación, ¶ 246.
461
      Réplica de Anulación, ¶ 246.
462
   Reportando la posición de Valores y Consorcio, en el ¶ 824 del Laudo el Tribunal expresó: “Apelando a la ‘amplia
discrecionalidad’ del Tribunal para distribuir los costos y gastos del arbitraje, y con base en el principio según el cual
‘los costos siguen el evento’ y el principio de reparación integral del daño, las Demandantes solicitan que la
Demandada sea condenada en costas […]”. (énfasis añadido)

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                                     Falta de motivación

451.       Venezuela imputa tres hipótesis de falta de motivación a la decisión del Tribunal sobre costos en
           relación con (i) el estándar adoptado, (ii) la decisión de cargarle el 60% de los costos y (iii) la
           supuesta omisión del Tribunal al no decidir sobre su petición subsidiaria de costos.
452.       Respecto de la primera hipótesis, no se configura falta de motivación porque, como se acaba de
           ver en la sección anterior, y contrariamente a lo que alega Venezuela, el Tribunal no adoptó un
           criterio distinto a los propuestos por las Partes. Por el contrario, siguió el estándar sugerido por
           Valores y Consorcio, adaptándolo al caso concreto.
453.       Con relación a la segunda hipótesis, la República se queja de que el Tribunal no expresó “las
           razones por los [sic] cuales llegó a dicho porcentaje [60%] –y no a otro–, no analizó cómo
           impactaba cada uno de los éxitos de las reclamaciones y defensas mencionadas, y dejó afuera
           otras reclamaciones y defensas exitosas que, de este modo, no fueron cuantificadas” 463.
454.       Sobre esta hipótesis, es útil recordar, por un lado, que tanto las Partes como el Tribunal
           coincidieron en que este tenía amplia discrecionalidad en cuanto a la distribución de los costos 464
           y, por el otro, que los tribunales tienen también discrecionalidad en cuanto a la forma de expresar
           los motivos en sus laudos 465.
455.       Bajo estas premisas, y considerando el desarrollo argumental del Tribunal explicado en los ¶¶ 441
           y 444 supra, el Comité considera que las quejas de Venezuela no configuran una falta de
           motivación. Por una parte, el Comité destaca que la determinación del porcentaje del 60% de los
           costos – que el Tribunal atribuyó a Venezuela y que esta cuestiona – entra sin dudas dentro de la
           discrecionalidad del Tribunal: no se requiere que los tribunales apliquen fórmulas matemáticas
           para decidir los porcentajes de los costos que las partes deben soportar. Además, el Tribunal llegó
           a aquel porcentaje luego de evaluar, en los ¶¶ 829 a 831 del Laudo, el éxito de las reclamaciones
           y defensas que consideró adecuadas a la luz de los criterios de distribución de los costos
           identificados en el ¶ 828, por lo que la motivación es fácil de seguir.
456.       Por otro lado, en contra de lo que parece implícitamente sostener la República, el Tribunal no
           estaba obligado a analizar el éxito de cada argumento de las Partes ni mucho menos a darle un
           valor preciso. El Tribunal evaluó el éxito de cada defensa y reclamación distinguiendo entre
           jurisdicción y fondo, y tuvo en cuenta también la reducción del quantum de la indemnización
           conseguida por Venezuela mediante la prueba del valor de las inversiones en el escenario real 466.
           A criterio del Comité, esto constituye una motivación suficiente y cumple con el requisito mínimo
           de motivación del Artículo 52(1)(e) del Convenio del CIADI 467.
457.       Por lo tanto, el Comité considera que la Demandante en Anulación no ha probado una falta de


463
      Réplica de Anulación, ¶ 256.
464
      Véase ¶ 445 supra.
465
      Véase ¶ 195 supra.
466
      Véase ¶ 403 supra.
467
      Véase ¶ 176 supra.

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           motivación con respecto a este punto.
458.       Con relación a la tercera hipótesis de falta de motivación, referida a la alegada omisión de
           pronunciarse sobre la petición subsidiaria de Venezuela relativa a la presentación tardía de
           documentos, el Comité estima que el cuestionamiento de la República se debe rechazar porque
           reposa en una premisa errónea. El Comité nota que cualquier lector informado, consultando los
           ¶¶ 826 y 831 del Laudo, puede entender fácilmente que el Tribunal consideró y rechazó la
           pretensión subsidiaria de Venezuela.
459.       En el primero de los párrafos, el Tribunal reportó la petición de la República de la siguiente
           manera:
                      Subsidiariamente, la Demandada solicita que el Tribunal condene a las Demandantes a pagar los
                      costos que les serían atribuibles directa y exclusivamente a sus acciones u omisiones. En este
                      sentido, Venezuela alega que las Demandantes no proporcionaron unos documentos […]. La
                      Demandada alega que los costos asociados a la obtención de tales documentos […] son atribuibles
                      a la negligencia de las Demandantes y, en consecuencia, deben ser solventados por ellas 468.

460.       A criterio del Comité, es evidente que, cuando el Tribunal – luego de haber resaltado la buena fe
           procesal de las Partes – sostuvo que “no estima[ba] procedente imputar ciertos costos a una de
           las Partes en razón de su alegada falta de diligencia o colaboración”, estaba haciendo referencia
           a la pretensión subsidiaria de Venezuela. De hecho, esta era la única petición que tenía por objeto
           “ciertos costos” específicos, esto es, los relativos a la producción documental, separados de la
           condena global en costas. Por ende, la única forma de entender la decisión del ¶ 831 del Laudo
           es vincularla con la pretensión subsidiaria de Venezuela resumida por el Tribunal en el ¶ 826.
461.       Establecido ese vínculo, cualquier lector está en grado de comprender que el Tribunal rechazó la
           petición subsidiaria basada en una supuesta negligencia de Valores y Consorcio porque esta no
           había existido. Por lo tanto, no es posible afirmar que la decisión sobre este punto haya carecido
           de motivos.
462.       En conclusión, el Comité considera que la República no ha probado la falta de motivación alegada
           con respecto a la decisión del Tribunal sobre los costos.

                                       Conclusión

463.       En resumen, el Comité concluye que la decisión del Tribunal sobre los costos no está viciada por
           quebrantamiento de una norma fundamental de procedimiento ni por falta de motivación.


VII.       COSTOS

464.       Venezuela ha presentado una declaración de costos por US$ 1.625.783, de los cuales US$ 524.958
           corresponden a derechos de registro y pagos anticipados – abonados por ella en cumplimiento
           de la Regla 14(3)(e) del Reglamento Administrativo y Financiero del CIADI –, y US$ 1.100.825, a
           honorarios de sus abogados, incluidos aquellos relativos al incidente sobre la representación de


468
      Laudo, ¶ 826.

                                                           98
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            la República cuantificados en US$ 44.291,25 469. Además, Venezuela ha añadido que, después de
            presentar su declaración de costos, efectuó el pago del tercer anticipo por un monto de
            US$ 199.958 470. Por su parte, las Demandadas en Anulación han presentado una declaración de
            costos por US$ 2.414.613,59 correspondientes a honorarios y gastos de sus abogados desde
            noviembre de 2017 hasta noviembre de 2020, de los cuales US$ 66.579,80 atañen al mencionado
            incidente 471.
465.        Las costas del procedimiento de anulación, incluyendo los honorarios y gastos del Comité, los
            cargos administrativos del CIADI, y los gastos directos, ascienden a:

                Honorarios y gastos del Comité                       US$ 437.840,35

                Prof. Luca G. Radicati di Brozolo                    US$ 205.715,35
                Prof. José Antonio Moreno Rodríguez                  US$ 98.625,00
                Prof. Fausto de Quadros                              US$ 130.125,00
                Prof. Dyalá Jimenez 472                              US$ 3.375,00

                Cargos administrativos del CIADI                    US$ 210.000,00


                Gastos directos                                     US$     12.191,22


                Total                                               US$ 660.031,57

466.        Los costos detallados supra han sido sufragados en su totalidad con los anticipos que realizó
            Venezuela 473.
467.        Según lo dispuesto por el Artículo 61(2) del Convenio del CIADI 474 y la Regla de Arbitraje 47(1)(j) 475,
            aplicables a los procedimientos de anulación en virtud del Artículo 52(4) del Convenio del CIADI y
            la Regla de Arbitraje 53, el Comité tiene amplia discrecionalidad para distribuir los gastos
            incurridos por las Partes en el marco de este procedimiento, los honorarios y gastos de los

469
      Véanse ¶¶ 29-30 supra.
470
      Correo de la Demandante en Anulación al CIADI del 19 de octubre de 2021.
  Correo de las Demandadas en Anulación al CIADI del 11 de octubre de 2021; Carta de las Demandadas en
471

Anulación al CIADI del 14 de agosto de 2019.
472
      Hasta la fecha de su renuncia, el 25 de abril de 2018.
473
      El saldo restante se reembolsará a Venezuela.
474
    El Artículo 61(2) del Convenio del CIADI establece: “En el caso de procedimiento de arbitraje el Tribunal
determinará, salvo acuerdo contrario de las partes, los gastos en que estas hubieren incurrido en el procedimiento,
y decidirá la forma de pago y la manera de distribución de tales gastos, de los honorarios y gastos de los miembros
del Tribunal y de los derechos devengados por la utilización del Centro. Tal fijación y distribución formarán parte del
laudo”.
475
   La Regla de Arbitraje 47(1)(j) establece que el laudo será escrito y contendrá “la decisión del Tribunal sobre las
costas procesales”.

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           miembros del Comité y los derechos devengados por la utilización de los servicios del CIADI.
468.       De entrada, el Comité observa que la tendencia más reciente de los comités ad hoc en caso de
           rechazo de la solicitud de anulación es condenar a la parte solicitante al pago de las costas del
           procedimiento (honorarios y gastos del comité y del CIADI) 476. En algunos casos, la parte
           perdedora ha sido condenada también al pago – total o parcial – de los honorarios legales y gastos
           incurridos por la parte ganadora 477. El Comité nota que, cuando esto no ha ocurrido, y se ha
           optado por resolver que cada parte se hiciera cargo de sus propios costos de representación, esto
           ha dependido, a menudo, de la consideración de que la solicitud de anulación se presentó de
           buena fe y no era “fundamentally lacking in merit” o no era “to any reasonable and impartial
           observer, most unlikely to succeed” 478.
469.       Teniendo en cuenta esta jurisprudencia, el Comité estima razonable seguir el criterio según el cual
           “los costos siguen el evento”, ya que a su criterio – en principio – una parte que ha debido
           defender un laudo a ella favorable de una solicitud de anulación que ha sido rechazada por entero
           no debería incurrir en ningún costo 479.
470.       El Comité recuerda que, en la Resolución Procesal No. 2, se decidió que cada uno de los
           intervinientes en el incidente sobre la representación de la República debía soportar sus propios
           costos 480.
471.       En cuanto al resto del procedimiento, dado que se ha rechazado la Solicitud de Anulación en su
           totalidad así como el pedido de Venezuela relativo a la suspensión de la ejecución del Laudo 481, y
           puesto que no existen circunstancias excepcionales, el Comité aplicará el criterio de “los costos
           siguen el evento”. En consecuencia, el Comité decide que la Demandante en Anulación (i) deberá
           hacerse cargo de sus propios costos de representación y de las costas del procedimiento de
           anulación detalladas en el ¶ 465 supra, y (ii) deberá además reembolsar a las Demandadas en
           Anulación los costos en que ellas han incurrido en este procedimiento, con exclusión de aquellos


476
    Documento de antecedentes, ¶ 65 (pág. 30-35) (RLA-173) y, para la jurisprudencia más reciente Total c. Argentina,
¶ 324 (RLA-196); Micula c. Rumania, ¶ 349 (RLA-235); SAUR c. Argentina, ¶¶ 339-341 (RLA-212); Vivendi c. Argentina
(II), ¶ 434 (RLA-247); Venoklim c. Venezuela (I), ¶¶ 293-296 (RLA-217); CEAC c. Montenegro, ¶ 151; Quiborax c.
Bolivia, ¶ 197 (CLA-252); OI European c. Venezuela, ¶ 385 (CLA-267); Tenaris c. Venezuela (II), ¶¶ 486-487 (CMTLA-
1); Teinver c. Argentina, ¶ 256; Glencore c. Colombia, ¶¶ 418-421.
477
   Documento de antecedentes, ¶ 65 (págs. 30-35). Para casos más recientes que han condenado a la demandante
en anulación al pago de la totalidad de los costos de representación de la demandada en anulación, véanse Venoklim
c. Venezuela (I), ¶¶ 293-296 (RLA-217); CEAC c. Montenegro, ¶¶ 154-155; OI European c. Venezuela, ¶¶ 388-391
(CLA-267); Tenaris c. Venezuela (II), ¶¶ 486-487 (CMTLA-1). En cambio, en Teinver c. Argentina, ¶ 257, Argentina fue
condenada al pago de aproximadamente dos tercios de los costos legales de las demandadas en anulación (para un
planteamiento similar, véase Hydro c. Albania, ¶¶ 241-243), mientras que en Glencore c. Colombia, ¶¶ 419-423
Colombia fue condenada al pago de aproximadamente el 80% de los costos legales de las demandadas en anulación.
478
   CDC c. Seychelles, ¶ 89 (RLA-198). Véanse también MTD c. Chile, ¶ 111 (RLA-215); Kilic c. Turkmenistán, ¶ 208
(RLA-228); EDF c. Argentina, ¶ 389 (RLA-195); Vivendi c. Argentina (II), ¶ 433 (RLA-247); Hydro c. Albania, ¶ 241.
479
    Alapli c. Turquía, ¶ 263 (RLA-231); Dogan c. Turkmenistán, ¶ 279 (RLA- 246); OI European c. Venezuela, ¶ 389
(CLA-267); Glencore c. Colombia, ¶ 418.
480
      Véase ¶ 30 supra.
481
      Véase ¶ 24 supra.

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           correspondientes al incidente sobre la representación de Venezuela.
472.       En cuanto al punto sub (ii), el Comité estima que, sin necesidad de poner en duda que la Solicitud
           de Anulación fue presentada por Venezuela en buena fe, cualquier observador razonable e
           imparcial habría considerado muy improbable el acogimiento de dicha Solicitud 482, ya que varios
           de los vicios atribuidos al Laudo por Venezuela partían de una lectura no completa o parcialmente
           incorrecta de las afirmaciones del Tribunal Arbitral.
473.       Además, contrariamente a lo que sostiene Venezuela 483, el Comité considera razonables los
           costos de representación de Valores y Consorcio, teniendo en cuenta el número de vicios que
           Venezuela imputó al Laudo, la importancia de las cuestiones, el monto en disputa, el hecho de
           que la República pidió la suspensión de la ejecución del Laudo y la ubicación geográfica de los
           abogados de las Demandadas en Anulación (que son los mismos que las representaron en el
           Arbitraje Subyacente).
474.       Por lo tanto el Comité resuelve que la República deberá pagar a Valores y Consorcio
           US$ 2,348,033.79 (= US$ 2.414.613,59 [honorarios y gastos de abogados] – US$ 66.579,80 [gastos
           relacionados al incidente sobre la representación de la República]).


VIII.      DECISIÓN

475.       Por las razones expuestas en esta Decisión, el Comité resuelve, por unanimidad:
                a) Rechazar íntegramente la Solicitud de Anulación del Laudo planteada por la Demandante
                   en Anulación; y
                b) Condenar a la Demandante en Anulación a pagar a las Demandadas en Anulación
                   US$ 2,348,033.79 en concepto de costos.
                c) Condenar a la Demandante en Anulación a pagar US$ 660.031,57 en concepto de costas
                   del procedimiento de anulación.




482
      CDC c. Seychelles, ¶ 89 (RLA-198).
483
      Carta de Venezuela al Comité del 11 de diciembre de 2020.

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              onio Moreno Rodrig;_;;/                     Prof. Fausto de Quadros
       Miembro del Comite ad hoc                         Miembro del Comite ad hoc

                                                     Fecha:




                            Prof. Luca G. Radicati di Brozolo
                             Presidente del Comite ad hoc


                         Fecha:




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    Prof. Jose Antonio Moreno Rodriguez                      Prof. Fausto de Quadros
         Miembro del Comite ad hoc                          Miembro del Comite ad hoc

    Fecha:                                              Fecha:




                               Prof. Luca G. Radicati di Brozolo
                                Presidente del Comite ad hoc


                            Fecha:




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      Prof. Jose Antonio Moreno Rodrfguez                       Prof. Fausto de Quadros
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      Fecha:                                              Fecha:




                                 Prof. Luca G. Radicati di Brozolo
                                  Presidente del Comite ad hoc


                              Fecha: 10 de diciembre de 2021




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